Case 2:23-cv-00059-JRG-RSP   Document 215-6   Filed 10/04/24   Page 1 of 227 PageID
                                   #: 11786




                       EXHIBIT F
               Case 2:23-cv-00059-JRG-RSP   Document 215-6      Filed 10/04/24    Page 2 of 227 PageID
                                                  #: 11787

      Touchstream's Objection Key

Abbreviation                         Definition
A                                    Authentication, FRE 901/902
D                                    Demonstrative/Should not be admitted into evidence
I                                    “Incomplete”/Completeness, FRE 106
IM                                   Improper – not evidence of anything
F                                    Foundation, FRE 602, 901
H                                    Hearsay, FRE 801, 802, 805
R                                    Relevance, FRE 401, 402
O                                    Overbroad, FRE 402
P                                    Prejudicial, FRE 403
U                                    Untimely / Never Produced / Not Produced During Discovery, FRCP 26, 37
DUP                                  Duplicative
SM                                   Subject to Motion (Daubert and/or motion in limine )
ND                                   Testimony has not been designated
FRCP 32                              Deposition not admissible as exhibit
SO                                   Violating the Court's Standing Order On The Number And Use Of Pre-Admitted
                                     Exhibits In Civil Cases Assigned To Chief Judge Rodney Gilstrap
IMS                                  FRE 1006
FORM                                 Form
SPEC                                 Speculation
PRIV                                 Privileged




                                                      Page 1
            Case 2:23-cv-00059-JRG-RSP             Document 215-6         Filed 10/04/24      Page 3 of 227 PageID
                                                         #: 11788

                              COMCAST’S OBJECTION KEY
FRE 106   Requires other material that in fairness ought to be considered at the same time
FRE 402   Irrelevant
FRE 403   Probative value substantially outweighed by unfair prejudice, confusion, etc.
FRE 602   Lack of personal knowledge
FRE 611   Form of question, including compound, vague, misleading, lack of foundation, etc.
FRE 701   Improper lay opinion testimony
FRE 802   Hearsay
FRE 901   Lack of authentication
FRCP 26   Inconsistent with pre-trial disclosures
FRCP 32   Improper use of deposition testimony, including because of availability of witness
S         Lack of sponsoring witness to lay foundation
          Attorney colloquy or objections, which should be excluded under Fed. R. Evid. 402 and/or
Atty
          403
          Improper counter designation, which is an improper application of Fed. R. Evid. 106 and is
IMP       inadmissible because it is unduly prejudicial, hearsay, and/or an untimely-disclosed affirmative
          deposition designation
                   Case 2:23-cv-00059-JRG-RSP           Document 215-6       Filed 10/04/24      Page 4 of 227 PageID
                                                              #: 11789


                                               Testifying Witness: Beyda, Gil
Touchstream's        Comcast's                                                                         Touchstream's Counter-
Initial Designations Objections     Comcast's Counter-Designations Touchstream's Objections                  Counters
5:17-5:19
7:5-7:14             FRE 106        7:19-21, 8:10-12, 10:5-7
8:13-8:18            FRE 106        7:19-21, 8:10-12, 10:5-7
8:23-9:7             FRE 106        7:19-21, 8:10-12, 10:5-7
9:11-9:13            FRE 106        7:19-21, 8:10-12, 10:5-7
10:2-10:4            FRE 106        7:19-21, 8:10-12, 10:5-7

                                                                     D, SM (16:8-17:1, 30:14-18,
                                                                     38:9, 80:5-6, 80:8-81:17, 82:9-
                                                                     25, 84:17-85:20)
                                                                     F (16:8-71:1, 30:14-18)
                                    12:18-13:3, 14:5-9, 16:8-17:1,   R, O, P (16:8-17:1, 30:14-18,
                                    30:14-18, 33:16-18, 38:9-39:8,   33:16-18, 38:9, 80:5-6, 80:8-
                                    39:25-40:13, 80:5-6, 80:8-81:17, 81:17, 82:9-25, 84:17-85:20)
                    FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
10:8-10:13          403             111:19-22, 111:24-112:4, 112:6 40:13)

                                                                     D, SM (16:8-17:1, 30:14-18,
                                                                     38:9, 80:5-6, 80:8-81:17, 82:9-
                                                                     25, 84:17-85:20)
                                                                     F (16:8-71:1, 30:14-18)
                                    12:18-13:3, 14:5-9, 16:8-17:1,   R, O, P (16:8-17:1, 30:14-18,
                                    30:14-18, 33:16-18, 38:9-39:8,   33:16-18, 38:9, 80:5-6, 80:8-
                                    39:25-40:13, 80:5-6, 80:8-81:17, 81:17, 82:9-25, 84:17-85:20)
                    FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
10:19-10:21         403             111:19-22, 111:24-112:4, 112:6 40:13)
                    FRE 106, 402,
11:8-11:14          403             12:8-13:3, 14:5-9
                    FRE 106, 402,
11:19-11:20         403             12:8-13:3, 14:5-9
                    FRE 106, 402,
11:24-12:4          403             12:8-13:3, 14:5-9


                                                                  Page 3
              Case 2:23-cv-00059-JRG-RSP         Document 215-6         Filed 10/04/24          Page 5 of 227 PageID
                                                       #: 11790

              FRE 106, 402,
13:14-13:21   403             12:18-13:3, 14:5-9, 16:8-10      F, R, O, P, D, SM, I (16:8-10)
              FRE 106, 402,
14:20-14:24   403             12:18-13:3, 14:5-9, 16:8-10      F, R, O, P, D, SM, I (16:8-10)
              FRE 106, 402,
15:17-15:19   403             12:18-13:3, 14:5-9, 16:8-10      F, R, O, P, D, SM, I (16:8-10)

                                                               D, SM (16:8-17:1, 30:14-18,
                                                               38:9, 80:5-6, 80:8-81:17, 82:9-
                                                               25, 84:17-85:20)
                                                               F (16:8-71:1, 30:14-18)
                              12:18-13:3, 14:5-9, 16:8-17:1,   R, O, P (16:8-17:1, 30:14-18,
                              30:14-18, 33:16-18, 38:9-39:8,   33:16-18, 38:9, 80:5-6, 80:8-
                              39:25-40:13, 80:5-6, 80:8-81:17, 81:17, 82:9-25, 84:17-85:20)
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
17:3-17:5     403             111:19-22, 111:24-112:4, 112:6 40:13)

                                                               D, SM (16:8-17:1, 30:14-18,
                                                               38:9, 80:5-6, 80:8-81:17, 82:9-
                                                               25, 84:17-85:20)
                                                               F (16:8-71:1, 30:14-18)
                              12:18-13:3, 14:5-9, 16:8-17:1,   R, O, P (16:8-17:1, 30:14-18,
                              30:14-18, 33:16-18, 38:9-39:8,   33:16-18, 38:9, 80:5-6, 80:8-
                              39:25-40:13, 80:5-6, 80:8-81:17, 81:17, 82:9-25, 84:17-85:20)
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
17:15-17:17   403, 611        111:19-22, 111:24-112:4, 112:6 40:13)

                                                               D, SM (16:8-17:1, 30:14-18,
                                                               38:9, 80:5-6, 80:8-81:17, 82:9-
                                                               25, 84:17-85:20)
                                                               F (16:8-71:1, 30:14-18)
                              12:18-13:3, 14:5-9, 16:8-17:1,   R, O, P (16:8-17:1, 30:14-18,
                              30:14-18, 33:16-18, 38:9-39:8,   33:16-18, 38:9, 80:5-6, 80:8-
                              39:25-40:13, 80:5-6, 80:8-81:17, 81:17, 82:9-25, 84:17-85:20)
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
17:19-17:21   403, 611        111:19-22, 111:24-112:4, 112:6 40:13)



                                                            Page 4
              Case 2:23-cv-00059-JRG-RSP          Document 215-6         Filed 10/04/24      Page 6 of 227 PageID
                                                        #: 11791



                                                                R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1, 25:1-
                                                                3, 25:5-6, 25:8-9, 25:11-16,
                                                                26:12-14, 26:16-17, 28:11-12,
                                                                28:14-29:2, 30:14-18, 33:16-
                                                                18, 38:9-39:8, 80:5-6, 80:8-
                                                                81:17, 82:9-25, 84:17-85:20)
                                                                D, SM (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1,
                                                                28:14-29:2, 30:14-18, 38:9,
                                                                80:5-6, 80:8-81:17, 82:9-25,
                              12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                              18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                              24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                              25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                              26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                              30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                              39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
17:23-17:25   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                             Page 5
             Case 2:23-cv-00059-JRG-RSP          Document 215-6         Filed 10/04/24      Page 7 of 227 PageID
                                                       #: 11792



                                                               R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1, 25:1-
                                                               3, 25:5-6, 25:8-9, 25:11-16,
                                                               26:12-14, 26:16-17, 28:11-12,
                                                               28:14-29:2, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               D, SM (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1,
                                                               28:14-29:2, 30:14-18, 38:9,
                                                               80:5-6, 80:8-81:17, 82:9-25,
                             12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                             18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                             24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                             25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                             26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                             30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                             39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
18:9-18:12   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                            Page 6
             Case 2:23-cv-00059-JRG-RSP          Document 215-6         Filed 10/04/24      Page 8 of 227 PageID
                                                       #: 11793



                                                               R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1, 25:1-
                                                               3, 25:5-6, 25:8-9, 25:11-16,
                                                               26:12-14, 26:16-17, 28:11-12,
                                                               28:14-29:2, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               D, SM (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1,
                                                               28:14-29:2, 30:14-18, 38:9,
                                                               80:5-6, 80:8-81:17, 82:9-25,
                             12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                             18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                             24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                             25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                             26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                             30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                             39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
18:12-19:2   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                            Page 7
            Case 2:23-cv-00059-JRG-RSP          Document 215-6         Filed 10/04/24      Page 9 of 227 PageID
                                                      #: 11794



                                                              R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                              12, 21:14-23, 23:10-24:1, 25:1-
                                                              3, 25:5-6, 25:8-9, 25:11-16,
                                                              26:12-14, 26:16-17, 28:11-12,
                                                              28:14-29:2, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              D, SM (16:8-17:1, 18:1-8, 20:7-
                                                              12, 21:14-23, 23:10-24:1,
                                                              28:14-29:2, 30:14-18, 38:9,
                                                              80:5-6, 80:8-81:17, 82:9-25,
                            12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                            18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                            24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                            25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                            26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                            30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                            39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
            FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
19:9-19:9   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                           Page 8
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 10 of 227
                                                     PageID #: 11795



                                                               R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1, 25:1-
                                                               3, 25:5-6, 25:8-9, 25:11-16,
                                                               26:12-14, 26:16-17, 28:11-12,
                                                               28:14-29:2, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               D, SM (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1,
                                                               28:14-29:2, 30:14-18, 38:9,
                                                               80:5-6, 80:8-81:17, 82:9-25,
                             12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                             18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                             24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                             25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                             26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                             30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                             39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
19:9-19:12   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                            Page 9
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 11 of 227
                                                      PageID #: 11796



                                                                R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1, 25:1-
                                                                3, 25:5-6, 25:8-9, 25:11-16,
                                                                26:12-14, 26:16-17, 28:11-12,
                                                                28:14-29:2, 30:14-18, 33:16-
                                                                18, 38:9-39:8, 80:5-6, 80:8-
                                                                81:17, 82:9-25, 84:17-85:20)
                                                                D, SM (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1,
                                                                28:14-29:2, 30:14-18, 38:9,
                                                                80:5-6, 80:8-81:17, 82:9-25,
                              12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                              18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                              24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                              25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                              26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                              30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                              39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
19:13-19:14   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                             Page 10
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 12 of 227
                                                     PageID #: 11797



                                                               R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1, 25:1-
                                                               3, 25:5-6, 25:8-9, 25:11-16,
                                                               26:12-14, 26:16-17, 28:11-12,
                                                               28:14-29:2, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               D, SM (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1,
                                                               28:14-29:2, 30:14-18, 38:9,
                                                               80:5-6, 80:8-81:17, 82:9-25,
                             12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                             18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                             24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                             25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                             26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                             30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                             39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
19:15-20:5   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                            Page 11
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 13 of 227
                                                      PageID #: 11798



                                                                R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1, 25:1-
                                                                3, 25:5-6, 25:8-9, 25:11-16,
                                                                26:12-14, 26:16-17, 28:11-12,
                                                                28:14-29:2, 30:14-18, 33:16-
                                                                18, 38:9-39:8, 80:5-6, 80:8-
                                                                81:17, 82:9-25, 84:17-85:20)
                                                                D, SM (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1,
                                                                28:14-29:2, 30:14-18, 38:9,
                                                                80:5-6, 80:8-81:17, 82:9-25,
                              12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                              18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                              24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                              25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                              26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                              30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                              39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
20:13-20:18   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                             Page 12
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 14 of 227
                                                      PageID #: 11799



                                                                R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1, 25:1-
                                                                3, 25:5-6, 25:8-9, 25:11-16,
                                                                26:12-14, 26:16-17, 28:11-12,
                                                                28:14-29:2, 30:14-18, 33:16-
                                                                18, 38:9-39:8, 80:5-6, 80:8-
                                                                81:17, 82:9-25, 84:17-85:20)
                                                                D, SM (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1,
                                                                28:14-29:2, 30:14-18, 38:9,
                                                                80:5-6, 80:8-81:17, 82:9-25,
                              12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                              18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                              24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                              25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                              26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                              30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                              39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
20:19-20:24   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                             Page 13
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 15 of 227
                                                     PageID #: 11800



                                                               R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1, 25:1-
                                                               3, 25:5-6, 25:8-9, 25:11-16,
                                                               26:12-14, 26:16-17, 28:11-12,
                                                               28:14-29:2, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               D, SM (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1,
                                                               28:14-29:2, 30:14-18, 38:9,
                                                               80:5-6, 80:8-81:17, 82:9-25,
                             12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                             18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                             24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                             25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                             26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                             30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                             39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
20:25-21:2   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                            Page 14
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 16 of 227
                                                      PageID #: 11801



                                                                R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1, 25:1-
                                                                3, 25:5-6, 25:8-9, 25:11-16,
                                                                26:12-14, 26:16-17, 28:11-12,
                                                                28:14-29:2, 30:14-18, 33:16-
                                                                18, 38:9-39:8, 80:5-6, 80:8-
                                                                81:17, 82:9-25, 84:17-85:20)
                                                                D, SM (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1,
                                                                28:14-29:2, 30:14-18, 38:9,
                                                                80:5-6, 80:8-81:17, 82:9-25,
                              12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                              18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                              24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                              25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                              26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                              30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                              39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
21:11-21:13   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                             Page 15
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 17 of 227
                                                     PageID #: 11802



                                                               R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1, 25:1-
                                                               3, 25:5-6, 25:8-9, 25:11-16,
                                                               26:12-14, 26:16-17, 28:11-12,
                                                               28:14-29:2, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               D, SM (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1,
                                                               28:14-29:2, 30:14-18, 38:9,
                                                               80:5-6, 80:8-81:17, 82:9-25,
                             12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                             18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                             24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                             25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                             26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                             30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                             39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
21:24-22:4   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                            Page 16
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 18 of 227
                                                     PageID #: 11803



                                                               R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1, 25:1-
                                                               3, 25:5-6, 25:8-9, 25:11-16,
                                                               26:12-14, 26:16-17, 28:11-12,
                                                               28:14-29:2, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               D, SM (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1,
                                                               28:14-29:2, 30:14-18, 38:9,
                                                               80:5-6, 80:8-81:17, 82:9-25,
                             12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                             18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                             24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                             25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                             26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                             30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                             39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
22:5-22:10   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                            Page 17
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 19 of 227
                                                     PageID #: 11804



                                                               R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1, 25:1-
                                                               3, 25:5-6, 25:8-9, 25:11-16,
                                                               26:12-14, 26:16-17, 28:11-12,
                                                               28:14-29:2, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               D, SM (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1,
                                                               28:14-29:2, 30:14-18, 38:9,
                                                               80:5-6, 80:8-81:17, 82:9-25,
                             12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                             18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                             24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                             25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                             26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                             30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                             39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
22:10-23:1   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                            Page 18
               Case 2:23-cv-00059-JRG-RSP             Document 215-6 Filed 10/04/24                 Page 20 of 227
                                                      PageID #: 11805



                                                                R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1, 25:1-
                                                                3, 25:5-6, 25:8-9, 25:11-16,
                                                                26:12-14, 26:16-17, 28:11-12,
                                                                28:14-29:2, 30:14-18, 33:16-
                                                                18, 38:9-39:8, 80:5-6, 80:8-
                                                                81:17, 82:9-25, 84:17-85:20)
                                                                D, SM (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1,
                                                                28:14-29:2, 30:14-18, 38:9,
                                                                80:5-6, 80:8-81:17, 82:9-25,
                              12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                              18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                              24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                              25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                              26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                              30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                              39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
            FRE 106, 402,     82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
23:2-23:3   403, 611 (23:2-5) 111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                             Page 19
               Case 2:23-cv-00059-JRG-RSP             Document 215-6 Filed 10/04/24                 Page 21 of 227
                                                      PageID #: 11806



                                                                R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1, 25:1-
                                                                3, 25:5-6, 25:8-9, 25:11-16,
                                                                26:12-14, 26:16-17, 28:11-12,
                                                                28:14-29:2, 30:14-18, 33:16-
                                                                18, 38:9-39:8, 80:5-6, 80:8-
                                                                81:17, 82:9-25, 84:17-85:20)
                                                                D, SM (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1,
                                                                28:14-29:2, 30:14-18, 38:9,
                                                                80:5-6, 80:8-81:17, 82:9-25,
                              12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                              18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                              24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                              25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                              26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                              30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                              39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
            FRE 106, 402,     82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
23:5-23:5   403, 611 (23:2-5) 111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                             Page 20
               Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 22 of 227
                                                    PageID #: 11807



                                                              R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                              12, 21:14-23, 23:10-24:1, 25:1-
                                                              3, 25:5-6, 25:8-9, 25:11-16,
                                                              26:12-14, 26:16-17, 28:11-12,
                                                              28:14-29:2, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              D, SM (16:8-17:1, 18:1-8, 20:7-
                                                              12, 21:14-23, 23:10-24:1,
                                                              28:14-29:2, 30:14-18, 38:9,
                                                              80:5-6, 80:8-81:17, 82:9-25,
                            12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                            18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                            24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                            25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                            26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                            30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                            39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
            FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
23:7-23:9   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                           Page 21
               Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 23 of 227
                                                    PageID #: 11808



                                                              R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                              12, 21:14-23, 23:10-24:1, 25:1-
                                                              3, 25:5-6, 25:8-9, 25:11-16,
                                                              26:12-14, 26:16-17, 28:11-12,
                                                              28:14-29:2, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              D, SM (16:8-17:1, 18:1-8, 20:7-
                                                              12, 21:14-23, 23:10-24:1,
                                                              28:14-29:2, 30:14-18, 38:9,
                                                              80:5-6, 80:8-81:17, 82:9-25,
                            12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                            18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                            24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                            25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                            26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                            30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                            39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
            FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
24:2-24:8   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                           Page 22
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 24 of 227
                                                      PageID #: 11809



                                                                R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1, 25:1-
                                                                3, 25:5-6, 25:8-9, 25:11-16,
                                                                26:12-14, 26:16-17, 28:11-12,
                                                                28:14-29:2, 30:14-18, 33:16-
                                                                18, 38:9-39:8, 80:5-6, 80:8-
                                                                81:17, 82:9-25, 84:17-85:20)
                                                                D, SM (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1,
                                                                28:14-29:2, 30:14-18, 38:9,
                                                                80:5-6, 80:8-81:17, 82:9-25,
                              12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                              18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                              24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                              25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                              26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                              30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                              39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
24:22-24:25   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                             Page 23
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 25 of 227
                                                     PageID #: 11810



                                                               R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1, 25:1-
                                                               3, 25:5-6, 25:8-9, 25:11-16,
                                                               26:12-14, 26:16-17, 28:11-12,
                                                               28:14-29:2, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               D, SM (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1,
                                                               28:14-29:2, 30:14-18, 38:9,
                                                               80:5-6, 80:8-81:17, 82:9-25,
                             12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                             18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                             24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                             25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                             26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                             30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                             39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
27:25-28:3   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                            Page 24
               Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 26 of 227
                                                    PageID #: 11811



                                                              R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                              12, 21:14-23, 23:10-24:1, 25:1-
                                                              3, 25:5-6, 25:8-9, 25:11-16,
                                                              26:12-14, 26:16-17, 28:11-12,
                                                              28:14-29:2, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              D, SM (16:8-17:1, 18:1-8, 20:7-
                                                              12, 21:14-23, 23:10-24:1,
                                                              28:14-29:2, 30:14-18, 38:9,
                                                              80:5-6, 80:8-81:17, 82:9-25,
                            12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                            18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                            24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                            25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                            26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                            30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                            39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
            FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
28:4-28:6   403, 611        111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                           Page 25
               Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 27 of 227
                                                    PageID #: 11812



                                                              R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                              12, 21:14-23, 23:10-24:1, 25:1-
                                                              3, 25:5-6, 25:8-9, 25:11-16,
                                                              26:12-14, 26:16-17, 28:11-12,
                                                              28:14-29:2, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              D, SM (16:8-17:1, 18:1-8, 20:7-
                                                              12, 21:14-23, 23:10-24:1,
                                                              28:14-29:2, 30:14-18, 38:9,
                                                              80:5-6, 80:8-81:17, 82:9-25,
                            12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                            18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                            24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                            25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                            26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                            30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                            39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
            FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
28:8-28:9   403, 611        111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                           Page 26
               Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 28 of 227
                                                    PageID #: 11813



                                                              R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                              12, 21:14-23, 23:10-24:1, 25:1-
                                                              3, 25:5-6, 25:8-9, 25:11-16,
                                                              26:12-14, 26:16-17, 28:11-12,
                                                              28:14-29:2, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              D, SM (16:8-17:1, 18:1-8, 20:7-
                                                              12, 21:14-23, 23:10-24:1,
                                                              28:14-29:2, 30:14-18, 38:9,
                                                              80:5-6, 80:8-81:17, 82:9-25,
                            12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                            18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                            24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                            25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                            26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                            30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                            39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
            FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
29:4-29:5   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                           Page 27
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 29 of 227
                                                     PageID #: 11814



                                                               R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1, 25:1-
                                                               3, 25:5-6, 25:8-9, 25:11-16,
                                                               26:12-14, 26:16-17, 28:11-12,
                                                               28:14-29:2, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               D, SM (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1,
                                                               28:14-29:2, 30:14-18, 38:9,
                                                               80:5-6, 80:8-81:17, 82:9-25,
                             12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                             18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                             24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                             25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                             26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                             30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                             39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
29:6-29:21   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                            Page 28
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 30 of 227
                                                     PageID #: 11815



                                                               R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1, 25:1-
                                                               3, 25:5-6, 25:8-9, 25:11-16,
                                                               26:12-14, 26:16-17, 28:11-12,
                                                               28:14-29:2, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               D, SM (16:8-17:1, 18:1-8, 20:7-
                                                               12, 21:14-23, 23:10-24:1,
                                                               28:14-29:2, 30:14-18, 38:9,
                                                               80:5-6, 80:8-81:17, 82:9-25,
                             12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                             18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                             24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                             25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                             26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                             30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                             39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
29:22-30:2   403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)




                                                            Page 29
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                 Page 31 of 227
                                                      PageID #: 11816



                                                                R, O, P (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1, 25:1-
                                                                3, 25:5-6, 25:8-9, 25:11-16,
                                                                26:12-14, 26:16-17, 28:11-12,
                                                                28:14-29:2, 30:14-18, 33:16-
                                                                18, 38:9-39:8, 80:5-6, 80:8-
                                                                81:17, 82:9-25, 84:17-85:20)
                                                                D, SM (16:8-17:1, 18:1-8, 20:7-
                                                                12, 21:14-23, 23:10-24:1,
                                                                28:14-29:2, 30:14-18, 38:9,
                                                                80:5-6, 80:8-81:17, 82:9-25,
                              12:18-13:3, 14:5-9, 16:8-17:1,    84:17-85:20)
                              18:1-8, 20:7-12, 21:14-23, 23:10- F (16:8-17:1, 18:1-8, 20:7-12,
                              24:1, 24:9-21, 25:1-3, 25:5-6,    21:14-23, 23:10-24:1, 28:14-
                              25:8-9, 25:11-16, 26:12-14,       29:2, 30:14-18)
                              26:16-17, 28:11-12, 28:14-29:2, I (16:8-17:1, 18:1-8, 20:7-12,
                              30:14-18, 33:16-18, 38:9-39:8,    24:9-21, 25:1-3, 25:5-6, 25:8-9,
                              39:25-40:13, 80:5-6, 80:8-81:17, 25:11-16, 26:12-14, 26:16-17,
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, 28:11-12, 28:14-29:2, 33:16-
30:3-30:13    403             111:19-22, 111:24-112:4, 112:6 18, 39:25-40:13)
                                                                R, O, P, D, SM (31:2-4, 32:3-8,
                              31:2-4, 32:3-8, 32:10, 32:12-16, 32:10, 32:12-16, 32:18-19,
30:19-30:20   FRE 106         32:18-19, 32:22-25                32:22-25)
                                                                R, O, P, D, SM (31:2-4, 32:3-8,
                              31:2-4, 32:3-8, 32:10, 32:12-16, 32:10, 32:12-16, 32:18-19,
30:22-30:22   FRE 106         32:18-19, 32:22-25                32:22-25)
                                                                R, O, P, D, SM (31:2-4, 32:3-8,
                              31:2-4, 32:3-8, 32:10, 32:12-16, 32:10, 32:12-16, 32:18-19,
30:25-31:1    FRE 106         32:18-19, 32:22-25                32:22-25)
                                                                R, O, P, D, SM (31:2-4, 32:3-8,
                              31:2-4, 32:3-8, 32:10, 32:12-16, 32:10, 32:12-16, 32:18-19,
31:5-31:9     FRE 106         32:18-19, 32:22-25                32:22-25)




                                                             Page 30
                 Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24                 Page 32 of 227
                                                     PageID #: 11817

                                                                 R, O, P, D, SM (31:2-4, 32:3-8,
                              31:2-4, 32:3-8, 32:10, 32:12-16,   32:10, 32:12-16, 32:18-19,
31:14-31:16   FRE 106         32:18-19, 32:22-25                 32:22-25)
                                                                 R, O, P, D, SM (31:2-4, 32:3-8,
                              31:2-4, 32:3-8, 32:10, 32:12-16,   32:10, 32:12-16, 32:18-19,
31:18-31:23   FRE 106         32:18-19, 32:22-25                 32:22-25)
                                                                 R, O, P, D, SM (31:2-4, 32:3-8,
                              31:2-4, 32:3-8, 32:10, 32:12-16,   32:10, 32:12-16, 32:18-19,
31:25-32:2    FRE 106         32:18-19, 32:22-25                 32:22-25)
                                                                 F, D, SM, I (16:8-17:1)
                                                                 R, O, P (16:8-17:1, 33:16-18)
33:7-33:12    FRE 106         16:8-17:1, 33:16-18                I (33:16-18
                                                                 F, D, SM, I (16:8-17:1)
                                                                 R, O, P (16:8-17:1, 33:16-18)
33:19-33:21   FRE 106         16:8-17:1, 33:16-18                I (33:16-18
                                                                 F, D, SM, I (16:8-17:1)
                                                                 R, O, P (16:8-17:1, 33:16-18)
33:22-34:7    FRE 106         16:8-17:1, 33:16-18                I (33:16-18
                                                                 F, D, SM, I (16:8-17:1)
                                                                 R, O, P (16:8-17:1, 33:16-18)
34:7-34:9     FRE 106         16:8-17:1, 33:16-18                I (33:16-18
                                                                 F, D, SM, I (16:8-17:1)
                                                                 R, O, P (16:8-17:1, 33:16-18)
34:10-34:16   FRE 106         16:8-17:1, 33:16-18                I (33:16-18

                                                                D, SM (16:8-17:1, 30:14-18,
                                                                38:9-39:8, 80:5-6, 80:8-81:17,
                                                                82:9-25, 84:17-85:20)
                                                                F (16:8-17:1, 30:14-18)
                              12:18-13:3, 14:5-9, 16:8-17:1,    R, O, P (16:8-17:1, 30:14-18,
                              30:14-18, 33:16-18, 35:2-7, 38:9- 33:16-18, 38:9-39:8, 80:5-6,
                              39:8, 39:25-40:13, 80:5-6, 80:8- 80:8-81:17, 82:9-25, 84:17-
                              81:17, 82:9-25, 84:17-85:20,      85:20)
              FRE 106, 402,   111:10-17, 111:19-22, 111:24-     I (16:8-17:1, 33:16-18, 39:25-
34:20-34:23   403, 611        112:4, 112:6                      40:13)


                                                            Page 31
                 Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24                Page 33 of 227
                                                     PageID #: 11818


                                                                D, SM (16:8-17:1, 30:14-18,
                                                                38:9-39:8, 80:5-6, 80:8-81:17,
                                                                82:9-25, 84:17-85:20)
                                                                F (16:8-17:1, 30:14-18)
                              12:18-13:3, 14:5-9, 16:8-17:1,    R, O, P (16:8-17:1, 30:14-18,
                              30:14-18, 33:16-18, 35:2-7, 38:9- 33:16-18, 38:9-39:8, 80:5-6,
                              39:8, 39:25-40:13, 80:5-6, 80:8- 80:8-81:17, 82:9-25, 84:17-
                              81:17, 82:9-25, 84:17-85:20,      85:20)
              FRE 106, 402,   111:10-17, 111:19-22, 111:24-     I (16:8-17:1, 33:16-18, 39:25-
34:25-34:25   403, 611        112:4, 112:6                      40:13)
              FRE 106, 611    32:3-8, 32:10, 32:12-16, 32:18- R, O, P, D, SM (32:3-8, 32:10,
35:18-36:1    (35:18-23)      19, 32:22-25                      32:12-16, 32:18-19, 32:22-25)
                              32:3-8, 32:10, 32:12-16, 32:18- R, O, P, D, SM (32:3-8, 32:10,
36:2-36:4     FRE 106         19, 32:22-25                      32:12-16, 32:18-19, 32:22-25)
                              32:3-8, 32:10, 32:12-16, 32:18- R, O, P, D, SM (32:3-8, 32:10,
36:6-36:7     FRE 106         19, 32:22-25                      32:12-16, 32:18-19, 32:22-25)

                                                                D, SM (16:8-17:1, 30:14-18,
                                                                38:9-39:8, 80:5-6, 80:8-81:17,
                                                                82:9-25, 84:17-85:20)
                                                                F (16:8-17:1, 30:14-18)
                              12:18-13:3, 14:5-9, 16:8-17:1,    R, O, P (16:8-17:1, 30:14-18,
                              30:14-18, 33:16-18, 35:2-7, 38:9- 33:16-18, 38:9-39:8, 80:5-6,
                              39:8, 39:25-40:13, 80:5-6, 80:8- 80:8-81:17, 82:9-25, 84:17-
                              81:17, 82:9-25, 84:17-85:20,      85:20)
              FRE 106, 402,   111:10-17, 111:19-22, 111:24-     I (16:8-17:1, 33:16-18, 39:25-
36:12-36:25   403             112:4, 112:6                      40:13)

                                                               R, O, P (16:11-17:1, 43:4-21)
                                                               D, SM, I (16:11-17:1, 38:9-39:8)
                              10:5-7, 16:11-17:1, 38:9-39:8,   F (16:11-17:1)
37:11-37:23   FRE 106         39:25-40:13, 41:22-42:9, 43:4-21 I (39:25-40:13, 43:4-21)




                                                            Page 32
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 34 of 227
                                                      PageID #: 11819


                                                                D, SM (16:8-17:1, 30:14-18,
                                                                38:9-39:8, 80:5-6, 80:8-81:17,
                                                                82:9-25, 84:17-85:20)
                                                                F (16:8-17:1, 30:14-18)
                               12:18-13:3, 14:5-9, 16:8-17:1,   R, O, P (16:8-17:1, 30:14-18,
                               30:14-18, 33:16-18, 38:9-39:8,   33:16-18, 38:9-39:8, 80:5-6,
                               39:25-40:13, 41:22-42:9, 43:4-   80:8-81:17, 82:9-25, 84:17-
                               21, 80:5-6, 80:8-81:17, 82:9-25, 85:20)
              FRE 106, 402,    84:17-85:20, 111:10-17, 111:19- I (16:8-17:1, 33:16-18, 39:25-
39:9-39:24    403              22, 111:24-112:4, 112:6          40:13)

                                                                D, SM (16:8-17:1, 30:14-18,
                                                                38:9-39:8, 80:5-6, 80:8-81:17,
                                                                82:9-25, 84:17-85:20)
                                                                F (16:8-17:1, 30:14-18)
                               12:18-13:3, 14:5-9, 16:8-17:1,   R, O, P (16:8-17:1, 30:14-18,
                               30:14-18, 33:16-18, 38:9-39:8,   33:16-18, 38:9-39:8, 80:5-6,
                               39:25-40:13, 41:22-42:9, 43:4-   80:8-81:17, 82:9-25, 84:17-
              FRE 106, 402,    21, 80:5-6, 80:8-81:17, 82:9-25, 85:20)
              403, 611 (40:22- 84:17-85:20, 111:10-17, 111:19- I (16:8-17:1, 33:16-18, 39:25-
40:17-41:20   41:20); Atty     22, 111:24-112:4, 112:6          40:13)

                                                                D, SM (16:8-17:1, 30:14-18,
                                                                38:9-39:8, 80:5-6, 80:8-81:17,
                                                                82:9-25, 84:17-85:20)
                                                                F (16:8-17:1, 30:14-18)
                               12:18-13:3, 14:5-9, 16:8-17:1,   R, O, P (16:8-17:1, 30:14-18,
                               30:14-18, 33:16-18, 38:9-39:8,   33:16-18, 38:9-39:8, 80:5-6,
                               39:25-40:13, 41:22-42:9, 43:4-   80:8-81:17, 82:9-25, 84:17-
                               21, 80:5-6, 80:8-81:17, 82:9-25, 85:20)
              FRE 106, 402,    84:17-85:20, 111:10-17, 111:19- I (16:8-17:1, 33:16-18, 39:25-
42:10-43:3    403              22, 111:24-112:4, 112:6          40:13)




                                                             Page 33
                Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24                 Page 35 of 227
                                                    PageID #: 11820


                                                              D, SM (16:8-17:1, 30:14-18,
                                                              38:9-39:8, 80:5-6, 80:8-81:17,
                                                              82:9-25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                             12:18-13:3, 14:5-9, 16:8-17:1,   R, O, P (16:8-17:1, 30:14-18,
                             30:14-18, 33:16-18, 38:9-39:8,   33:16-18, 38:9-39:8, 80:5-6,
                             39:25-40:13, 41:22-42:9, 43:4-   80:8-81:17, 82:9-25, 84:17-
                             21, 80:5-6, 80:8-81:17, 82:9-25, 85:20)
             FRE 106, 402,   84:17-85:20, 111:10-17, 111:19- I (16:8-17:1, 33:16-18, 39:25-
43:25-44:2   403             22, 111:24-112:4, 112:6          40:13)

                                                              D, SM (16:8-17:1, 30:14-18,
                                                              38:9-39:8, 80:5-6, 80:8-81:17,
                                                              82:9-25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                             12:18-13:3, 14:5-9, 16:8-17:1,   R, O, P (16:8-17:1, 30:14-18,
                             30:14-18, 33:16-18, 38:9-39:8,   33:16-18, 38:9-39:8, 80:5-6,
                             39:25-40:13, 41:22-42:9, 43:4-   80:8-81:17, 82:9-25, 84:17-
                             21, 80:5-6, 80:8-81:17, 82:9-25, 85:20)
             FRE 106, 402,   84:17-85:20, 111:10-17, 111:19- I (16:8-17:1, 33:16-18, 39:25-
44:3-44:20   403             22, 111:24-112:4, 112:6          40:13)
45:9-45:11
46:8-47:21   FRE 106         16:11-17:1                       F, R, O, P, D, SM, I (16:11-17:1)

                                                              D, SM (16:8-17:1, 30:14-18,
                                                              38:9-39:8, 80:5-6, 80:8-81:17,
                                                              82:9-25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              R, O, P (16:8-17:1, 30:14-18,
                             12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                             30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                             39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
48:6-48:8    403, 602        111:19-22, 111:24-112:4, 112:6 40:13)




                                                          Page 34
                 Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24              Page 36 of 227
                                                     PageID #: 11821


                                                               D, SM (16:8-17:1, 30:14-18,
                                                               38:9-39:8, 80:5-6, 80:8-81:17,
                                                               82:9-25, 84:17-85:20)
                                                               F (16:8-17:1, 30:14-18)
                                                               R, O, P (16:8-17:1, 30:14-18,
                              12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                              30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                              39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
48:22-48:22   403, 602        111:19-22, 111:24-112:4, 112:6 40:13)

                                                               D, SM (16:8-17:1, 30:14-18,
                                                               38:9-39:8, 80:5-6, 80:8-81:17,
                                                               82:9-25, 84:17-85:20)
                                                               F (16:8-17:1, 30:14-18)
                                                               R, O, P (16:8-17:1, 30:14-18,
                              12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                              30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                              39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
48:23-48:24   403, 602        111:19-22, 111:24-112:4, 112:6 40:13)

                                                               D, SM (16:8-17:1, 30:14-18,
                                                               38:9-39:8, 80:5-6, 80:8-81:17,
                                                               82:9-25, 84:17-85:20)
                                                               F (16:8-17:1, 30:14-18)
                                                               R, O, P (16:8-17:1, 30:14-18,
                              12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                              30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
              FRE 106, 402,   39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
              403, 602, 802   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
48:25-50:7    (49:7-17)       111:19-22, 111:24-112:4, 112:6 40:13)




                                                           Page 35
               Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24                Page 37 of 227
                                                  PageID #: 11822



                                                            SM (16:8-17:1, 30:14-18, 38:9-
                                                            39:8, 52:14-53:9, 56:9-20, 57:8-
                                                            58:1, 80:5-6, 80:8-81:17, 82:9-
                                                            25, 84:17-85:20)
                                                            D (16:8-17:1, 30:14-18, 38:9-
                                                            39:8, 80:5-6, 80:8-81:17, 82:9-
                                                            25, 84:17-85:20)
                                                            F (16:8-17:1, 30:14-18)
                                                            P (16:8-17:1, 30:14-18, 33:16-
                                                            18, 38:9-39:8, 52:14-53:9,
                                                            53:9, 53:14-17, 56:9-20, 57:8-
                                                            58:1, 80:5-6, 80:8-81:17, 82:9-
                                                            25, 84:17-85:20)
                                                            I (16:8-17:1, 33:16-18, 39:25-
                                                            40:13)
                                                            NR (52:14-53:9, 56:9-20, 57:8-
                            12:18-13:3, 14:5-9, 16:8-17:1,  58:1)
                            30:14-18, 33:16-18, 38:9-39:8,  IM (53:9, 53:14-17)
                            39:25-40:13, 52:14-53:9, 53:14- O (53:14-17, 56:9-20, 57:8-
                            17, 56:9-20, 57:8-58:1, 80:5-6, 58:1, 80:5-6, 80:8-81:17, 82:9-
                            80:8-81:17, 82:9-25, 84:17-     25, 84:17-85:20)
            FRE 106, 402,   85:20, 111:10-17, 111:19-22,    R (53:14-17, 80:5-6, 80:8-
50:8-50:9   403             111:24-112:4, 112:6             81:17, 82:9-25, 84:17-85:20)




                                                         Page 36
                 Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24                Page 38 of 227
                                                    PageID #: 11823



                                                              SM (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 52:14-53:9, 56:9-20, 57:8-
                                                              58:1, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              D (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              P (16:8-17:1, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 52:14-53:9,
                                                              53:9, 53:14-17, 56:9-20, 57:8-
                                                              58:1, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              I (16:8-17:1, 33:16-18, 39:25-
                                                              40:13)
                                                              NR (52:14-53:9, 56:9-20, 57:8-
                              12:18-13:3, 14:5-9, 16:8-17:1,  58:1)
                              30:14-18, 33:16-18, 38:9-39:8,  IM (53:9, 53:14-17)
                              39:25-40:13, 52:14-53:9, 53:14- O (53:14-17, 56:9-20, 57:8-
                              17, 56:9-20, 57:8-58:1, 80:5-6, 58:1, 80:5-6, 80:8-81:17, 82:9-
                              80:8-81:17, 82:9-25, 84:17-     25, 84:17-85:20)
              FRE 106, 402,   85:20, 111:10-17, 111:19-22,    R (53:14-17, 80:5-6, 80:8-
50:18-50:19   403, 602        111:24-112:4, 112:6             81:17, 82:9-25, 84:17-85:20)




                                                           Page 37
                 Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24                Page 39 of 227
                                                    PageID #: 11824



                                                              SM (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 52:14-53:9, 56:9-20, 57:8-
                                                              58:1, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              D (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              P (16:8-17:1, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 52:14-53:9,
                                                              53:9, 53:14-17, 56:9-20, 57:8-
                                                              58:1, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              I (16:8-17:1, 33:16-18, 39:25-
                                                              40:13)
                                                              NR (52:14-53:9, 56:9-20, 57:8-
                              12:18-13:3, 14:5-9, 16:8-17:1,  58:1)
                              30:14-18, 33:16-18, 38:9-39:8,  IM (53:9, 53:14-17)
                              39:25-40:13, 52:14-53:9, 53:14- O (53:14-17, 56:9-20, 57:8-
                              17, 56:9-20, 57:8-58:1, 80:5-6, 58:1, 80:5-6, 80:8-81:17, 82:9-
                              80:8-81:17, 82:9-25, 84:17-     25, 84:17-85:20)
              FRE 106, 402,   85:20, 111:10-17, 111:19-22,    R (53:14-17, 80:5-6, 80:8-
50:23-51:20   403, 602, 802   111:24-112:4, 112:6             81:17, 82:9-25, 84:17-85:20)




                                                           Page 38
                 Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24                Page 40 of 227
                                                    PageID #: 11825



                                                              SM (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 52:14-53:9, 56:9-20, 57:8-
                                                              58:1, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              D (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              P (16:8-17:1, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 52:14-53:9,
                                                              53:9, 53:14-17, 56:9-20, 57:8-
                                                              58:1, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              I (16:8-17:1, 33:16-18, 39:25-
                                                              40:13)
                                                              NR (52:14-53:9, 56:9-20, 57:8-
                              12:18-13:3, 14:5-9, 16:8-17:1,  58:1)
                              30:14-18, 33:16-18, 38:9-39:8,  IM (53:9, 53:14-17)
                              39:25-40:13, 52:14-53:9, 53:14- O (53:14-17, 56:9-20, 57:8-
                              17, 56:9-20, 57:8-58:1, 80:5-6, 58:1, 80:5-6, 80:8-81:17, 82:9-
                              80:8-81:17, 82:9-25, 84:17-     25, 84:17-85:20)
              FRE 106, 402,   85:20, 111:10-17, 111:19-22,    R (53:14-17, 80:5-6, 80:8-
51:21-52:12   403, 602        111:24-112:4, 112:6             81:17, 82:9-25, 84:17-85:20)




                                                           Page 39
                 Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24                Page 41 of 227
                                                    PageID #: 11826



                                                              SM (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 52:14-53:9, 56:9-20, 57:8-
                                                              58:1, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              D (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              P (16:8-17:1, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 52:14-53:9,
                                                              53:9, 53:14-17, 56:9-20, 57:8-
                                                              58:1, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              I (16:8-17:1, 33:16-18, 39:25-
                                                              40:13)
                                                              NR (52:14-53:9, 56:9-20, 57:8-
                              12:18-13:3, 14:5-9, 16:8-17:1,  58:1)
                              30:14-18, 33:16-18, 38:9-39:8,  IM (53:9, 53:14-17)
                              39:25-40:13, 52:14-53:9, 53:14- O (53:14-17, 56:9-20, 57:8-
                              17, 56:9-20, 57:8-58:1, 80:5-6, 58:1, 80:5-6, 80:8-81:17, 82:9-
                              80:8-81:17, 82:9-25, 84:17-     25, 84:17-85:20)
              FRE 106, 402,   85:20, 111:10-17, 111:19-22,    R (53:14-17, 80:5-6, 80:8-
53:10-53:12   403, 602        111:24-112:4, 112:6             81:17, 82:9-25, 84:17-85:20)




                                                           Page 40
                Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24                Page 42 of 227
                                                   PageID #: 11827



                                                             SM (16:8-17:1, 30:14-18, 38:9-
                                                             39:8, 52:14-53:9, 56:9-20, 57:8-
                                                             58:1, 80:5-6, 80:8-81:17, 82:9-
                                                             25, 84:17-85:20)
                                                             D (16:8-17:1, 30:14-18, 38:9-
                                                             39:8, 80:5-6, 80:8-81:17, 82:9-
                                                             25, 84:17-85:20)
                                                             F (16:8-17:1, 30:14-18)
                                                             P (16:8-17:1, 30:14-18, 33:16-
                                                             18, 38:9-39:8, 52:14-53:9,
                                                             53:9, 53:14-17, 56:9-20, 57:8-
                                                             58:1, 80:5-6, 80:8-81:17, 82:9-
                                                             25, 84:17-85:20)
                                                             I (16:8-17:1, 33:16-18, 39:25-
                                                             40:13)
                                                             NR (52:14-53:9, 56:9-20, 57:8-
                             12:18-13:3, 14:5-9, 16:8-17:1,  58:1)
                             30:14-18, 33:16-18, 38:9-39:8,  IM (53:9, 53:14-17)
                             39:25-40:13, 52:14-53:9, 53:14- O (53:14-17, 56:9-20, 57:8-
                             17, 56:9-20, 57:8-58:1, 80:5-6, 58:1, 80:5-6, 80:8-81:17, 82:9-
                             80:8-81:17, 82:9-25, 84:17-     25, 84:17-85:20)
             FRE 106, 402,   85:20, 111:10-17, 111:19-22,    R (53:14-17, 80:5-6, 80:8-
55:18-56:8   403, 602, 802   111:24-112:4, 112:6             81:17, 82:9-25, 84:17-85:20)




                                                          Page 41
                Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24                Page 43 of 227
                                                   PageID #: 11828



                                                             SM (16:8-17:1, 30:14-18, 38:9-
                                                             39:8, 52:14-53:9, 56:9-20, 57:8-
                                                             58:1, 80:5-6, 80:8-81:17, 82:9-
                                                             25, 84:17-85:20)
                                                             D (16:8-17:1, 30:14-18, 38:9-
                                                             39:8, 80:5-6, 80:8-81:17, 82:9-
                                                             25, 84:17-85:20)
                                                             F (16:8-17:1, 30:14-18)
                                                             P (16:8-17:1, 30:14-18, 33:16-
                                                             18, 38:9-39:8, 52:14-53:9,
                                                             53:9, 53:14-17, 56:9-20, 57:8-
                                                             58:1, 80:5-6, 80:8-81:17, 82:9-
                                                             25, 84:17-85:20)
                                                             I (16:8-17:1, 33:16-18, 39:25-
                                                             40:13)
                                                             NR (52:14-53:9, 56:9-20, 57:8-
                             12:18-13:3, 14:5-9, 16:8-17:1,  58:1)
                             30:14-18, 33:16-18, 38:9-39:8,  IM (53:9, 53:14-17)
                             39:25-40:13, 52:14-53:9, 53:14- O (53:14-17, 56:9-20, 57:8-
                             17, 56:9-20, 57:8-58:1, 80:5-6, 58:1, 80:5-6, 80:8-81:17, 82:9-
                             80:8-81:17, 82:9-25, 84:17-     25, 84:17-85:20)
             FRE 106, 402,   85:20, 111:10-17, 111:19-22,    R (53:14-17, 80:5-6, 80:8-
56:21-57:3   403, 602, 802   111:24-112:4, 112:6             81:17, 82:9-25, 84:17-85:20)




                                                          Page 42
               Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24                Page 44 of 227
                                                  PageID #: 11829



                                                            SM (16:8-17:1, 30:14-18, 38:9-
                                                            39:8, 52:14-53:9, 56:9-20, 57:8-
                                                            58:1, 80:5-6, 80:8-81:17, 82:9-
                                                            25, 84:17-85:20)
                                                            D (16:8-17:1, 30:14-18, 38:9-
                                                            39:8, 80:5-6, 80:8-81:17, 82:9-
                                                            25, 84:17-85:20)
                                                            F (16:8-17:1, 30:14-18)
                                                            P (16:8-17:1, 30:14-18, 33:16-
                                                            18, 38:9-39:8, 52:14-53:9,
                                                            53:9, 53:14-17, 56:9-20, 57:8-
                                                            58:1, 80:5-6, 80:8-81:17, 82:9-
                                                            25, 84:17-85:20)
                                                            I (16:8-17:1, 33:16-18, 39:25-
                                                            40:13)
                                                            NR (52:14-53:9, 56:9-20, 57:8-
                            12:18-13:3, 14:5-9, 16:8-17:1,  58:1)
                            30:14-18, 33:16-18, 38:9-39:8,  IM (53:9, 53:14-17)
                            39:25-40:13, 52:14-53:9, 53:14- O (53:14-17, 56:9-20, 57:8-
                            17, 56:9-20, 57:8-58:1, 80:5-6, 58:1, 80:5-6, 80:8-81:17, 82:9-
                            80:8-81:17, 82:9-25, 84:17-     25, 84:17-85:20)
            FRE 106, 402,   85:20, 111:10-17, 111:19-22,    R (53:14-17, 80:5-6, 80:8-
57:4-57:7   403, 602, 802   111:24-112:4, 112:6             81:17, 82:9-25, 84:17-85:20)




                                                         Page 43
               Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24                Page 45 of 227
                                                   PageID #: 11830



                                                             SM (16:8-17:1, 30:14-18, 38:9-
                                                             39:8, 52:14-53:9, 56:9-20, 57:8-
                                                             58:1, 80:5-6, 80:8-81:17, 82:9-
                                                             25, 84:17-85:20)
                                                             D (16:8-17:1, 30:14-18, 38:9-
                                                             39:8, 80:5-6, 80:8-81:17, 82:9-
                                                             25, 84:17-85:20)
                                                             F (16:8-17:1, 30:14-18)
                                                             P (16:8-17:1, 30:14-18, 33:16-
                                                             18, 38:9-39:8, 52:14-53:9,
                                                             53:9, 53:14-17, 56:9-20, 57:8-
                                                             58:1, 80:5-6, 80:8-81:17, 82:9-
                                                             25, 84:17-85:20)
                                                             I (16:8-17:1, 33:16-18, 39:25-
                                                             40:13)
                                                             NR (52:14-53:9, 56:9-20, 57:8-
                             12:18-13:3, 14:5-9, 16:8-17:1,  58:1)
                             30:14-18, 33:16-18, 38:9-39:8,  IM (53:9, 53:14-17)
                             39:25-40:13, 52:14-53:9, 53:14- O (53:14-17, 56:9-20, 57:8-
                             17, 56:9-20, 57:8-58:1, 80:5-6, 58:1, 80:5-6, 80:8-81:17, 82:9-
            FRE 106, 402,    80:8-81:17, 82:9-25, 84:17-     25, 84:17-85:20)
            403, 602, 611,   85:20, 111:10-17, 111:19-22,    R (53:14-17, 80:5-6, 80:8-
58:4-58:7   802              111:24-112:4, 112:6             81:17, 82:9-25, 84:17-85:20)




                                                          Page 44
                Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24                Page 46 of 227
                                                    PageID #: 11831



                                                              SM (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 52:14-53:9, 56:9-20, 57:8-
                                                              58:1, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              D (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              P (16:8-17:1, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 52:14-53:9,
                                                              53:9, 53:14-17, 56:9-20, 57:8-
                                                              58:1, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              I (16:8-17:1, 33:16-18, 39:25-
                                                              40:13)
                                                              NR (52:14-53:9, 56:9-20, 57:8-
                              12:18-13:3, 14:5-9, 16:8-17:1,  58:1)
                              30:14-18, 33:16-18, 38:9-39:8,  IM (53:9, 53:14-17)
                              39:25-40:13, 52:14-53:9, 53:14- O (53:14-17, 56:9-20, 57:8-
                              17, 56:9-20, 57:8-58:1, 80:5-6, 58:1, 80:5-6, 80:8-81:17, 82:9-
             FRE 106, 402,    80:8-81:17, 82:9-25, 84:17-     25, 84:17-85:20)
             403, 602, 611,   85:20, 111:10-17, 111:19-22,    R (53:14-17, 80:5-6, 80:8-
58:9-58:11   802              111:24-112:4, 112:6             81:17, 82:9-25, 84:17-85:20)




                                                           Page 45
                 Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24                Page 47 of 227
                                                    PageID #: 11832



                                                              SM (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 52:14-53:9, 56:9-20, 57:8-
                                                              58:1, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              D (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              P (16:8-17:1, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 52:14-53:9,
                                                              53:9, 53:14-17, 56:9-20, 57:8-
                                                              58:1, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              I (16:8-17:1, 33:16-18, 39:25-
                                                              40:13)
                                                              NR (52:14-53:9, 56:9-20, 57:8-
                              12:18-13:3, 14:5-9, 16:8-17:1,  58:1)
                              30:14-18, 33:16-18, 38:9-39:8,  IM (53:9, 53:14-17)
                              39:25-40:13, 52:14-53:9, 53:14- O (53:14-17, 56:9-20, 57:8-
                              17, 56:9-20, 57:8-58:1, 80:5-6, 58:1, 80:5-6, 80:8-81:17, 82:9-
                              80:8-81:17, 82:9-25, 84:17-     25, 84:17-85:20)
              FRE 106, 402,   85:20, 111:10-17, 111:19-22,    R (53:14-17, 80:5-6, 80:8-
58:13-58:20   403, 602, 802   111:24-112:4, 112:6             81:17, 82:9-25, 84:17-85:20)




                                                           Page 46
                Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24              Page 48 of 227
                                                    PageID #: 11833


                                                             D, SM (16:8-17:1, 30:14-18,
                                                             38:9-39:8, 80:5-6, 80:8-81:17,
                                                             82:9-25, 84:17-85:20)
                                                             F (16:8-17:1, 30:14-18)
                                                             P (16:8-17:1, 30:14-18, 33:16-
                                                             18, 38:9-39:8, 62:7-18, 80:5-6,
                                                             80:8-81:17, 82:9-25, 84:17-
                                                             85:20)
                                                             R, O (16:8-17:1, 30:14-18,
                             12:18-13:3, 14:5-9, 16:8-17:1,  33:16-18, 38:9-39:8, 80:5-6,
                             30:14-18, 33:16-18, 38:9-39:8,  80:8-81:17, 82:9-25, 84:17-
                             39:25-40:13, 59:10-20, 62:7-18, 85:20)
                             80:5-6, 80:8-81:17, 82:9-25,    I (16:8-17:1, 33:16-18, 39:25-
             FRE 106, 402,   84:17-85:20, 111:10-17, 111:19- 40:13)
59:8-59:9    403, 602        22, 111:24-112:4, 112:6         NR (62:7-18)

                                                             D, SM (16:8-17:1, 30:14-18,
                                                             38:9-39:8, 80:5-6, 80:8-81:17,
                                                             82:9-25, 84:17-85:20)
                                                             F (16:8-17:1, 30:14-18)
                                                             P (16:8-17:1, 30:14-18, 33:16-
                                                             18, 38:9-39:8, 62:7-18, 80:5-6,
                                                             80:8-81:17, 82:9-25, 84:17-
                                                             85:20)
                                                             R, O (16:8-17:1, 30:14-18,
                             12:18-13:3, 14:5-9, 16:8-17:1,  33:16-18, 38:9-39:8, 80:5-6,
                             30:14-18, 33:16-18, 38:9-39:8,  80:8-81:17, 82:9-25, 84:17-
                             39:25-40:13, 59:10-20, 62:7-18, 85:20)
                             80:5-6, 80:8-81:17, 82:9-25,    I (16:8-17:1, 33:16-18, 39:25-
             FRE 106, 402,   84:17-85:20, 111:10-17, 111:19- 40:13)
59:21-60:2   403, 602        22, 111:24-112:4, 112:6         NR (62:7-18)




                                                          Page 47
                Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24              Page 49 of 227
                                                    PageID #: 11834


                                                             D, SM (16:8-17:1, 30:14-18,
                                                             38:9-39:8, 80:5-6, 80:8-81:17,
                                                             82:9-25, 84:17-85:20)
                                                             F (16:8-17:1, 30:14-18)
                                                             P (16:8-17:1, 30:14-18, 33:16-
                                                             18, 38:9-39:8, 62:7-18, 80:5-6,
                                                             80:8-81:17, 82:9-25, 84:17-
                                                             85:20)
                                                             R, O (16:8-17:1, 30:14-18,
                             12:18-13:3, 14:5-9, 16:8-17:1,  33:16-18, 38:9-39:8, 80:5-6,
                             30:14-18, 33:16-18, 38:9-39:8,  80:8-81:17, 82:9-25, 84:17-
                             39:25-40:13, 59:10-20, 62:7-18, 85:20)
             FRE 106, 402,   80:5-6, 80:8-81:17, 82:9-25,    I (16:8-17:1, 33:16-18, 39:25-
             403, 602, 802   84:17-85:20, 111:10-17, 111:19- 40:13)
60:3-61:1    (60:8-10)       22, 111:24-112:4, 112:6         NR (62:7-18)

                                                             D, SM (16:8-17:1, 30:14-18,
                                                             38:9-39:8, 80:5-6, 80:8-81:17,
                                                             82:9-25, 84:17-85:20)
                                                             F (16:8-17:1, 30:14-18)
                                                             P (16:8-17:1, 30:14-18, 33:16-
                                                             18, 38:9-39:8, 62:7-18, 80:5-6,
                                                             80:8-81:17, 82:9-25, 84:17-
                                                             85:20)
                                                             R, O (16:8-17:1, 30:14-18,
                             12:18-13:3, 14:5-9, 16:8-17:1,  33:16-18, 38:9-39:8, 80:5-6,
                             30:14-18, 33:16-18, 38:9-39:8,  80:8-81:17, 82:9-25, 84:17-
                             39:25-40:13, 59:10-20, 62:7-18, 85:20)
                             80:5-6, 80:8-81:17, 82:9-25,    I (16:8-17:1, 33:16-18, 39:25-
             FRE 106, 402,   84:17-85:20, 111:10-17, 111:19- 40:13)
61:18-62:1   403, 602        22, 111:24-112:4, 112:6         NR (62:7-18)




                                                          Page 48
               Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24            Page 50 of 227
                                                   PageID #: 11835



                                                             SM (16:8-17:1, 30:14-18, 38:9-
                                                             39:8, 68:2-69:10, 70:12-71:3,
                                                             72:21-73:13, 80:5-6, 80:8-
                                                             81:17, 82:9-25, 84:17-85:20)
                                                             D (16:8-17:1, 30:14-18, 38:9-
                                                             39:8, 80:5-6, 80:8-81:17, 82:9-
                                                             25, 84:17-85:20)
                                                             F (16:8-17:1, 30:14-18)
                                                             P (16:8-17:1, 30:14-18, 33:16-
                                                             18, 38:9-39:8, 62:7-18, 66:13-
                                                             67:11, 68:2-69:10, 70:12-71:3,
                                                             72:21-73:13, 80:5-6, 80:8-
                                                             81:17, 82:9-25, 84:17-85:20)
                                                             R (16:8-17:1, 30:14-18, 33:16-
                                                             18, 38:9-39:8, 66:13-67:11,
                                                             80:5-6, 80:8-81:17, 82:9-25,
                                                             84:17-85:20)
                                                             O (16:8-17:1, 30:14-18, 33:16-
                            12:18-13:3, 14:5-9, 16:8-17:1,   18, 38:9-39:8, 68:2-69:10,
                            30:14-18, 33:16-18, 38:9-39:8,   70:12-71:3, 80:5-6, 80:8-81:17,
                            39:25-40:13, 64:17-21, 66:13-    82:9-25, 84:17-85:20)
                            67:11, 68:2-69:10, 70:12-71:3,   I (16:8-17:1, 33:16-18, 39:25-
                            72:21-73:13, 80:5-6, 80:8-81:17, 40:13)
            FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, NR (62:7-18, 66:13-67:11, 68:2-
63:4-64:1   403             111:19-22, 111:24-112:4, 112:6 69:10, 70:12-71:3)                65: 5-11




                                                         Page 49
                Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24            Page 51 of 227
                                                    PageID #: 11836



                                                              SM (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 68:2-69:10, 70:12-71:3,
                                                              72:21-73:13, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              D (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              P (16:8-17:1, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 62:7-18, 66:13-
                                                              67:11, 68:2-69:10, 70:12-71:3,
                                                              72:21-73:13, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              R (16:8-17:1, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 66:13-67:11,
                                                              80:5-6, 80:8-81:17, 82:9-25,
                                                              84:17-85:20)
                                                              O (16:8-17:1, 30:14-18, 33:16-
                             12:18-13:3, 14:5-9, 16:8-17:1,   18, 38:9-39:8, 68:2-69:10,
                             30:14-18, 33:16-18, 38:9-39:8,   70:12-71:3, 80:5-6, 80:8-81:17,
                             39:25-40:13, 64:17-21, 66:13-    82:9-25, 84:17-85:20)
                             67:11, 68:2-69:10, 70:12-71:3,   I (16:8-17:1, 33:16-18, 39:25-
                             72:21-73:13, 80:5-6, 80:8-81:17, 40:13)
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, NR (62:7-18, 66:13-67:11, 68:2-
64:7-64:14   403             111:19-22, 111:24-112:4, 112:6 69:10, 70:12-71:3)                65: 5-11




                                                          Page 50
                 Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24            Page 52 of 227
                                                     PageID #: 11837



                                                               SM (16:8-17:1, 30:14-18, 38:9-
                                                               39:8, 68:2-69:10, 70:12-71:3,
                                                               72:21-73:13, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               D (16:8-17:1, 30:14-18, 38:9-
                                                               39:8, 80:5-6, 80:8-81:17, 82:9-
                                                               25, 84:17-85:20)
                                                               F (16:8-17:1, 30:14-18)
                                                               P (16:8-17:1, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 62:7-18, 66:13-
                                                               67:11, 68:2-69:10, 70:12-71:3,
                                                               72:21-73:13, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               R (16:8-17:1, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 66:13-67:11,
                                                               80:5-6, 80:8-81:17, 82:9-25,
                                                               84:17-85:20)
                                                               O (16:8-17:1, 30:14-18, 33:16-
                              12:18-13:3, 14:5-9, 16:8-17:1,   18, 38:9-39:8, 68:2-69:10,
                              30:14-18, 33:16-18, 38:9-39:8,   70:12-71:3, 80:5-6, 80:8-81:17,
                              39:25-40:13, 64:17-21, 66:13-    82:9-25, 84:17-85:20)
                              67:11, 68:2-69:10, 70:12-71:3,   I (16:8-17:1, 33:16-18, 39:25-
                              72:21-73:13, 80:5-6, 80:8-81:17, 40:13)
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, NR (62:7-18, 66:13-67:11, 68:2-
65:12-65:19   403             111:19-22, 111:24-112:4, 112:6 69:10, 70:12-71:3)                65: 5-11




                                                           Page 51
                 Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24            Page 53 of 227
                                                     PageID #: 11838



                                                               SM (16:8-17:1, 30:14-18, 38:9-
                                                               39:8, 68:2-69:10, 70:12-71:3,
                                                               72:21-73:13, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               D (16:8-17:1, 30:14-18, 38:9-
                                                               39:8, 80:5-6, 80:8-81:17, 82:9-
                                                               25, 84:17-85:20)
                                                               F (16:8-17:1, 30:14-18)
                                                               P (16:8-17:1, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 62:7-18, 66:13-
                                                               67:11, 68:2-69:10, 70:12-71:3,
                                                               72:21-73:13, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               R (16:8-17:1, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 66:13-67:11,
                                                               80:5-6, 80:8-81:17, 82:9-25,
                                                               84:17-85:20)
                                                               O (16:8-17:1, 30:14-18, 33:16-
                              12:18-13:3, 14:5-9, 16:8-17:1,   18, 38:9-39:8, 68:2-69:10,
                              30:14-18, 33:16-18, 38:9-39:8,   70:12-71:3, 80:5-6, 80:8-81:17,
                              39:25-40:13, 64:17-21, 66:13-    82:9-25, 84:17-85:20)
                              67:11, 68:2-69:10, 70:12-71:3,   I (16:8-17:1, 33:16-18, 39:25-
                              72:21-73:13, 80:5-6, 80:8-81:17, 40:13)
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, NR (62:7-18, 66:13-67:11, 68:2-
65:20-66:12   403             111:19-22, 111:24-112:4, 112:6 69:10, 70:12-71:3)                65: 5-11




                                                           Page 52
                Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24            Page 54 of 227
                                                    PageID #: 11839



                                                              SM (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 68:2-69:10, 70:12-71:3,
                                                              72:21-73:13, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              D (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              P (16:8-17:1, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 62:7-18, 66:13-
                                                              67:11, 68:2-69:10, 70:12-71:3,
                                                              72:21-73:13, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              R (16:8-17:1, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 66:13-67:11,
                                                              80:5-6, 80:8-81:17, 82:9-25,
                                                              84:17-85:20)
                                                              O (16:8-17:1, 30:14-18, 33:16-
                             12:18-13:3, 14:5-9, 16:8-17:1,   18, 38:9-39:8, 68:2-69:10,
                             30:14-18, 33:16-18, 38:9-39:8,   70:12-71:3, 80:5-6, 80:8-81:17,
                             39:25-40:13, 64:17-21, 66:13-    82:9-25, 84:17-85:20)
                             67:11, 68:2-69:10, 70:12-71:3,   I (16:8-17:1, 33:16-18, 39:25-
                             72:21-73:13, 80:5-6, 80:8-81:17, 40:13)
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, NR (62:7-18, 66:13-67:11, 68:2-
67:12-68:1   403             111:19-22, 111:24-112:4, 112:6 69:10, 70:12-71:3)                65: 5-11




                                                          Page 53
                Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24            Page 55 of 227
                                                    PageID #: 11840



                                                              SM (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 68:2-69:10, 70:12-71:3,
                                                              72:21-73:13, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              D (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              P (16:8-17:1, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 62:7-18, 66:13-
                                                              67:11, 68:2-69:10, 70:12-71:3,
                                                              72:21-73:13, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              R (16:8-17:1, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 66:13-67:11,
                                                              80:5-6, 80:8-81:17, 82:9-25,
                                                              84:17-85:20)
                                                              O (16:8-17:1, 30:14-18, 33:16-
                             12:18-13:3, 14:5-9, 16:8-17:1,   18, 38:9-39:8, 68:2-69:10,
                             30:14-18, 33:16-18, 38:9-39:8,   70:12-71:3, 80:5-6, 80:8-81:17,
                             39:25-40:13, 64:17-21, 66:13-    82:9-25, 84:17-85:20)
                             67:11, 68:2-69:10, 70:12-71:3,   I (16:8-17:1, 33:16-18, 39:25-
                             72:21-73:13, 80:5-6, 80:8-81:17, 40:13)
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, NR (62:7-18, 66:13-67:11, 68:2-
69:11-70:6   403             111:19-22, 111:24-112:4, 112:6 69:10, 70:12-71:3)                65: 5-11




                                                          Page 54
                Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24            Page 56 of 227
                                                    PageID #: 11841



                                                              SM (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 68:2-69:10, 70:12-71:3,
                                                              72:21-73:13, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              D (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              P (16:8-17:1, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 62:7-18, 66:13-
                                                              67:11, 68:2-69:10, 70:12-71:3,
                                                              72:21-73:13, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              R (16:8-17:1, 30:14-18, 33:16-
                                                              18, 38:9-39:8, 66:13-67:11,
                                                              80:5-6, 80:8-81:17, 82:9-25,
                                                              84:17-85:20)
                                                              O (16:8-17:1, 30:14-18, 33:16-
                             12:18-13:3, 14:5-9, 16:8-17:1,   18, 38:9-39:8, 68:2-69:10,
                             30:14-18, 33:16-18, 38:9-39:8,   70:12-71:3, 80:5-6, 80:8-81:17,
                             39:25-40:13, 64:17-21, 66:13-    82:9-25, 84:17-85:20)
                             67:11, 68:2-69:10, 70:12-71:3,   I (16:8-17:1, 33:16-18, 39:25-
                             72:21-73:13, 80:5-6, 80:8-81:17, 40:13)
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, NR (62:7-18, 66:13-67:11, 68:2-
70:6-70:11   403             111:19-22, 111:24-112:4, 112:6 69:10, 70:12-71:3)                65: 5-11




                                                          Page 55
                 Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24            Page 57 of 227
                                                     PageID #: 11842



                                                               SM (16:8-17:1, 30:14-18, 38:9-
                                                               39:8, 68:2-69:10, 70:12-71:3,
                                                               72:21-73:13, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               D (16:8-17:1, 30:14-18, 38:9-
                                                               39:8, 80:5-6, 80:8-81:17, 82:9-
                                                               25, 84:17-85:20)
                                                               F (16:8-17:1, 30:14-18)
                                                               P (16:8-17:1, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 62:7-18, 66:13-
                                                               67:11, 68:2-69:10, 70:12-71:3,
                                                               72:21-73:13, 80:5-6, 80:8-
                                                               81:17, 82:9-25, 84:17-85:20)
                                                               R (16:8-17:1, 30:14-18, 33:16-
                                                               18, 38:9-39:8, 66:13-67:11,
                                                               80:5-6, 80:8-81:17, 82:9-25,
                                                               84:17-85:20)
                                                               O (16:8-17:1, 30:14-18, 33:16-
                              12:18-13:3, 14:5-9, 16:8-17:1,   18, 38:9-39:8, 68:2-69:10,
                              30:14-18, 33:16-18, 38:9-39:8,   70:12-71:3, 80:5-6, 80:8-81:17,
                              39:25-40:13, 64:17-21, 66:13-    82:9-25, 84:17-85:20)
                              67:11, 68:2-69:10, 70:12-71:3,   I (16:8-17:1, 33:16-18, 39:25-
                              72:21-73:13, 80:5-6, 80:8-81:17, 40:13)
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, NR (62:7-18, 66:13-67:11, 68:2-
72:10-72:20   403             111:19-22, 111:24-112:4, 112:6 69:10, 70:12-71:3)                65: 5-11




                                                           Page 56
                Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24              Page 58 of 227
                                                    PageID #: 11843


                                                              D, SM (16:8-17:1, 30:14-18,
                                                              38:9-39:8, 80:5-6, 80:8-81:17,
                                                              82:9-25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              R, O, P (16:8-17:1, 30:14-18,
                             12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                             30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                             39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
74:4-74:5    403, 611        111:19-22, 111:24-112:4, 112:6 40:13)

                                                              D, SM (16:8-17:1, 30:14-18,
                                                              38:9-39:8, 80:5-6, 80:8-81:17,
                                                              82:9-25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              R, O, P (16:8-17:1, 30:14-18,
                             12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                             30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                             39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
74:7-74:10   403, 611        111:19-22, 111:24-112:4, 112:6 40:13)




                                                          Page 57
                 Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24                Page 59 of 227
                                                    PageID #: 11844



                                                              SM (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 76:22-77:23, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              D (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                              12:18-13:3, 14:5-9, 16:8-17:1,  R, O, P (16:8-17:1, 30:14-18,
                              30:14-18, 33:16-18, 38:9-39:8,  33:16-18, 38:9-39:8, 76:22-
                              39:25-40:13, 76:22-77:23, 80:5- 77:23, 80:5-6, 80:8-81:17, 82:9-
                              6, 80:8-81:17, 82:9-25, 84:17-  25, 84:17-85:20)
              FRE 106, 402,   85:20, 111:10-17, 111:19-22,    I (16:8-17:1, 33:16-18, 39:25-
74:14-74:16   403             111:24-112:4, 112:6             40:13)


                                                              SM (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 76:22-77:23, 80:5-6, 80:8-
                                                              81:17, 82:9-25, 84:17-85:20)
                                                              D (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                              12:18-13:3, 14:5-9, 16:8-17:1,  R, O, P (16:8-17:1, 30:14-18,
                              30:14-18, 33:16-18, 38:9-39:8,  33:16-18, 38:9-39:8, 76:22-
                              39:25-40:13, 76:22-77:23, 80:5- 77:23, 80:5-6, 80:8-81:17, 82:9-
                              6, 80:8-81:17, 82:9-25, 84:17-  25, 84:17-85:20)
              FRE 106, 402,   85:20, 111:10-17, 111:19-22,    I (16:8-17:1, 33:16-18, 39:25-
74:21-76:2    403             111:24-112:4, 112:6             40:13)




                                                           Page 58
               Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24                Page 60 of 227
                                                  PageID #: 11845



                                                            SM (16:8-17:1, 30:14-18, 38:9-
                                                            39:8, 76:22-77:23, 80:5-6, 80:8-
                                                            81:17, 82:9-25, 84:17-85:20)
                                                            D (16:8-17:1, 30:14-18, 38:9-
                                                            39:8, 80:5-6, 80:8-81:17, 82:9-
                                                            25, 84:17-85:20)
                                                            F (16:8-17:1, 30:14-18)
                            12:18-13:3, 14:5-9, 16:8-17:1,  R, O, P (16:8-17:1, 30:14-18,
                            30:14-18, 33:16-18, 38:9-39:8,  33:16-18, 38:9-39:8, 76:22-
                            39:25-40:13, 76:22-77:23, 80:5- 77:23, 80:5-6, 80:8-81:17, 82:9-
                            6, 80:8-81:17, 82:9-25, 84:17-  25, 84:17-85:20)
            FRE 106, 402,   85:20, 111:10-17, 111:19-22,    I (16:8-17:1, 33:16-18, 39:25-
76:2-76:4   403             111:24-112:4, 112:6             40:13)


                                                            SM (16:8-17:1, 30:14-18, 38:9-
                                                            39:8, 76:22-77:23, 80:5-6, 80:8-
                                                            81:17, 82:9-25, 84:17-85:20)
                                                            D (16:8-17:1, 30:14-18, 38:9-
                                                            39:8, 80:5-6, 80:8-81:17, 82:9-
                                                            25, 84:17-85:20)
                                                            F (16:8-17:1, 30:14-18)
                            12:18-13:3, 14:5-9, 16:8-17:1,  R, O, P (16:8-17:1, 30:14-18,
                            30:14-18, 33:16-18, 38:9-39:8,  33:16-18, 38:9-39:8, 76:22-
                            39:25-40:13, 76:22-77:23, 80:5- 77:23, 80:5-6, 80:8-81:17, 82:9-
                            6, 80:8-81:17, 82:9-25, 84:17-  25, 84:17-85:20)
            FRE 106, 402,   85:20, 111:10-17, 111:19-22,    I (16:8-17:1, 33:16-18, 39:25-
76:5-76:8   403             111:24-112:4, 112:6             40:13)




                                                         Page 59
                Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24              Page 61 of 227
                                                    PageID #: 11846


                                                              D, SM (16:8-17:1, 30:14-18,
                                                              38:9-39:8, 80:5-6, 80:8-81:17,
                                                              82:9-25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              R, O, P (16:8-17:1, 30:14-18,
                             12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                             30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                             39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
79:14-80:4   403             111:19-22, 111:24-112:4, 112:6 40:13)

                                                              D, SM (16:8-17:1, 30:14-18,
                                                              38:9-39:8, 80:5-6, 80:8-81:17,
                                                              82:9-25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              R, O, P (16:8-17:1, 30:14-18,
                             12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                             30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                             39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
81:19-82:8   403             111:19-22, 111:24-112:4, 112:6 40:13)

                                                              D, SM (16:8-17:1, 30:14-18,
                                                              38:9-39:8, 80:5-6, 80:8-81:17,
                                                              82:9-25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              R, O, P (16:8-17:1, 30:14-18,
                             12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                             30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                             39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
83:4-83:6    403             111:19-22, 111:24-112:4, 112:6 40:13)




                                                          Page 60
                 Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24              Page 62 of 227
                                                       PageID #: 11847


                                                                 D, SM (16:8-17:1, 30:14-18,
                                                                 38:9-39:8, 80:5-6, 80:8-81:17,
                                                                 82:9-25, 84:17-85:20)
                                                                 F (16:8-17:1, 30:14-18)
                                                                 R, O, P (16:8-17:1, 30:14-18,
                                12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                                30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                                39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
              FRE 106, 402,     82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
83:18-83:24   403               111:19-22, 111:24-112:4, 112:6 40:13)

                                                                 D, SM (16:8-17:1, 30:14-18,
                                                                 38:9-39:8, 80:5-6, 80:8-81:17,
                                                                 82:9-25, 84:17-85:20)
                                                                 F (16:8-17:1, 30:14-18)
                                                                 R, O, P (16:8-17:1, 30:14-18,
                                12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                                30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
              FRE 106, 402,     39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
              403, 802 (87:6-   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
86:21-87:14   10)               111:19-22, 111:24-112:4, 112:6 40:13)

                                                                 D, SM (16:8-17:1, 30:14-18,
                                                                 38:9-39:8, 80:5-6, 80:8-81:17,
                                                                 82:9-25, 84:17-85:20)
                                                                 F (16:8-17:1, 30:14-18)
                                                                 R, O, P (16:8-17:1, 30:14-18,
                                12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                                30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                                39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
              FRE 106, 402,     82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
87:14-87:19   403               111:19-22, 111:24-112:4, 112:6 40:13)




                                                             Page 61
                Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24              Page 63 of 227
                                                    PageID #: 11848


                                                              D, SM (16:8-17:1, 30:14-18,
                                                              38:9-39:8, 80:5-6, 80:8-81:17,
                                                              82:9-25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              R, O, P (16:8-17:1, 30:14-18,
                             12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                             30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                             39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
87:20-88:3   403             111:19-22, 111:24-112:4, 112:6 40:13)

                                                              D, SM (16:8-17:1, 30:14-18,
                                                              38:9-39:8, 80:5-6, 80:8-81:17,
                                                              82:9-25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              R, O, P (16:8-17:1, 30:14-18,
                             12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                             30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                             39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
88:4-88:6    403             111:19-22, 111:24-112:4, 112:6 40:13)

                                                              D, SM (16:8-17:1, 30:14-18,
                                                              38:9-39:8, 80:5-6, 80:8-81:17,
                                                              82:9-25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              R, O, P (16:8-17:1, 30:14-18,
                             12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                             30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                             39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
             FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
88:8-88:8    403             111:19-22, 111:24-112:4, 112:6 40:13)




                                                          Page 62
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24                Page 64 of 227
                                                      PageID #: 11849


                                                               D, SM (16:8-17:1, 30:14-18,
                                                               38:9-39:8, 80:5-6, 80:8-81:17,
                                                               82:9-25, 84:17-85:20)
                                                               F (16:8-17:1, 30:14-18)
                                                               R, O, P (16:8-17:1, 30:14-18,
                              12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                              30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                              39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
              FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
89:6-89:17    403, 802        111:19-22, 111:24-112:4, 112:6 40:13)
89:18-89:23   FRE 106         16:11-17:1                       F, R, O, P, D, SM, I (16:11-17:1)
90:15-91:5    FRE 106         16:11-17:1, 93:3-11              F, R, O, P, D, SM, I (16:11-17:1)
92:22-93:2    FRE 106         16:11-17:1, 93:3-11              F, R, O, P, D, SM, I (16:11-17:1)

                                                               SM (16:8-17:1, 30:14-18, 38:9-
                                                               39:8, 80:5-6, 80:8-81:17, 82:9-
                                                               25, 84:17-85:20, 95:8-16,
                                                               98:16-99:17)
                                                               D (16:8-17:1, 30:14-18, 38:9-
                                                               39:8, 80:5-6, 80:8-81:17, 82:9-
                                                               25, 84:17-85:20)
                                                               F (16:8-17:1, 30:14-18)
                                                               O, P (16:8-17:1, 30:14-18,
                                                               33:16-18, 38:9-39:8, 80:5-6,
                                                               80:8-81:17, 82:9-25, 84:17-
                                                               85:20, 95:8-16, 98:16-99:17)
                              12:18-13:3, 14:5-9, 16:8-17:1,   R (16:8-17:1, 30:14-18, 33:16-
                              30:14-18, 33:16-18, 38:9-39:8,   18, 38:9-39:8, 80:5-6, 80:8-
                              39:25-40:13, 80:5-6, 80:8-81:17, 81:17, 82:9-25, 84:17-85:20)
                              82:9-25, 84:17-85:20, 95:8-16,   I (16:8-17:1, 33:16-18, 39:25-
              FRE 106, 402,   98:16-99:17, 111:10-17, 111:19- 40:13)
93:20-95:7    403             22, 111:24-112:4, 112:6          NR (95:8-16, 98:16-99:17)




                                                             Page 63
                Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24               Page 65 of 227
                                                    PageID #: 11850


                                                              SM (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20, 95:8-16,
                                                              98:16-99:17)
                                                              D (16:8-17:1, 30:14-18, 38:9-
                                                              39:8, 80:5-6, 80:8-81:17, 82:9-
                                                              25, 84:17-85:20)
                                                              F (16:8-17:1, 30:14-18)
                                                              O, P (16:8-17:1, 30:14-18,
                                                              33:16-18, 38:9-39:8, 80:5-6,
                                                              80:8-81:17, 82:9-25, 84:17-
                                                              85:20, 95:8-16, 98:16-99:17)
                             12:18-13:3, 14:5-9, 16:8-17:1,   R (16:8-17:1, 30:14-18, 33:16-
                             30:14-18, 33:16-18, 38:9-39:8,   18, 38:9-39:8, 80:5-6, 80:8-
                             39:25-40:13, 80:5-6, 80:8-81:17, 81:17, 82:9-25, 84:17-85:20)
                             82:9-25, 84:17-85:20, 95:8-16,   I (16:8-17:1, 33:16-18, 39:25-
             FRE 106, 402,   98:16-99:17, 111:10-17, 111:19- 40:13)
96:6-96:13   403             22, 111:24-112:4, 112:6          NR (95:8-16, 98:16-99:17)




                                                           Page 64
                 Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24               Page 66 of 227
                                                     PageID #: 11851


                                                               SM (16:8-17:1, 30:14-18, 38:9-
                                                               39:8, 80:5-6, 80:8-81:17, 82:9-
                                                               25, 84:17-85:20, 95:8-16,
                                                               98:16-99:17)
                                                               D (16:8-17:1, 30:14-18, 38:9-
                                                               39:8, 80:5-6, 80:8-81:17, 82:9-
                                                               25, 84:17-85:20)
                                                               F (16:8-17:1, 30:14-18)
                                                               O, P (16:8-17:1, 30:14-18,
                                                               33:16-18, 38:9-39:8, 80:5-6,
                                                               80:8-81:17, 82:9-25, 84:17-
                                                               85:20, 95:8-16, 98:16-99:17)
                              12:18-13:3, 14:5-9, 16:8-17:1,   R (16:8-17:1, 30:14-18, 33:16-
                              30:14-18, 33:16-18, 38:9-39:8,   18, 38:9-39:8, 80:5-6, 80:8-
                              39:25-40:13, 80:5-6, 80:8-81:17, 81:17, 82:9-25, 84:17-85:20)
                              82:9-25, 84:17-85:20, 95:8-16,   I (16:8-17:1, 33:16-18, 39:25-
              FRE 106, 402,   98:16-99:17, 111:10-17, 111:19- 40:13)
96:14-96:23   403             22, 111:24-112:4, 112:6          NR (95:8-16, 98:16-99:17)




                                                            Page 65
                   Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24               Page 67 of 227
                                                       PageID #: 11852


                                                                 SM (16:8-17:1, 30:14-18, 38:9-
                                                                 39:8, 80:5-6, 80:8-81:17, 82:9-
                                                                 25, 84:17-85:20, 95:8-16,
                                                                 98:16-99:17)
                                                                 D (16:8-17:1, 30:14-18, 38:9-
                                                                 39:8, 80:5-6, 80:8-81:17, 82:9-
                                                                 25, 84:17-85:20)
                                                                 F (16:8-17:1, 30:14-18)
                                                                 O, P (16:8-17:1, 30:14-18,
                                                                 33:16-18, 38:9-39:8, 80:5-6,
                                                                 80:8-81:17, 82:9-25, 84:17-
                                                                 85:20, 95:8-16, 98:16-99:17)
                                12:18-13:3, 14:5-9, 16:8-17:1,   R (16:8-17:1, 30:14-18, 33:16-
                                30:14-18, 33:16-18, 38:9-39:8,   18, 38:9-39:8, 80:5-6, 80:8-
                                39:25-40:13, 80:5-6, 80:8-81:17, 81:17, 82:9-25, 84:17-85:20)
                                82:9-25, 84:17-85:20, 95:8-16,   I (16:8-17:1, 33:16-18, 39:25-
                FRE 106, 402,   98:16-99:17, 111:10-17, 111:19- 40:13)
97:17-98:15     403             22, 111:24-112:4, 112:6          NR (95:8-16, 98:16-99:17)
100:1-100:16    FRE 106, 602    16:11-17:1, 100:17-18, 100:20
101:3-101:18    FRE 106, 602    16:11-17:1, 100:17-18, 100:20
101:20-101:25   FRE 106, 602    16:11-17:1, 100:17-18, 100:20
102:2-102:3     FRE 106, 602    16:11-17:1, 100:17-18, 100:20
102:5-102:13    FRE 106, 602    16:11-17:1, 100:17-18, 100:20

                                                                 D, SM (16:8-17:1, 30:14-18,
                                                                 38:9-39:8, 80:5-6, 80:8-81:17,
                                                                 82:9-25, 84:17-85:20)
                                                                 F (16:8-17:1, 30:14-18)
                                                                 R, O, P (16:8-17:1, 30:14-18,
                                12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                                30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                                39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
                FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
102:14-102:17   403, 602        111:19-22, 111:24-112:4, 112:6 40:13)


                                                              Page 66
                   Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24              Page 68 of 227
                                                       PageID #: 11853


                                                                 D, SM (16:8-17:1, 30:14-18,
                                                                 38:9-39:8, 80:5-6, 80:8-81:17,
                                                                 82:9-25, 84:17-85:20)
                                                                 F (16:8-17:1, 30:14-18)
                                                                 R, O, P (16:8-17:1, 30:14-18,
                                12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                                30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                                39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
                FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
102:19-102:19   403, 602        111:19-22, 111:24-112:4, 112:6 40:13)

                                                                 D, SM (16:8-17:1, 30:14-18,
                                                                 38:9-39:8, 80:5-6, 80:8-81:17,
                                                                 82:9-25, 84:17-85:20)
                                                                 F (16:8-17:1, 30:14-18)
                                                                 R, O, P (16:8-17:1, 30:14-18,
                                12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                                30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                                39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
                FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
102:21-102:22   403, 602        111:19-22, 111:24-112:4, 112:6 40:13)

                                                                 D, SM (16:8-17:1, 30:14-18,
                                                                 38:9-39:8, 80:5-6, 80:8-81:17,
                                                                 82:9-25, 84:17-85:20)
                                                                 F (16:8-17:1, 30:14-18)
                                                                 R, O, P (16:8-17:1, 30:14-18,
                                12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                                30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                                39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
                FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
102:24-103:5    403, 602        111:19-22, 111:24-112:4, 112:6 40:13)




                                                             Page 67
                   Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24              Page 69 of 227
                                                       PageID #: 11854


                                                                 D, SM (16:8-17:1, 30:14-18,
                                                                 38:9-39:8, 80:5-6, 80:8-81:17,
                                                                 82:9-25, 84:17-85:20)
                                                                 F (16:8-17:1, 30:14-18)
                                                                 R, O, P (16:8-17:1, 30:14-18,
                                12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                                30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                                39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
                FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
105:3-105:10    403             111:19-22, 111:24-112:4, 112:6 40:13)

                                                                 D, SM (16:8-17:1, 30:14-18,
                                                                 38:9-39:8, 80:5-6, 80:8-81:17,
                                                                 82:9-25, 84:17-85:20)
                                                                 F (16:8-17:1, 30:14-18)
                                                                 R, O, P (16:8-17:1, 30:14-18,
                                12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                                30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                                39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
                FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
105:11-105:16   403             111:19-22, 111:24-112:4, 112:6 40:13)

                                                                 D, SM (16:8-17:1, 30:14-18,
                                                                 38:9-39:8, 80:5-6, 80:8-81:17,
                                                                 82:9-25, 84:17-85:20)
                                                                 F (16:8-17:1, 30:14-18)
                                                                 R, O, P (16:8-17:1, 30:14-18,
                                12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                                30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                                39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
                FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
107:25-109:5    403             111:19-22, 111:24-112:4, 112:6 40:13)




                                                             Page 68
                   Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24              Page 70 of 227
                                                       PageID #: 11855


                                                                 D, SM (16:8-17:1, 30:14-18,
                                                                 38:9-39:8, 80:5-6, 80:8-81:17,
                                                                 82:9-25, 84:17-85:20)
                                                                 F (16:8-17:1, 30:14-18)
                                                                 R, O, P (16:8-17:1, 30:14-18,
                                12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                                30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                                39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
                FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
109:7-109:10    403, 611        111:19-22, 111:24-112:4, 112:6 40:13)

                                                                 D, SM (16:8-17:1, 30:14-18,
                                                                 38:9-39:8, 80:5-6, 80:8-81:17,
                                                                 82:9-25, 84:17-85:20)
                                                                 F (16:8-17:1, 30:14-18)
                                                                 R, O, P (16:8-17:1, 30:14-18,
                                12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                                30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                                39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
                FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
109:12-109:16   403, 611        111:19-22, 111:24-112:4, 112:6 40:13)

                                                                 D, SM (16:8-17:1, 30:14-18,
                                                                 38:9-39:8, 80:5-6, 80:8-81:17,
                                                                 82:9-25, 84:17-85:20)
                                                                 F (16:8-17:1, 30:14-18)
                                                                 R, O, P (16:8-17:1, 30:14-18,
                                12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                                30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                                39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
                FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
109:18-110:9    403, 611        111:19-22, 111:24-112:4, 112:6 40:13)




                                                             Page 69
                   Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24              Page 71 of 227
                                                       PageID #: 11856


                                                                 D, SM (16:8-17:1, 30:14-18,
                                                                 38:9-39:8, 80:5-6, 80:8-81:17,
                                                                 82:9-25, 84:17-85:20)
                                                                 F (16:8-17:1, 30:14-18)
                                                                 R, O, P (16:8-17:1, 30:14-18,
                                12:18-13:3, 14:5-9, 16:8-17:1,   33:16-18, 38:9-39:8, 80:5-6,
                                30:14-18, 33:16-18, 38:9-39:8,   80:8-81:17, 82:9-25, 84:17-
                                39:25-40:13, 80:5-6, 80:8-81:17, 85:20)
                FRE 106, 402,   82:9-25, 84:17-85:20, 111:10-17, I (16:8-17:1, 33:16-18, 39:25-
110:11-110:11   403, 611        111:19-22, 111:24-112:4, 112:6 40:13)




                                                             Page 70
                     Case 2:23-cv-00059-JRG-RSP             Document 215-6 Filed 10/04/24              Page 72 of 227
                                                            PageID #: 11857

                                          Testifying Witness: Cilione-Berger, Sharon
                                                           (5/22/24)

 Touchstream's
     Initial     Comcast's                                           Touchstream's Objections to Counter-           Touchstream's Counter-
  Designations   Objections   Comcast's Counter Designations                    Designations                              Counters
4:23-5:14
11:8-11:22
14:3-14:25     FRE 106
15:2-16:19     FRE 106
                                                                 R (17:15-16, 17:19-20)
                              17:15-16, 17:19-20, 18:5-18:8,     P (17:15-16, 17:19-20)
17:21-18:4     FRE 402, 403   20:4-11                            F (17:15-16, 17:19-20)
20:15-20:25                   36:8-36:12
21:2-21:8                     36:8-36:12
                              21:13-22:7, 26:11-22, 36:8-12,
                              50:2-5, 50:10-20, 60:22-25, 63:15- I (21:13-22, 26:11-22, 36:8-12, 50:2-5, 50:10-
                              24, 71:21-22, 71:24-72:7, 112:9- 20, 60:22-25, 112:9-17)                            21:22-24, 55:15-16, 15:18-
25:12-25:18                   17                                 SCOPE (71:21-22, 71:24-72:7)                     20, 55:22-53:2
                              21:13-22:7, 26:11-22, 36:8-12,
                              50:2-5, 50:10-20, 60:22-25, 63:15- I (21:13-22, 26:11-22, 36:8-12, 50:2-5, 50:10-
                              24, 71:21-22, 71:24-72:7, 112:9- 20, 60:22-25, 112:9-17)                            21:22-24, 55:15-16, 15:18-
25:23-25:25                   17                                 SCOPE (71:21-22, 71:24-72:7)                     20, 55:22-53:2
                              21:13-22:7, 26:11-22, 36:8-12,
                              50:2-5, 50:10-20, 60:22-25, 63:15- I (21:13-22, 26:11-22, 36:8-12, 50:2-5, 50:10-
                              24, 71:21-22, 71:24-72:7, 112:9- 20, 60:22-25, 112:9-17)                            21:22-24, 55:15-16, 15:18-
26:2-26:5      FRE 106        17                                 SCOPE (71:21-22, 71:24-72:7)                     20, 55:22-53:2
                              21:13-22:7, 26:11-22, 36:8-12,
                              50:2-5, 50:10-20, 60:22-25, 63:15- I (21:13-22, 26:11-22, 36:8-12, 50:2-5, 50:10-
                              24, 71:21-22, 71:24-72:7, 112:9- 20, 60:22-25, 112:9-17)                            21:22-24, 55:15-16, 15:18-
27:3-27:11                    17                                 SCOPE (71:21-22, 71:24-72:7)                     20, 55:22-53:2
30:25-30:25
31:2-31:8                     134:7-18
                    Case 2:23-cv-00059-JRG-RSP             Document 215-6 Filed 10/04/24              Page 73 of 227
                                                           PageID #: 11858

31:19-31:25
32:2-32:3
32:23-32:25
33:2-33:4
33:5-33:13
                             36:8-12, 37:2-6, 50:2-5, 50:10-20, I (36:8-12, 37:2-6, 50:2-5, 50:10-20, 60:22-25,
                             60:22-25, 63:15-24, 71:21-22,      112:9-17)                                         55:15-16, 15:18-20, 55:22-
36:15-36:25                  71:24-72:7, 112:9-17               SCOPE (71:21-22, 71:24-72:7)                      53:2, 61:2-9
                             36:8-12, 37:2-6, 50:2-5, 50:10-20, I (36:8-12, 37:2-6, 50:2-5, 50:10-20, 60:22-25,
                             60:22-25, 63:15-24, 71:21-22,      112:9-17)                                         55:15-16, 15:18-20, 55:22-
37:11-37:25                  71:24-72:7, 112:9-17               SCOPE (71:21-22, 71:24-72:7)                      53:2, 61:2-9
                             36:8-12, 37:2-6, 50:2-5, 50:10-20, I (36:8-12, 37:2-6, 50:2-5, 50:10-20, 60:22-25,
                             60:22-25, 63:15-24, 71:21-22,      112:9-17)                                         55:15-16, 15:18-20, 55:22-
38:2-38:11                   71:24-72:7, 112:9-17               SCOPE (71:21-22, 71:24-72:7)                      53:2, 61:2-9
40:17-40:21
41:9-41:21    FRE 402, 403   37:2-6, 42:7-9, 42:13-23           I (37:2-6, 42:7-9)                                42:10-12
41:23-41:25   FRE 402, 403   37:2-6, 42:7-9, 42:13-23           I (37:2-6, 42:7-9)                                42:10-12
42:2-42:2     FRE 402, 403   37:2-6, 42:7-9, 42:13-23           I (37:2-6, 42:7-9)                                42:10-12
44:15-44:25                  45:13-23
45:2-45:8                    45:13-23
50:21-50:25                  51:17-18, 51:20-53:8               I (51:20-53:8)                                    53:9-22
51:2-51:10                   51:17-18, 51:20-53:8               I (51:20-53:8)                                    53:9-22
51:17-51:18                  52:19-53:8
51:20-51:25                  52:19-53:8
52:2-52:10                   52:19-53:8
52:15-52:18                  52:19-53:8
              FRE 106, 402,                                    I, F (65:16-23)                                    64:8-10, 64:12-17, 65:24-
64:18-64:22   403           65:16-23, 134:7-18                                                                    66:4
66:6-66:25                  68:9-:25
67:2-67:4                   68:9-:25
                            50:2-5, 50:10-20, 60:22-25, 63:15-
                            24, 71:21-22, 71:24-72:7, 112:9- I (50:2-5, 50:10-20, 60:22-25, 112:9-17)             55:15-16, 15:18-20, 55:22-
78:15-78:25                 17                                 SCOPE (71:21-22, 71:24-72:7)                       53:2, 61:2-9
                     Case 2:23-cv-00059-JRG-RSP             Document 215-6 Filed 10/04/24             Page 74 of 227
                                                            PageID #: 11859

                               50:2-5, 50:10-20, 60:22-25, 63:15-
                               24, 71:21-22, 71:24-72:7, 112:9- I (50:2-5, 50:10-20, 60:22-25, 112:9-17)      55:15-16, 15:18-20, 55:22-
79:2-79:5                      17                                 SCOPE (71:21-22, 71:24-72:7)                53:2, 61:2-9
87:18-87:22     FRE 106        136:4-10, 136:18-23
88:3-88:19      FRE 106        136:4-10, 136:18-23
88:24-88:25     FRE 106        136:4-10, 136:18-23
89:2-89:7       FRE 106        136:4-10, 136:18-23
89:8-89:9       FRE 106        136:4-10, 136:18-23
89:11-89:12     FRE 106        136:4-10, 136:18-23
93:9-93:11      FRE 106
93:12-93:12     FRE 106
93:17-93:25     FRE 106
94:2-94:5       FRE 106
129:14-130:9                   132:4-10, 133:9-12, 133:19-25
130:10-130:25                  132:4-10, 133:9-12, 133:19-25
131:2-131:18                   132:4-10, 133:9-12, 133:19-25
131:5-131:18                   132:4-10, 133:9-12, 133:19-25
133:13-133:18                  132:4-10, 133:9-12, 133:19-25
134:7-134:18
                               17:15-16, 17:19-20, 18:5-8, 20:4- R, P, F (17:15-16, 17:19-20)
135:19-135:25   FRE 402, 403   11
                               17:15-16, 17:19-20, 18:5-8, 20:4- R, P, F (17:15-16, 17:19-20)
136:2-136:3     FRE 402, 403   11
136:4-136:13    FRE 106        136:18-23
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24             Page 75 of 227
                                                           PageID #: 11860

                   Comcast Cable Communications, LLC v. Sprint Communications Company L.P.
                                        Case No. 2:12-cv-00859-JD

                                         Testifying Witness: Cilione-Berger, Sharon
                                                          10/15/14

Touchstream
  's Initial Comcast's                                                                                                 Touchstream's
Designations Objections      Comcast's Counter Designations                       Touchstream's Objections           Counter-Counters
24:22-25:10             13:13-18                                      R, O, P, F, I                                 13:19-14:10
25:16-21                13:13-18                                      R, O, P, F, I                                 13:19-14:10

                                                                      R, O, P (13:13-18, 37:15-38:6, 38:9, 38:11-15,
                                                                      97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2,
                                                                      100:5-19, 102:14-17, 107:21-108:2, 108:5-7,
                                                                      108:9-19, 108:23, 109:1-6, 287:11)
                                                                      F (13:13-18, 37:15-38:6, 38:9, 38:11-15,       13:19-14:10, 34:15-
                                                                      97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2, 20, 40:2-5, 90:14-18,
                                                                      100:5-19, 102:14-17, 107:21-108:2, 108:5-7, 90:21-91:2, 91:5-6,
                         13:13-18, 31:14-20, 31:25-32:1, 34:7-14,     108:9-19, 108:23, 109:1-6)                     91:8-15, 91:18,
                         34:21-35:7, 37:15-38:6, 38:9, 38:11-15,      I (13:13-18, 34:7-14, 38:9, 99:17-21, 99:24-   102:18-24, 110:14-
                         38:18-21, 38:24-39:1, 85:24-86:2, 92:7-9,    100:2, 100:5-19, 102:14-17, 107:21-108:2,      15, 110:18-20, 110:22-
                         92:12-15, 92:17-23, 93:1-3, 97:14-18, 97:21- 108:5-7, 108:9-19, 108:23, 109:1-6, 207:12- 23, 116:24-117:2,
                         98:6, 99:17-21, 99:24-100:2, 100:5-19,       13, 207:16-19, 287:11, 308:15-20)              117:6-12, 207:21-24,
                         102:14-17, 107:21-108:2, 108:5-7, 108:9-19, H (37:15-38:6, 38:9, 38:11-15, 97:14-18,        208:5-7, 208:11-13,
                         108:23, 109:1-6, 207:12-13, 207:16-19,       97:21-98:6, 99:17-21, 99:24-100:2, 100:5-19, 208:15-24, 289:8-10,
                         287:7-8, 287:11, 302:12-23, 302:25, 308:15- 102:14-17, 107:21-108:2, 108:5-7, 108:9-19, 289:13-17, 290:1,
26:23-24                 20                                           108:23, 109:1-6)                               308:14-20
                       Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24             Page 76 of 227
                                                            PageID #: 11861


                                                                       R, O, P (13:13-18, 37:15-38:6, 38:9, 38:11-15,
                                                                       97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2,
                                                                       100:5-19, 102:14-17, 107:21-108:2, 108:5-7,
                                                                       108:9-19, 108:23, 109:1-6, 287:11)
                                                                       F (13:13-18, 37:15-38:6, 38:9, 38:11-15,       13:19-14:10, 34:15-
                                                                       97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2, 20, 40:2-5, 90:14-18,
                                                                       100:5-19, 102:14-17, 107:21-108:2, 108:5-7, 90:21-91:2, 91:5-6,
                          13:13-18, 31:14-20, 31:25-32:1, 34:7-14,     108:9-19, 108:23, 109:1-6)                     91:8-15, 91:18,
                          34:21-35:7, 37:15-38:6, 38:9, 38:11-15,      I (13:13-18, 34:7-14, 38:9, 99:17-21, 99:24-   102:18-24, 110:14-
                          38:18-21, 38:24-39:1, 85:24-86:2, 92:7-9,    100:2, 100:5-19, 102:14-17, 107:21-108:2,      15, 110:18-20, 110:22-
                          92:12-15, 92:17-23, 93:1-3, 97:14-18, 97:21- 108:5-7, 108:9-19, 108:23, 109:1-6, 207:12- 23, 116:24-117:2,
                          98:6, 99:17-21, 99:24-100:2, 100:5-19,       13, 207:16-19, 287:11, 308:15-20)              117:6-12, 207:21-24,
                          102:14-17, 107:21-108:2, 108:5-7, 108:9-19, H (37:15-38:6, 38:9, 38:11-15, 97:14-18,        208:5-7, 208:11-13,
                          108:23, 109:1-6, 207:12-13, 207:16-19,       97:21-98:6, 99:17-21, 99:24-100:2, 100:5-19, 208:15-24, 289:8-10,
                          287:7-8, 287:11, 302:12-23, 302:25, 308:15- 102:14-17, 107:21-108:2, 108:5-7, 108:9-19, 289:13-17, 290:1,
27:4-10      FRE 403      20                                           108:23, 109:1-6)                               308:14-20

                                                                       R, O, P (13:13-18, 37:15-38:6, 38:9, 38:11-15,
                                                                       97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2,
                                                                       100:5-19, 102:14-17, 107:21-108:2, 108:5-7,
                                                                       108:9-19, 108:23, 109:1-6, 287:11)
                                                                       F (13:13-18, 37:15-38:6, 38:9, 38:11-15,       13:19-14:10, 34:15-
                                                                       97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2, 20, 40:2-5, 90:14-18,
                                                                       100:5-19, 102:14-17, 107:21-108:2, 108:5-7, 90:21-91:2, 91:5-6,
                          13:13-18, 28:5-7, 28:10-14, 28:16-19, 28:23- 108:9-19, 108:23, 109:1-6)                     91:8-15, 91:18,
                          29:4, 31:14-20, 31:25-32:1, 34:7-14, 34:21- I (13:13-18, 34:7-14, 38:9, 99:17-21, 99:24-    102:18-24, 110:14-
                          35:7, 37:15-38:6, 38:9, 38:11-15, 38:18-21, 100:2, 100:5-19, 102:14-17, 107:21-108:2,       15, 110:18-20, 110:22-
                          38:24-39:1, 85:24-86:2, 92:7-9, 92:12-15,    108:5-7, 108:9-19, 108:23, 109:1-6, 207:12- 23, 116:24-117:2,
                          92:17-23, 93:1-3, 97:14-18, 97:21-98:6,      13, 207:16-19, 287:11, 308:15-20)              117:6-12, 207:21-24,
                          99:17-21, 99:24-100:2, 100:5-19, 102:14-17, H (37:15-38:6, 38:9, 38:11-15, 97:14-18,        208:5-7, 208:11-13,
                          107:21-108:2, 108:5-7, 108:9-19, 108:23,     97:21-98:6, 99:17-21, 99:24-100:2, 100:5-19, 208:15-24, 289:8-10,
                          109:1-6, 207:12-13, 207:16-19, 287:7-8,      102:14-17, 107:21-108:2, 108:5-7, 108:9-19, 289:13-17, 290:1,
27:15-28:4                287:11, 302:12-23, 302:25, 308:15-20         108:23, 109:1-6)                               308:14-20
                       Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24             Page 77 of 227
                                                            PageID #: 11862


                                                                       R, O, P (13:13-18, 37:15-38:6, 38:9, 38:11-15,
                                                                       97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2,
                                                                       100:5-19, 102:14-17, 107:21-108:2, 108:5-7,
                                                                       108:9-19, 108:23, 109:1-6, 287:11)
                                                                       F (13:13-18, 37:15-38:6, 38:9, 38:11-15,       13:19-14:10, 34:15-
                                                                       97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2, 20, 40:2-5, 90:14-18,
                                                                       100:5-19, 102:14-17, 107:21-108:2, 108:5-7, 90:21-91:2, 91:5-6,
                          13:13-18, 31:14-20, 31:25-32:1, 34:7-14,     108:9-19, 108:23, 109:1-6)                     91:8-15, 91:18,
                          34:21-35:7, 37:15-38:6, 38:9, 38:11-15,      I (13:13-18, 34:7-14, 38:9, 99:17-21, 99:24-   102:18-24, 110:14-
                          38:18-21, 38:24-39:1, 85:24-86:2, 92:7-9,    100:2, 100:5-19, 102:14-17, 107:21-108:2,      15, 110:18-20, 110:22-
                          92:12-15, 92:17-23, 93:1-3, 97:14-18, 97:21- 108:5-7, 108:9-19, 108:23, 109:1-6, 207:12- 23, 116:24-117:2,
                          98:6, 99:17-21, 99:24-100:2, 100:5-19,       13, 207:16-19, 287:11, 308:15-20)              117:6-12, 207:21-24,
                          102:14-17, 107:21-108:2, 108:5-7, 108:9-19, H (37:15-38:6, 38:9, 38:11-15, 97:14-18,        208:5-7, 208:11-13,
                          108:23, 109:1-6, 207:12-13, 207:16-19,       97:21-98:6, 99:17-21, 99:24-100:2, 100:5-19, 208:15-24, 289:8-10,
                          287:7-8, 287:11, 302:12-23, 302:25, 308:15- 102:14-17, 107:21-108:2, 108:5-7, 108:9-19, 289:13-17, 290:1,
29:17-18                  20                                           108:23, 109:1-6)                               308:14-20

                                                                       R, O, P (13:13-18, 37:15-38:6, 38:9, 38:11-15,
                                                                       97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2,
                                                                       100:5-19, 102:14-17, 107:21-108:2, 108:5-7,
                                                                       108:9-19, 108:23, 109:1-6, 287:11)
                                                                       F (13:13-18, 37:15-38:6, 38:9, 38:11-15,       13:19-14:10, 34:15-
                                                                       97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2, 20, 40:2-5, 90:14-18,
                                                                       100:5-19, 102:14-17, 107:21-108:2, 108:5-7, 90:21-91:2, 91:5-6,
                          13:13-18, 31:14-20, 31:25-32:1, 34:7-14,     108:9-19, 108:23, 109:1-6)                     91:8-15, 91:18,
                          34:21-35:7, 37:15-38:6, 38:9, 38:11-15,      I (13:13-18, 34:7-14, 38:9, 99:17-21, 99:24-   102:18-24, 110:14-
                          38:18-21, 38:24-39:1, 85:24-86:2, 92:7-9,    100:2, 100:5-19, 102:14-17, 107:21-108:2,      15, 110:18-20, 110:22-
                          92:12-15, 92:17-23, 93:1-3, 97:14-18, 97:21- 108:5-7, 108:9-19, 108:23, 109:1-6, 207:12- 23, 116:24-117:2,
                          98:6, 99:17-21, 99:24-100:2, 100:5-19,       13, 207:16-19, 287:11, 308:15-20)              117:6-12, 207:21-24,
                          102:14-17, 107:21-108:2, 108:5-7, 108:9-19, H (37:15-38:6, 38:9, 38:11-15, 97:14-18,        208:5-7, 208:11-13,
                          108:23, 109:1-6, 207:12-13, 207:16-19,       97:21-98:6, 99:17-21, 99:24-100:2, 100:5-19, 208:15-24, 289:8-10,
                          287:7-8, 287:11, 302:12-23, 302:25, 308:15- 102:14-17, 107:21-108:2, 108:5-7, 108:9-19, 289:13-17, 290:1,
29:21-30:6   FRE 403      20                                           108:23, 109:1-6)                               308:14-20
                      Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24             Page 78 of 227
                                                           PageID #: 11863


                                                                      R, O, P (13:13-18, 37:15-38:6, 38:9, 38:11-15,
                                                                      97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2,
                                                                      100:5-19, 102:14-17, 107:21-108:2, 108:5-7,
                                                                      108:9-19, 108:23, 109:1-6, 287:11)
                                                                      F (13:13-18, 37:15-38:6, 38:9, 38:11-15,       13:19-14:10, 34:15-
                                                                      97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2, 20, 40:2-5, 90:14-18,
                                                                      100:5-19, 102:14-17, 107:21-108:2, 108:5-7, 90:21-91:2, 91:5-6,
                         13:13-18, 31:14-20, 31:25-32:1, 34:7-14,     108:9-19, 108:23, 109:1-6)                     91:8-15, 91:18,
                         34:21-35:7, 37:15-38:6, 38:9, 38:11-15,      I (13:13-18, 34:7-14, 38:9, 99:17-21, 99:24-   102:18-24, 110:14-
                         38:18-21, 38:24-39:1, 85:24-86:2, 92:7-9,    100:2, 100:5-19, 102:14-17, 107:21-108:2,      15, 110:18-20, 110:22-
                         92:12-15, 92:17-23, 93:1-3, 97:14-18, 97:21- 108:5-7, 108:9-19, 108:23, 109:1-6, 207:12- 23, 116:24-117:2,
                         98:6, 99:17-21, 99:24-100:2, 100:5-19,       13, 207:16-19, 287:11, 308:15-20)              117:6-12, 207:21-24,
                         102:14-17, 107:21-108:2, 108:5-7, 108:9-19, H (37:15-38:6, 38:9, 38:11-15, 97:14-18,        208:5-7, 208:11-13,
                         108:23, 109:1-6, 207:12-13, 207:16-19,       97:21-98:6, 99:17-21, 99:24-100:2, 100:5-19, 208:15-24, 289:8-10,
                         287:7-8, 287:11, 302:12-23, 302:25, 308:15- 102:14-17, 107:21-108:2, 108:5-7, 108:9-19, 289:13-17, 290:1,
30:11-31:12 FRE 403      20                                           108:23, 109:1-6)                               308:14-20

                                                                      R, O, P (13:13-18, 37:15-38:6, 38:9, 38:11-15,
                                                                      97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2,
                                                                      100:5-19, 102:14-17, 107:21-108:2, 108:5-7,
                                                                      108:9-19, 108:23, 109:1-6, 287:11)
                                                                      F (13:13-18, 37:15-38:6, 38:9, 38:11-15,       13:19-14:10, 34:15-
                                                                      97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2, 20, 40:2-5, 90:14-18,
                                                                      100:5-19, 102:14-17, 107:21-108:2, 108:5-7, 90:21-91:2, 91:5-6,
                         13:13-18, 31:14-20, 31:25-32:1, 34:7-14,     108:9-19, 108:23, 109:1-6)                     91:8-15, 91:18,
                         34:21-35:7, 37:15-38:6, 38:9, 38:11-15,      I (13:13-18, 34:7-14, 38:9, 99:17-21, 99:24-   102:18-24, 110:14-
                         38:18-21, 38:24-39:1, 85:24-86:2, 92:7-9,    100:2, 100:5-19, 102:14-17, 107:21-108:2,      15, 110:18-20, 110:22-
                         92:12-15, 92:17-23, 93:1-3, 97:14-18, 97:21- 108:5-7, 108:9-19, 108:23, 109:1-6, 207:12- 23, 116:24-117:2,
                         98:6, 99:17-21, 99:24-100:2, 100:5-19,       13, 207:16-19, 287:11, 308:15-20)              117:6-12, 207:21-24,
                         102:14-17, 107:21-108:2, 108:5-7, 108:9-19, H (37:15-38:6, 38:9, 38:11-15, 97:14-18,        208:5-7, 208:11-13,
                         108:23, 109:1-6, 207:12-13, 207:16-19,       97:21-98:6, 99:17-21, 99:24-100:2, 100:5-19, 208:15-24, 289:8-10,
                         287:7-8, 287:11, 302:12-23, 302:25, 308:15- 102:14-17, 107:21-108:2, 108:5-7, 108:9-19, 289:13-17, 290:1,
37:2-14     FRE 403      20                                           108:23, 109:1-6)                               308:14-20
                       Case 2:23-cv-00059-JRG-RSP              Document 215-6 Filed 10/04/24              Page 79 of 227
                                                               PageID #: 11864

                                                                          R, O, P (13:13-18)
                                                                          F (13:13-18, 44:2-6, 44:17-24)
                                                                          I (13:13-18, 41:2-7, 41:14-16, 44:2-6, 44:17-
                            13:13-18, 41:2-7, 41:14-16, 44:2-6, 44:17-24, 24)                                             13:19-14:10, 41:23-
44:13-16                    54:11-21, 72:14-17                            H (44:2-6, 44:17-24)                            42:9, 44:25-45:7
                                                                          R, O, P (13:13-18)
                                                                          F (13:13-18, 44:2-6, 44:17-24)
                                                                          I (13:13-18, 41:2-7, 41:14-16, 44:2-6, 44:17-
                            13:13-18, 41:2-7, 41:14-16, 44:2-6, 44:17-24, 24)                                             13:19-14:10, 41:23-
48:24-49:21                 54:11-21, 72:14-17                            H (44:2-6, 44:17-24)                            42:9, 44:25-45:7
                                                                         R, O, P (13:13-18)
                                                                         F (13:13-18, 44:2-6, 44:17-24)
                                                                         I (13:13-18, 41:2-7, 41:14-16, 44:2-6, 44:17-
                           13:13-18, 41:2-7, 41:14-16, 44:2-6, 44:17-24, 24)                                              13:19-14:10, 41:23-
64:16-20      FRE 402, 403 54:11-21, 72:14-17                            H (44:2-6, 44:17-24)                             42:9, 44:25-45:7
                                                                          R, O, P (13:13-18)
                                                                          F (13:13-18, 44:2-6, 44:17-24)
                                                                          I (13:13-18, 41:2-7, 41:14-16, 44:2-6, 44:17-
                            13:13-18, 41:2-7, 41:14-16, 44:2-6, 44:17-24, 24)                                             13:19-14:10, 41:23-
65:4-8                      54:11-21, 72:14-17                            H (44:2-6, 44:17-24)                            42:9, 44:25-45:7
                                                                          R, O, P (13:13-18)
                                                                          F (13:13-18, 44:2-6, 44:17-24)
                                                                          I (13:13-18, 41:2-7, 41:14-16, 44:2-6, 44:17-
                            13:13-18, 41:2-7, 41:14-16, 44:2-6, 44:17-24, 24)                                             13:19-14:10, 41:23-
65:17-66:19                 54:11-21, 72:14-17                            H (44:2-6, 44:17-24)                            42:9, 44:25-45:7
                                                                          R, O, P (13:13-18)
                                                                          F (13:13-18, 44:2-6, 44:17-24)
                                                                          I (13:13-18, 41:2-7, 41:14-16, 44:2-6, 44:17-
                            13:13-18, 41:2-7, 41:14-16, 44:2-6, 44:17-24, 24)                                             13:19-14:10, 41:23-
67:6-21                     54:11-21, 72:14-17                            H (44:2-6, 44:17-24)                            42:9, 44:25-45:7
                       Case 2:23-cv-00059-JRG-RSP              Document 215-6 Filed 10/04/24              Page 80 of 227
                                                               PageID #: 11865

                                                                          R, O, P (13:13-18)
                                                                          F (13:13-18, 44:2-6, 44:17-24)
                                                                          I (13:13-18, 41:2-7, 41:14-16, 44:2-6, 44:17-
                            13:13-18, 41:2-7, 41:14-16, 44:2-6, 44:17-24, 24)                                             13:19-14:10, 41:23-
72:18-73:17                 54:11-21, 72:14-17                            H (44:2-6, 44:17-24)                            42:9, 44:25-45:7


                                                                         I (85:24-86:2, 99:17-21, 99:24-100:2, 100:5- 90:14-18, 90:21-91:2,
                                                                         19, 102:14-17, 107:21-108:2, 108:5-7, 108:9- 91:5-6, 91:8-15,
                                                                         19, 108:23, 109:1-6, 207:12-13, 207:16-19,      91:18, 102:18-24,
                            31:14-20, 31:25-32:1, 85:24-86:2, 92:7-9,    287:11, 308:15-20)                              110:14-15, 110:18-
                            92:12-15, 92:17-23, 93:1-3, 97:14-18, 97:21- F, H (97:14-18, 97:21-98:6, 99:17-21, 99:24- 20, 110:22-23, 116:24-
                            98:6, 99:17-21, 99:24-100:2, 100:5-19,       100:2, 100:5-19, 102:14-17, 107:21-108:2,       117:2, 117:6-12,
                            102:14-17, 107:21-108:2, 108:5-7, 108:9-19, 108:5-7, 108:9-19, 108:23, 109:1-6)              207:21-24, 208:5-7,
                            108:23, 109:1-6, 207:12-13, 207:16-19,       R, O, P (97:14-18, 97:21-98:6, 99:17-21, 99:24- 208:11-13, 208:15-
                            287:7-8, 287:11, 302:12-23, 302:25, 308:15- 100:2, 100:5-19, 102:14-17, 107:21-108:2,        24, 289:8-10, 289:13-
98:7-99:15    FRE 403; Atty 20                                           108:5-7, 108:9-19, 108:23, 109:1-6, 287:11) 17, 290:1, 308:14-20
110:14-       FRE 402,      266:1-2, 266:6-7, 278:7-279:3, 279:7-8,
111:6         403; Atty     279:10-11                                    R, O, P (266:1-2, 266:6-7)                      266:16-268:10
                            266:1-2, 266:6-7, 278:7-279:3, 279:7-8,
111:22-24     FRE 402, 403 279:10-11                                     R, O, P (266:1-2, 266:6-7)                      266:16-268:10
                     Case 2:23-cv-00059-JRG-RSP             Document 215-6 Filed 10/04/24             Page 81 of 227
                                                            PageID #: 11866


                                                                       R, O, P (13:13-18, 37:15-38:6, 38:9, 38:11-15,
                                                                       97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2,
                                                                       100:5-19, 102:14-17, 107:21-108:2, 108:5-7,
                                                                       108:9-19, 108:23, 109:1-6, 287:11)
                                                                       F (13:13-18, 37:15-38:6, 38:9, 38:11-15,       13:19-14:10, 34:15-
                                                                       97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2, 20, 40:2-5, 90:14-18,
                                                                       100:5-19, 102:14-17, 107:21-108:2, 108:5-7, 90:21-91:2, 91:5-6,
                          13:13-18, 31:14-20, 31:25-32:1, 34:7-14,     108:9-19, 108:23, 109:1-6)                     91:8-15, 91:18,
                          34:21-35:7, 37:15-38:6, 38:9, 38:11-15,      I (13:13-18, 34:7-14, 38:9, 99:17-21, 99:24-   102:18-24, 110:14-
                          38:18-21, 38:24-39:1, 85:24-86:2, 92:7-9,    100:2, 100:5-19, 102:14-17, 107:21-108:2,      15, 110:18-20, 110:22-
                          92:12-15, 92:17-23, 93:1-3, 97:14-18, 97:21- 108:5-7, 108:9-19, 108:23, 109:1-6, 207:12- 23, 116:24-117:2,
                          98:6, 99:17-21, 99:24-100:2, 100:5-19,       13, 207:16-19, 287:11, 308:15-20)              117:6-12, 207:21-24,
                          102:14-17, 107:21-108:2, 108:5-7, 108:9-19, H (37:15-38:6, 38:9, 38:11-15, 97:14-18,        208:5-7, 208:11-13,
                          108:23, 109:1-6, 116:2-4, 116:7-9, 207:12-   97:21-98:6, 99:17-21, 99:24-100:2, 100:5-19, 208:15-24, 289:8-10,
            FRE 402,      13, 207:16-19, 287:7-8, 287:11, 302:12-23, 102:14-17, 107:21-108:2, 108:5-7, 108:9-19, 289:13-17, 290:1,
116:11-16   403, 602      302:25, 308:15-20                            108:23, 109:1-6)                               308:14-20
127:20-     FRE 106,      121:17-20, 121:25-126-23, 147:17-22,         R, SCOPE (121:25-126:3)                        126:24-127:6, 149:18-
128:12      402, 403      147:25-148:9, 149:10-12, 149:14-16           I (121:25-126:3, 149:10-12, 149:14-16)         20
134:16-     FRE 106,      121:17-20, 121:25-126-23, 132:15-24, 133:6-
135:7       403; Atty     11, 135:8-9, 135:11-13                       R, SCOPE, I (121:25-126:3)                     126:24-127:6
148:13-                   147:17-22, 147:25-148:9, 149:10-12, 149:14-
149:8       FRE 403; Atty 16                                           I (149:10-12, 149:14-16)                       149:18-20
                       Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24            Page 82 of 227
                                                             PageID #: 11867



                                                                       R, O, P (13:13-18, 37:15-38:6, 38:9, 38:11-15,
                                                                       97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2,
                                                                       100:5-19, 102:14-17, 107:21-108:2, 108:5-7,
                                                                       108:9-19, 108:23, 109:1-6, 175:5-23, 176:1-4)
                                                                       F (13:13-18, 37:15-38:6, 38:9, 38:11-15,
                                                                       97:14-18, 97:21-98:6, 99:17-21, 99:24-100:2,
                                                                       100:5-19, 102:14-17, 107:21-108:2, 108:5-7,
                                                                       108:9-19, 108:23, 109:1-6)                     13:19-14:10, 34:15-
                          13:13-18, 31:14-20, 31:25-32:1, 34:7-14,     I (13:13-18, 34:7-14, 38:9, 99:17-21, 99:24-   20, 40:2-5, 90:14-18,
                          34:21-35:7, 37:15-38:6, 38:9, 38:11-15,      100:2, 100:5-19, 102:14-17, 107:21-108:2,      90:21-91:2, 91:5-6,
                          38:18-21, 38:24-39:1, 85:24-86:2, 92:7-9,    108:5-7, 108:9-19, 108:23, 109:1-6, 175:5-23, 91:8-15, 91:18,
                          92:12-15, 92:17-23, 93:1-3, 97:14-18, 97:21- 176:1-4)                                       102:18-24, 110:14-
                          98:6, 99:17-21, 99:24-100:2, 100:5-19,       H (37:15-38:6, 38:9, 38:11-15, 97:14-18,       15, 110:18-20, 110:22-
                          102:14-17, 107:21-108:2, 108:5-7, 108:9-19, 97:21-98:6, 99:17-21, 99:24-100:2, 100:5-19, 23, 116:24-117:2,
            FRE 106,      108:23, 109:1-6, 154:11-25, 156:8-12,        102:14-17, 107:21-108:2, 108:5-7, 108:9-19, 117:6-12, 176:15-17,
172:2-174:2 402, 403      174:25-175:3, 175:5-23, 176:1-4              108:23, 109:1-6)                               20-21
                          185:6-13, 186:2-5, 189:21-190:12, 191:6-24,                                                 189:7-10, 190:17-25,
193:1-6                   197:8-14, 201:13-202:2                       I (189:21-190:12)                              191:3-4
                          185:6-13, 186:2-5, 189:21-190:12, 191:6-24,                                                 189:7-10, 190:17-25,
193:7-17    FRE 403, 602 197:8-14, 201:13-202:2                        I (189:21-190:12)                              191:3-4
                          185:6-13, 186:2-5, 189:21-190:12, 191:6-24,                                                 189:7-10, 190:17-25,
193:20-25   FRE 403; Atty 197:8-14, 201:13-202:2                       I (189:21-190:12)                              191:3-4
194:17-                   185:6-13, 186:2-5, 189:21-190:12, 191:6-24,                                                 189:7-10, 190:17-25,
195:24      FRE 402, 403 197:8-14, 201:13-202:2                        I (189:21-190:12)                              191:3-4
                          185:6-13, 186:2-5, 189:21-190:12, 191:6-24,                                                 189:7-10, 190:17-25,
197:2-7                   197:8-14, 201:13-202:2                       I (189:21-190:12)                              191:3-4
199:15-                   185:6-13, 186:2-5, 189:21-190:12, 191:6-24,                                                 189:7-10, 190:17-25,
200:4       FRE 403       197:8-14, 201:13-202:2                       I (189:21-190:12)                              191:3-4
                          185:6-13, 186:2-5, 189:21-190:12, 191:6-24,                                                 189:7-10, 190:17-25,
202:6-15    FRE 106, 403 197:8-14, 201:13-202:2                        I (189:21-190:12)                              191:3-4

236:5-237:3 FRE 106, 403 237:5-18
                   Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 83 of 227
                                                        PageID #: 11868

267:15-
268:10    FRE 106, 403 265:9-16, 266:1-2, 266:6-7, 268:11-269:8   R, O, P (266:1-2, 266:6-7, 268:11-269:8)   266:16-268:10
                          Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24            Page 84 of 227
                                                             PageID #: 11869


                                         Testifying Witness: Cohen, Evan
 Touchstream                                                                                           Touchstream's
     Initial       Comcast's                                                                             Counter-
 Designations      Objections         Comcast Counter Designations         Touchstream's Objections      Counters
7:1-9
12:18-23

15:22-17:12     FRE 106            12:24-13:6, 13:13-21, 15:4-13

17:19-18:6      FRE 106            12:24-13:6, 13:13-21, 15:4-13
18:7-18:18      FRE 106            18:19-21, 19:5-11                      R (19:5-11)
19:12-20:9      FRE 106            18:19-21, 19:5-11                      R (19:5-11)
                                   18:19-21, 19:5-11, 26:13-14, 31:5-8,   R (19:5-11)
21:19-22:13     FRE 106            31:10-12                               I (31:5-8, 31:10-12)        22:14-23
22:14-23:23     FRE 106, 402, 403  26:13-14, 31:5-8, 31:10-12             I (31:5-8, 31:10-12)        22:14-23
24:7-25:5       FRE 106, 402, 403  26:13-14
25:8-26:10      FRE 106            26:13-14, 31:5-8, 31:10-12             I (31:5-8, 31:10-12)        22:14-23
29:10-30:6      FRE 106            26:13-14
30:7-31:4       FRE 106            26:13-14, 31:5-8, 31:10-12             I (31:5-8, 31:10-12)        22:14-23
32:13-34:20     FRE 106            26:13-14, 85:4-6, 85:7-12
                FRE 106, 402, 403;
34:1-36:23      Atty               26:13-14, 85:4-6, 85:7-12
36:5-16         FRE 106            31:5-8, 31:10-12                       I (31:5-8, 31:10-12)        22:14-23
37:13-18        FRE 106
40:15-22        FRE 106
                                   18:19-21, 19:5-11, 26:13-14, 31:5-8,
                                   31:10-12, 44:23-45:13, 84:17, 84:19-   R (19:5-11)
43:1-24         FRE 106            85:3                                   I (31:5-8, 31:10-12)        22:14-23
                                   18:19-21, 19:5-11, 26:13-14, 31:5-8,
                                   31:10-12, 44:23-45:13, 84:17, 84:19-   R (19:5-11)
44:10-22        FRE 106            85:3                                   I (31:5-8, 31:10-12)        22:14-23
                       Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24       Page 85 of 227
                                                          PageID #: 11870

                                18:19-21, 19:5-11, 26:13-14, 31:5-8,
             FRE 106, 402, 403, 31:10-12, 44:23-45:13, 84:17, 84:19-   R (19:5-11)
47:1-50:6    611; Atty          85:3                                   I (31:5-8, 31:10-12)   22:14-23
                                18:19-21, 19:5-11, 26:13-14, 31:5-8,
                                31:10-12, 44:23-45:13, 84:17, 84:19-   R (19:5-11)
47:1-48:19   FRE 106            85:3                                   I (31:5-8, 31:10-12)   22:14-23
                                18:19-21, 19:5-11, 26:13-14, 31:5-8,
                                31:10-12, 44:23-45:13, 84:17, 84:19-   R (19:5-11)
50:10-20     FRE 106            85:3                                   I (31:5-8, 31:10-12)   22:14-23
                                                                       R (19:5-11)
51:3-16      FRE 106            26:13-14, 53:8-17, 85:4-6, 85:7-12     I (31:5-8, 31:10-12)   22:14-23
                                                                       R (19:5-11)
55:17-56:1   FRE 106            26:13-14, 53:8-17, 85:4-6, 85:7-12     I (31:5-8, 31:10-12)   22:14-23
                                                                       R (19:5-11)
56:2-9       FRE 106            26:13-14, 53:8-17, 85:4-6, 85:7-12     I (31:5-8, 31:10-12)   22:14-23
                                                                       R (19:5-11)
57:9-58:6    FRE 106            26:13-14, 53:8-17, 85:4-6, 85:7-12     I (31:5-8, 31:10-12)   22:14-23

59:19-60:8   FRE 106            62:24-63:1, 63:3-5                     I (62:24-63:1)         61:14-21; 62:7-22
84:4-14      FRE 106
                    Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 86 of 227
                                                         PageID #: 11871


                                              Testifying Witness: Cohen, Jamie
Touchstream's
    Initial     Comcast's                                                                                 Touchstream's Counter-
 Designations   Objections     Comcast's Counter-Designations          Touchstream's Objections                 Counters
               FRCP 32; FRE
               106, 402,    208:24-209:3, 218:11-25, 225:8-11,
               403, 802;    229:24-230:18, 231:16-19, 237:23-
  144:1-146:25 Atty         238:13, 365:3-21
                            208:24-209:3, 212:15-20, 214:8-9,
                            215:5-12, 218:11-25, 221:6-17,
                            221:23-222:2, 222:9-25, 225:8-11,
                            229:24-230:18, 231:16-19, 234:11-
                            15, 234:23-235:4, 235:6-7, 235:22-  F (221:6-17, 221:23-222:2)
               FRCP 32; FRE 236:2, 239:23-240:2, 240:23-241:16, I (221:6-17, 221:23-222:2, 243:6-13)
               106, 402,    241:22-242:3, 243:6-13, 248:23-     P (229:24-229:18, 231:16-19)
  232:8-232:21 403, 802     249:6, 365:3-21                     R, O, P, SM, IM (241:22-242:3)         222:3-8, 243:14-16
                            208:24-209:3, 212:15-20, 214:8-9,
                            215:5-12, 218:11-25, 221:6-17,      F (221:6-17, 221:23-222:2, 364:23-
                            221:23-222:2, 222:9-25, 225:8-11,   365:21)
                            229:24-230:18, 231:16-19, 234:11- I (221:6-17, 221:23-222:2, 243:6-13)
                            15, 234:23-235:4, 235:6-7, 235:22-  P (229:24-229:18, 231:16-19, 241:22-
               FRCP 32; FRE 236:2, 239:23-240:2, 240:23-241:16, 242:3, 364:23-365:21)
               106, 402,    241:22-242:3, 243:6-13, 248:23-     R, O, SM, IM (241:22-242:3)
 232:22-232:25 403, 802     249:6, 364:23-365:21                DUP (364:23-365:21)                    222:3-8, 243:14-16
                            208:24-209:3, 212:15-20, 214:8-9,
                            215:5-12, 218:11-25, 221:6-17,
                            221:23-222:2, 222:9-25, 225:8-11,
                            229:24-230:18, 231:16-19, 234:11-
                            15, 234:23-235:4, 235:6-7, 235:22-  F (221:6-17, 221:23-222:2)
               FRCP 32; FRE 236:2, 239:23-240:2, 240:23-241:16, I (221:6-17, 221:23-222:2, 243:6-13)
               106, 402,    241:22-242:3, 243:6-13, 248:23-     P (229:24-229:18, 231:16-19)
  233:2-233:25 403, 802     249:6, 365:3-21                     R, O, P, SM, IM (241:22-242:3)         222:3-8, 243:14-16
                   Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24           Page 87 of 227
                                                        PageID #: 11872


                           208:24-209:3, 212:15-20, 214:8-9,
                           215:5-12, 218:11-25, 221:6-17,
                           221:23-222:2, 222:9-25, 225:8-11,
                           229:24-230:18, 231:16-19, 234:11-
                           15, 234:23-235:4, 235:6-7, 235:22-  F (221:6-17, 221:23-222:2)
              FRCP 32; FRE 236:2, 239:23-240:2, 240:23-241:16, I (221:6-17, 221:23-222:2, 243:6-13)
              106, 402,    241:22-242:3, 243:6-13, 248:23-     P (229:24-229:18, 231:16-19)
234:18-234:22 403, 802     249:6, 365:3-21                     R, O, P, SM, IM (241:22-242:3)         222:3-8, 243:14-16
                           208:24-209:3, 212:15-20, 214:8-9,
                           215:5-12, 218:11-25, 221:6-17,
                           221:23-222:2, 222:9-25, 225:8-11,
                           229:24-230:18, 231:16-19, 234:11-
                           15, 234:23-235:4, 235:6-7, 235:22-  F (221:6-17, 221:23-222:2)
              FRCP 32; FRE 236:2, 239:23-240:2, 240:23-241:16, I (221:6-17, 221:23-222:2, 243:6-13)
              106, 402,    241:22-242:3, 243:6-13, 248:23-     P (229:24-229:18, 231:16-19)
 235:8-235:21 403, 802     249:6, 365:3-21                     R, O, P, SM, IM (241:22-242:3)         222:3-8, 243:14-16

                           208:24-209:3, 212:15-20, 214:8-9,
                           215:5-12, 218:11-25, 221:6-17,
                           221:23-222:2, 222:9-25, 225:8-11,
                           229:24-230:18, 231:16-19, 234:11- F (221:6-17, 221:23-222:2)
                           15, 234:23-235:4, 235:6-7, 235:22-  I (221:6-17, 221:23-222:2, 243:6-13)
                           236:2, 239:10-14, 239:23-240:2,     P (229:24-229:18, 231:16-19)
              FRCP 32; FRE 240:23-241:16, 241:22-242:3, 243:6- R, O, P (241:22-242:3)
              106, 402,    13, 244:24-245:19, 248:23-249:6,    SM (241:22-242:3, 244:24-245:19)
 238:24-239:4 403, 802     365:3-21                            IM (241:22-242:3, 244:24-244:25)       222:3-8, 243:14-16
                   Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24            Page 88 of 227
                                                       PageID #: 11873


                           208:24-209:3, 212:15-20, 214:8-9,
                           215:5-12, 218:11-25, 221:6-17,
                           221:23-222:2, 222:9-25, 225:8-11,
                           229:24-230:18, 231:16-19, 234:11- F (221:6-17, 221:23-222:2)
                           15, 234:23-235:4, 235:6-7, 235:22-  I (221:6-17, 221:23-222:2, 243:6-13)
                           236:2, 239:10-14, 239:23-240:2,     P (229:24-229:18, 231:16-19)
              FRCP 32; FRE 240:23-241:16, 241:22-242:3, 243:6- R, O, P (241:22-242:3)
              106, 402,    13, 244:24-245:19, 248:23-249:6,    SM (241:22-242:3, 244:24-245:19)
  239:7-239:9 403, 802     365:3-21                            IM (241:22-242:3, 244:24-244:25)       222:3-8, 243:14-16
                           208:24-209:3, 212:15-20, 214:8-9,
                           215:5-12, 218:11-25, 225:8-11,
                           229:24-230:18, 231:16-19, 234:11- P (229:24-229:18, 231:16-19)
                           15, 234:23-235:4, 235:6-7, 235:22-  I (243:6-13)
                           236:2, 239:10-14, 239:23-240:2,     R, O, P (241:22-242:3)
              FRCP 32; FRE 240:23-241:16, 241:22-242:3, 243:6- SM (241:22-242:3, 245:2-19)
              106, 402,    13, 244:24-25, 245:2-19, 248:23-    IM (241:22-242:3, 244:24-25, 245:2-19)
 240:3-240:10 403, 802     249:6, 290:10-14, 365:3-21          F (290:10-14)                          243:14-16
                           208:24-209:3, 212:15-20, 214:8-9,
                           215:5-12, 218:11-25, 225:8-11,
                           229:24-230:18, 231:16-19, 234:11- P (229:24-229:18, 231:16-19)
                           15, 234:23-235:4, 235:6-7, 235:22-  I (243:6-13)
              FRCP 32; FRE 236:2, 239:10-14, 239:23-240:2,     R, O, P (241:22-242:3)
              106, 402,    240:23-241:16, 241:22-242:3, 243:6- SM (241:22-242:3, 245:2-19)
              403, 802;    13, 244:24-25, 245:2-19, 248:23-    IM (241:22-242:3, 244:24-25, 245:2-19)
240:11-240:22 Atty         249:6, 290:10-14, 365:3-21          F (290:10-14)                          243:14-16
                           208:24-209:3, 212:15-20, 214:8-9,
                           215:5-12, 218:11-25, 225:8-11,
                           229:24-230:18, 231:16-19, 234:11- P (229:24-229:18, 231:16-19)
                           15, 234:23-235:4, 235:6-7, 235:22-  I (243:6-13)
              FRCP 32; FRE 236:2, 239:10-14, 239:23-240:2,     R, O, P (241:22-242:3)
              106, 402,    240:23-241:16, 241:22-242:3, 243:6- SM (241:22-242:3, 245:2-19)
              403, 802;    13, 244:24-25, 245:2-19, 248:23-    IM (241:22-242:3, 244:24-25, 245:2-19)
 242:4-242:13 Atty         249:6, 290:10-14, 365:3-21          F (290:10-14)                          243:14-16
                   Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24           Page 89 of 227
                                                        PageID #: 11874


                           208:24-209:3, 212:15-20, 214:8-9,
                           215:5-12, 218:11-25, 225:8-11,
                           229:24-230:18, 231:16-19, 234:11- P (229:24-229:18, 231:16-19)
                           15, 234:23-235:4, 235:6-7, 235:22-  I (243:6-13)
                           236:2, 239:10-14, 239:23-240:2,     R, O, P (241:22-242:3)
              FRCP 32; FRE 240:23-241:16, 241:22-242:3, 243:6- SM (241:22-242:3, 245:2-19)
              106, 402,    13, 244:24-25, 245:2-19, 248:23-    IM (241:22-242:3, 244:24-25, 245:2-19)
 244:9-244:17 403, 802     249:6, 290:10-14, 365:3-21          F (290:10-14)                          243:14-16



                           208:24-209:3, 218:11-25, 225:8-11, P (229:24-229:18, 231:16-19)
                           229:24-230:18, 231:16-19, 234:2-15, I (243:6-13)
                           234:23-235:4, 235:6-7-7, 235:22-      R, O, P (241:22-242:3)
                           236:2, 239:23-240:2, 240:23-241:16, SM (241:22-242:3, 245:2-19)
              FRCP 32; FRE 241:22-242:3, 243:6-13, 244:24-25, IM (241:22-242:3, 244:24-25, 245:2-19)
              106, 402,    245:2-19, 246:4-7, 247:10-17, 248:23- F (290:10-14, 335:2-6)
 246:8-246:23 403, 802     249:6, 290:10-14, 335:2-6, 365:3-21 DUP (335:2-6)                         243:14-16


                           208:24-209:3, 212:15-20, 214:8-9,
                           215:5-12, 218:11-25, 225:8-11,        P (229:24-229:18, 231:16-19, 364:23-
                           229:24-230:18, 231:16-19, 234:2-15, 365:21)
                           234:23-235:4, 235:6-7-7, 235:22-      I (243:6-13)
                           236:2, 239:23-240:2, 240:23-241:16, R, O, P (241:22-242:3)
              FRCP 32; FRE 241:22-242:3, 243:6-13, 244:24-25, SM (241:22-242:3, 245:2-19)
              106, 402,    245:2-19, 246:4-7, 247:10-17, 248:23- IM (241:22-242:3, 244:24-25, 245:2-19)
              403, 802;    249:6, 290:10-14, 335:2-6, 364:23-    F (290:10-14, 335:2-6, 364:23-365:21)
 246:24-247:7 Atty         365:21                                DUP (335:2-6, 364:23-365:21)           243:14-16

              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,
              106, 402,    251:5-11, 260:13-15, 260:25-261:14,
250:10-250:25 403, 802     364:23-365:21                       P, F, DUP (364:23-365:21)
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 90 of 227
                                                       PageID #: 11875


              FRCP 32; FRE
              106, 402,    208:24-209:3, 251:5-11, 260:13-15,
  251:2-251:4 403, 802     260:25-261:14, 364:23-365:21         P, F, DUP (364:23-365:21)

              FRCP 32; FRE
              106, 402,    208:24-209:3, 251:5-11, 260:13-15,
251:14-251:22 403, 802     260:25-261:14, 364:23-365:21         P, F, DUP (364:23-365:21)

              FRCP 32; FRE
              106, 402,    208:24-209:3, 251:5-11, 260:13-15,
251:25-251:25 403, 802     260:25-261:14, 364:23-365:21         P, F, DUP (364:23-365:21)

              FRCP 32; FRE
              106, 402,    208:24-209:3, 251:5-11, 260:13-15,
 252:2-252:24 403, 802     260:25-261:14, 365:3-21
                           208:24-209:3, 212:15-20, 214:8-9,
              FRCP 32; FRE 215:5-12, 218:11-25, 251:5-11,       F (290:10-14, 335:2-6, 364:23-365:21)
              106, 402,    260:13-15, 260:25-261:14, 290:10-    DUP (335:2-6, 364:23-365:21)
253:11-253:25 403, 802     14, 335:2-6, 364:23-25, 365:3-21     P (364:23-365:21)
                           208:24-209:3, 212:15-20, 214:8-9,
              FRCP 32; FRE 215:5-12, 218:11-25, 251:5-11,       F (290:10-14, 335:2-6, 364:23-365:21)
              106, 402,    260:13-15, 260:25-261:14, 290:10-    DUP (335:2-6, 364:23-365:21)
 254:2-254:25 403, 802     14, 335:2-6, 364:23-25, 365:3-21     P (364:23-365:21)

              FRCP 32; FRE
              106, 402,    208:24-209:3, 218:11-25, 251:5-11,
 255:2-255:17 403, 802     260:13-15, 260:25-261:14, 365:3-21

              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,
              106, 402,    251:5-11, 260:13-15, 260:25-261:14,
 256:2-256:25 403, 802     364:23-365:21                       P, F, DUP (364:23-365:21)
                   Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24       Page 91 of 227
                                                       PageID #: 11876


              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,
              106, 402,    251:5-11, 260:13-15, 260:25-261:14,
 257:2-257:25 403, 802     364:23-365:21                       P, F, DUP (364:23-365:21)

              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,
              106, 402,    251:5-11, 260:13-15, 260:25-261:14,
 258:2-258:25 403, 802     364:23-365:21                       P, F, DUP (364:23-365:21)

              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,
              106, 402,    251:5-11, 260:13-15, 260:25-261:14,
 259:2-259:25 403, 802     364:23-365:21                       P, F, DUP (364:23-365:21)

              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,
              106, 402,    251:5-11, 260:13-15, 260:25-261:14,
  259:7-259:7 403, 802     364:23-365:21                       P, F, DUP (364:23-365:21)

              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,
              106, 402,    251:5-11, 260:13-15, 260:25-261:14,
 260:2-260:12 403, 802     364:23-365:21                       P, F, DUP (364:23-365:21)

              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,
              106, 402,    251:5-11, 260:13-15, 260:25-261:14,
261:15-261:25 403, 802     364:23-365:21                       P, F, DUP (364:23-365:21)

              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,
              106, 402,    251:5-11, 260:13-15, 260:25-261:14,
  262:2-262:2 403, 802     364:23-365:21                       P, F, DUP (364:23-365:21)

              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,
              106, 402,    251:5-11, 260:13-15, 260:25-261:14,
 262:7-262:22 403, 802     364:23-365:21                       P, F, DUP (364:23-365:21)
                   Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24             Page 92 of 227
                                                       PageID #: 11877



                                                                 SM (246:7-10, 265:8-266:22)
                                                                 R, O (265:8-266:22)
              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,    P (265:8-266:22, 269:18-24, 364:23-
              106, 402,    264:7-10, 265:8-266:22, 268:15-       365:21)
263:13-263:25 403, 802     269:5, 269:18-24, 364:23-365:21       F, DUP (364:23-365:21)


                                                                 SM (246:7-10, 265:8-266:22)
                                                                 R, O (265:8-266:22)
              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,    P (265:8-266:22, 269:18-24, 364:23-
              106, 402,    264:7-10, 265:8-266:22, 268:15-       365:21)
  264:2-264:6 403, 802     269:5, 269:18-24, 364:23-365:21       F, DUP (364:23-365:21)


                                                                 SM (246:7-10, 265:8-266:22)
                                                                 R, O (265:8-266:22)
              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,    P (265:8-266:22, 269:18-24, 364:23-
              106, 402,    264:7-10, 265:8-266:22, 268:15-       365:21)
264:11-264:21 403, 802     269:5, 269:18-24, 364:23-365:21       F, DUP (364:23-365:21)


                                                                 SM (246:7-10, 265:8-266:22)
                                                                 R, O (265:8-266:22)
              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,    P (265:8-266:22, 269:18-24, 364:23-
              106, 402,    264:7-10, 265:8-266:22, 268:15-       365:21)
  265:2-265:7 403, 802     269:5, 269:18-24, 364:23-365:21       F, DUP (364:23-365:21)



                           208:24-209:3, 218:11-25, 225:8-11,    SM (246:7-10, 265:8-266:22)
              FRCP 32; FRE 264:7-10, 265:8-266:22, 268:15-       R, O (265:8-266:22)
              106, 402,    269:5, 269:18-24, 290:10-14, 365:3-   P (265:8-266:22, 269:18-24)
267:10-267:16 403, 802     21                                    F (290:10-14)
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 93 of 227
                                                       PageID #: 11878



                                                                SM (246:7-10, 265:8-266:22)
                                                                R, O (265:8-266:22)
              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,   P (265:8-266:22, 269:18-24, 364:23-
              106, 402,    264:7-10, 265:8-266:22, 268:15-      365:21)
270:17-270:25 403, 802     269:5, 269:18-24, 364:23-365:21      F, DUP (364:23-365:21)


                                                                SM (246:7-10, 265:8-266:22)
                                                                R, O (265:8-266:22)
              FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11,   P (265:8-266:22, 269:18-24, 364:23-
              106, 402,    264:7-10, 265:8-266:22, 268:15-      365:21)
  271:2-271:3 403, 802     269:5, 269:18-24, 364:23-365:21      F, DUP (364:23-365:21)


                                                                SM (246:7-10, 265:8-266:22)
                           208:24-209:3, 218:11-25, 225:8-11,   R, O (265:8-266:22)
              FRCP 32; FRE 264:7-10, 265:8-266:22, 268:15-      P (265:8-266:22, 269:18-24, 364:23-
              106, 402,    269:5, 271:13-272:19, 364:23-        365:21)
  273:9-274:9 403, 802     365:21                               F, DUP (364:23-365:21)




                                                                 SM (246:7-10, 265:8-266:22, 271:13-
                                                                 19)
                                                                 P (265:8-266:22, 271:13-19, 364:16-
                           208:24-209:3, 212:15-20, 214:8-9,     365:21)
              FRCP 32; FRE 215:5-12, 218:11-25, 225:8-11, 264:7- R (265:8-266:22, 271:13-19)
              106, 402,    10, 265:8-266:22, 268:15-269:5,       O (265:8-266:2)
              403, 602,    271:13-272:19, 276:21-25, 290:10- F (290:10-14, 335:2-6, 364:16-365:21)
 276:9-276:20 802          14, 335:2-6, 364:16-365:21            DUP (335:2-6, 364:16-365:21)
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 94 of 227
                                                       PageID #: 11879


                                                                SM (246:7-10, 265:8-266:22, 271:13-
                                                                19)
                                                                P (265:8-266:22, 271:13-19, 364:23-
                                                                365:21)
                           208:24-209:3, 218:11-25, 225:8-11,   R (265:8-266:22, 271:13-19)
              FRCP 32; FRE 264:7-10, 265:8-266:22, 268:15-      O (265:8-266:2)
              106, 402,    269:5, 271:13-272:19, 277:11-14,     F (290:10-14, 364:23-365:21)
 277:2-277:10 403, 802     290:10-14, 364:23-365:21             DUP (364:23-365:21)
                                                                SM (246:7-10, 265:8-266:22, 271:13-
                                                                19)
                                                                P (265:8-266:22, 271:13-19, 364:23-
                                                                365:21)
                           208:24-209:3, 218:11-25, 225:8-11,   R (265:8-266:22, 271:13-19)
              FRCP 32; FRE 264:7-10, 265:8-266:22, 268:15-      O (265:8-266:2)
              106, 402,    269:5, 271:13-272:19, 277:11-14,     F (290:10-14, 364:23-365:21)
277:15-277:24 403, 802     290:10-14, 364:23-365:21             DUP (364:23-365:21)
                                                                F (221:6-17, 221:23-222:2, 290:10-14,
                                                                364:23-365:21)
                           208:24-209:3, 218:11-25, 225:8-11,   I (221:6-17, 221:23-222:2)
              FRCP 32; FRE 221:6-17, 221:23-222:2, 222:9-25,    P (282:6-10, 364:23-365:21)
              106, 402,    282:6-10, 282:15-18, 290:10-14,      SM (282:6-10)
279:25-279:25 403, 802     364:23-365:21                        DUP (364:23-365:21)                     222:3-8
                                                                F (221:6-17, 221:23-222:2, 290:10-14,
                                                                364:23-365:21)
                           208:24-209:3, 218:11-25, 221:6-17,   I (221:6-17, 221:23-222:2)
              FRCP 32; FRE 221:23-222:2, 222:9-25, 225:8-11,    P (282:6-10, 364:23-365:21)
              106, 402,    282:6-10, 282:15-18, 290:10-14,      SM (282:6-10)
  280:2-280:3 403, 802     364:23-365:21                        DUP (364:23-365:21)                     222:3-8
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 95 of 227
                                                       PageID #: 11880

                                                                F (221:6-17, 221:23-222:2, 290:10-14,
                                                                364:23-365:21)
                           208:24-209:3, 218:11-25, 221:6-17,   I (221:6-17, 221:23-222:2)
              FRCP 32; FRE 221:23-222:2, 222:9-25, 225:8-11,    P (282:6-10, 364:23-365:21)
              106, 402,    282:6-10, 282:15-18, 290:10-14,      SM (282:6-10)
 280:5-280:24 403, 802     364:23-365:21                        DUP (364:23-365:21)                     222:3-8
                                                                F (221:6-17, 221:23-222:2, 290:10-14,
                                                                364:23-365:21)
                           208:24-209:3, 218:11-25, 221:6-17,   I (221:6-17, 221:23-222:2)
              FRCP 32; FRE 221:23-222:2, 222:9-25, 225:8-11,    P (282:6-10, 364:23-365:21)
              106, 402,    282:6-10, 282:15-18, 290:10-14,      SM (282:6-10)
281:18-281:23 403, 802     364:23-365:21                        DUP (364:23-365:21)                     222:3-8
                                                                F (221:6-17, 221:23-222:2, 290:10-14,
                                                                364:23-365:21)
                                                                I (221:6-17, 221:23-222:2)
                           208:24-209:3, 218:11-25, 221:6-17,   P (282:6-10, 286:22-25, 287:3-15,
                           221:23-222:2, 222:9-25, 225:8-11,    364:23-365:21)
              FRCP 32; FRE 282:6-10, 282:15-18, 284:2-11,       SM (282:6-10, 284:2-11, 286:22-25)
              106, 402,    284:19-285:3, 286:22-25, 287:3-15,   R, O (287:3-15)
282:25-282:25 403, 802     290:10-14, 364:23-365:21             DUP (364:23-365:21)                     222:3-8
                                                                F (221:6-17, 221:23-222:2, 290:10-14,
                                                                364:23-365:21)
                                                                I (221:6-17, 221:23-222:2)
                           208:24-209:3, 218:11-25, 221:6-17,   P (282:6-10, 286:22-25, 287:3-15,
                           221:23-222:2, 222:9-25, 225:8-11,    364:23-365:21)
              FRCP 32; FRE 282:6-10, 282:15-18, 284:2-11,       SM (282:6-10, 284:2-11, 286:22-25)
              106, 402,    284:19-285:3, 286:22-25, 287:3-15,   R, O (287:3-15)
 283:2-283:25 403, 802     290:10-14, 364:23-365:21             DUP (364:23-365:21)                     222:3-8
                   Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24               Page 96 of 227
                                                         PageID #: 11881


                                                                 F (221:6-17, 221:23-222:2, 290:10-14,
                                                                 364:23-365:21)
                                                                 I (221:6-17, 221:23-222:2)
                           208:24-209:3, 212:15-20, 214:8-9,     P (282:6-10, 286:22-25, 287:3-15,
                           215:5-12, 218:11-25, 222:9-25, 225:8- 364:23-365:21)
              FRCP 32; FRE 11, 294:10-13, 298:11-22, 299:18-     SM (282:6-10, 284:2-11, 286:22-25)
              106, 402,    300:3, 304:9-20, 316:6-317:9, 319:6- R, O (287:3-15)
 291:6-291:25 403, 802     9, 364:23-365:21                      DUP (364:23-365:21)                       222:3-8
                           208:24-209:3, 212:15-20, 214:8-9,     P (294:10-13, 298:11-22, 304:9-20,
                           215:5-12, 218:11-25, 222:9-25, 225:8- 316:7-317:9, 319:6-9, 364:23-365:21)
              FRCP 32; FRE 11, 294:10-13, 299:18-300:3, 304:9- R (304:9-20, 316:7-317:9, 319:6-9)
              106, 402,    20, 316:6-317:9, 319:6-9, 364:23-     F (319:6-9, 364:23-365:21)
  292:2-292:7 403, 802     365:21                                DUP (364:23-365:21)
                                                                 F (290:10-14, 319:6-9, 335:2-6, 364:16-
                           208:24-209:3, 212:15-20, 214:8-9,     365:21)
                           215:5-12, 218:11-25, 222:9-25, 225:8- P (294:10-13, 304:9-20, 316:6-317:9,
              FRCP 32; FRE 11, 290:10-14, 294:10-13, 299:18-     319:6-9, 364:16-365:21)
              106, 402,    300:3, 304:9-20, 316:6-317:9, 319:6- R (304:9-20, 316:6-317:9, 319:6-9)
 297:5-297:20 403, 802     9, 335:2-6, 364:16-365:21             DUP (335:2-6, 364:16-365:21)
                                                                  P (316:6-317:9, 319:6-9, 364:23-
                                                                  365:21)
              FRCP 32; FRE 208:24-209:3, 218:11-25, 222:9-25,     R (316:6-317:9, 319:6-9)
              106, 402,    225:8-11, 316:6-317:9, 319:6-9,        F (319:6-9, 364:23-365:21)
300:23-300:25 403, 802     364:23-365:21                          DUP (364:23-365:21)
                                                               F (221:6-17, 221:23-222:2, 319:6-9,
                                                               364:23-365:21)
                                                               I (221:6-17, 221:23-222:2)
                                                               P (316:6-317:9, 319:6-9, 364:23-
              FRCP 32; FRE 208:24-209:3, 218:11-25, 221:6-17, 365:21)
              106, 402,    221:23-222:2, 222:9-25, 225:8-11,   R (316:6-317:9, 319:6-9)
 301:2-301:12 403, 802     316:6-317:9, 319:6-9, 364:23-365:21 DUP (364:23-365:21)                         222:3-8
                   Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24            Page 97 of 227
                                                         PageID #: 11882


                                                                 F (221:6-17, 221:23-222:2, 319:6-9,
                                                                 335:2-6, 364:16-25, 365:2-21)
                           208:24-209:3, 218:11-25, 221:6-17, I (221:6-17, 221:23-222:2)
                           221:23-222:2, 222:9-25, 225:8-11, P (316:6-317:9, 319:6-9, 364:16-25,
              FRCP 32; FRE 290:10-14, 303:24-25, 304:2-6, 304:9- 365:2-21)
              106, 402,    20, 316:6-317:9, 319:6-9, 335:2-6,    R (316:6-317:9, 319:6-9)
301:19-301:24 403, 802     364:16-25, 365:2-21                   DUP (335:2-6, 364:16-25, 365:2-21)        222:3-8
                                                                 F (290:10-14, 319:6-9, 335:2-6, 364:16-
                           208:24-209:3, 218:11-25, 222:9-25,    25, 365:2-21)
                           225:8-11, 290:10-14, 303:2-12,        P (316:6-317:9, 319:6-9, 364:16-25,
              FRCP 32; FRE 303:17-304:6, 304:9-20, 316:6-        365:2-21)
              106, 402,    317:9, 319:6-9, 335:2-6, 364:16-25,   R (316:6-317:9, 319:6-9)
 302:9-302:25 403, 802     365:2-21                              DUP (335:2-6, 364:16-25, 365:2-21)


                                                                 F (290:10-14, 319:6-9, 335:2-6, 364:16-
                                                                 25, 365:2-21)
                           208:24-209:3, 218:11-25, 222:9-25,    P (303:17-304:6, 316:6-317:9, 319:6-9,
              FRCP 32; FRE 225:8-11, 290:10-14, 303:17-304:6,    364:16-25, 365:2-21)
              106, 402,    304:9-20, 316:6-317:9, 319:6-9,       R (303:17-304:6, 316:6-317:9, 319:6-9)
 305:9-305:25 403, 802     335:2-6, 364:16-25, 365:2-21          DUP (335:2-6, 364:16-25, 365:2-21)


                                                                 F (290:10-14, 319:6-9, 335:2-6, 364:16-
                                                                 25, 365:2-21)
                           208:24-209:3, 218:11-25, 222:9-25,    P (303:17-304:6, 316:6-317:9, 319:6-9,
              FRCP 32; FRE 225:8-11, 290:10-14, 303:17-304:6,    364:16-25, 365:2-21)
              106, 402,    304:9-20, 316:6-317:9, 319:6-9,       R (303:17-304:6, 316:6-317:9, 319:6-9)
  306:2-306:2 403, 802     335:2-6, 364:16-25, 365:2-21          DUP (335:2-6, 364:16-25, 365:2-21)
                   Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24           Page 98 of 227
                                                       PageID #: 11883


                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                                                               364:16-25, 365:2-21)
                           208:24-209:3, 218:11-25, 225:8-11, R, O (331:21-332:8, 332:17-21, 334:5-
              FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
              106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
 327:6-327:12 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)

                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                                                               364:16-25, 365:2-21)
                           208:24-209:3, 218:11-25, 225:8-11, R, O (331:21-332:8, 332:17-21, 334:5-
              FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
              106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
329:18-329:25 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)


                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                                                               364:16-25, 365:2-21)
                           208:24-209:3, 218:11-25, 225:8-11, R, O (331:21-332:8, 332:17-21, 334:5-
              FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
              106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
  330:2-330:7 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24           Page 99 of 227
                                                      PageID #: 11884


                                                              F (290:10-14, 331:21-332:8, 332:17-21,
                                                              334:5-11, 335:2-6, 364:16-25, 365:2-
                                                              21)
                                                              IM (330:8-330:23)
                                                              P (331:21-332:8, 332:17-21, 334:5-11,
                                                              364:16-25, 365:2-21)
             FRCP 32; FRE 208:24-209:3, 218:11-25, 225:8-11, R, O (331:21-332:8, 332:17-21, 334:5-
             106, 402,    290:10-14, 327:25-328:19, 330:8-23, 11)
             403, 602,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
331:2-331:20 802          335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)


                                                              F (290:10-14, 331:21-332:8, 332:17-21,
                                                              334:5-11, 335:2-6, 364:16-25, 365:2-
                                                              21)
                                                              IM (330:8-330:23)
                                                              P (331:21-332:8, 332:17-21, 334:5-11,
                                                              364:16-25, 365:2-21)
                          208:24-209:3, 218:11-25, 225:8-11, R, O (331:21-332:8, 332:17-21, 334:5-
             FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
             106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
332:9-332:16 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)




                                                              SM (246:7-10, 265:8-266:22)
                                                              R, O (265:8-266:22)
                                                              P (265:8-266:22, 269:18-24, 364:16-
                          208:24-209:3, 218:11-25, 225:8-11, 25, 365:2-21)
             FRCP 32; FRE 264:7-10, 265:8-266:22, 268:15-     F (290:10-14, 335:2-6, 364:16-25,
             106, 402,    269:5, 269:18-24, 290:10-14, 335:2- 365:2-21)
340:9-340:11 403, 802     6, 364:16-25, 365:2-21              DUP (335:2-6, 364:16-25, 365:2-21)
                  Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24           Page 100 of 227
                                                       PageID #: 11885




                                                               SM (246:7-10, 265:8-266:22)
                                                               R, O (265:8-266:22)
                                                               P (265:8-266:22, 269:18-24, 364:16-
                           208:24-209:3, 218:11-25, 225:8-11, 25, 365:2-21)
              FRCP 32; FRE 264:7-10, 265:8-266:22, 268:15-     F (290:10-14, 335:2-6, 364:16-25,
              106, 402,    269:5, 269:18-24, 290:10-14, 335:2- 365:2-21)
340:16-340:25 403, 802     6, 364:16-25, 365:2-21              DUP (335:2-6, 364:16-25, 365:2-21)




                                                               SM (246:7-10, 265:8-266:22)
                                                               R, O (265:8-266:22)
                                                               P (265:8-266:22, 269:18-24, 364:16-
                           208:24-209:3, 218:11-25, 225:8-11, 25, 365:2-21)
              FRCP 32; FRE 264:7-10, 265:8-266:22, 268:15-     F (290:10-14, 335:2-6, 364:16-25,
              106, 402,    269:5, 269:18-24, 290:10-14, 335:2- 365:2-21)
 341:2-341:17 403, 802     6, 364:16-25, 365:2-21              DUP (335:2-6, 364:16-25, 365:2-21)




                                                               SM (246:7-10, 265:8-266:22)
                                                               R, O (265:8-266:22)
                                                               P (265:8-266:22, 269:18-24, 364:16-
                           208:24-209:3, 218:11-25, 225:8-11, 25, 365:2-21)
              FRCP 32; FRE 264:7-10, 265:8-266:22, 268:15-     F (290:10-14, 335:2-6, 364:16-25,
              106, 402,    269:5, 269:18-24, 290:10-14, 335:2- 365:2-21)
341:19-341:25 403, 802     6, 364:16-25, 365:2-21              DUP (335:2-6, 364:16-25, 365:2-21)
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24           Page 101 of 227
                                                        PageID #: 11886




                                                               SM (246:7-10, 265:8-266:22)
                                                               R, O (265:8-266:22)
                                                               P (265:8-266:22, 269:18-24, 364:16-
                           208:24-209:3, 218:11-25, 225:8-11, 25, 365:2-21)
              FRCP 32; FRE 264:7-10, 265:8-266:22, 268:15-     F (290:10-14, 335:2-6, 364:16-25,
              106, 402,    269:5, 269:18-24, 290:10-14, 335:2- 365:2-21)
 342:2-342:20 403, 802     6, 364:16-25, 365:2-21              DUP (335:2-6, 364:16-25, 365:2-21)


                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                                                               364:16-25, 365:2-21)
                           208:24-209:3, 218:11-25, 225:8-11, R, O (331:21-332:8, 332:17-21, 334:5-
              FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
              106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
343:23-343:25 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)


                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                                                               364:16-25, 365:2-21)
                           208:24-209:3, 218:11-25, 225:8-11, R, O (331:21-332:8, 332:17-21, 334:5-
              FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
              106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
 344:2-344:16 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24           Page 102 of 227
                                                        PageID #: 11887



                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,   364:16-25, 365:2-21)
                           215:5-12, 218:11-25, 225:8-11,      R, O (331:21-332:8, 332:17-21, 334:5-
              FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
              106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
344:23-344:25 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)


                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,   364:16-25, 365:2-21)
                           215:5-12, 218:11-25, 225:8-11,      R, O (331:21-332:8, 332:17-21, 334:5-
              FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
              106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
 345:5-345:13 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)


                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,   364:16-25, 365:2-21)
                           215:5-12, 218:11-25, 225:8-11,      R, O (331:21-332:8, 332:17-21, 334:5-
              FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
              106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
345:15-345:17 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24           Page 103 of 227
                                                        PageID #: 11888



                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,   364:16-25, 365:2-21)
                           215:5-12, 218:11-25, 225:8-11,      R, O (331:21-332:8, 332:17-21, 334:5-
              FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
              106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
345:19-345:25 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)


                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,   364:16-25, 365:2-21)
                           215:5-12, 218:11-25, 225:8-11,      R, O (331:21-332:8, 332:17-21, 334:5-
              FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
              106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
 346:2-346:10 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)


                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,   364:16-25, 365:2-21)
                           215:5-12, 218:11-25, 225:8-11,      R, O (331:21-332:8, 332:17-21, 334:5-
              FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
              106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
346:12-346:25 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24           Page 104 of 227
                                                        PageID #: 11889



                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,   364:16-25, 365:2-21)
                           215:5-12, 218:11-25, 225:8-11,      R, O (331:21-332:8, 332:17-21, 334:5-
              FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
              106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
  347:3-347:7 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)


                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,   364:16-25, 365:2-21)
                           215:5-12, 218:11-25, 225:8-11,      R, O (331:21-332:8, 332:17-21, 334:5-
              FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
              106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
 347:9-347:22 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)


                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,   364:16-25, 365:2-21)
                           215:5-12, 218:11-25, 225:8-11,      R, O (331:21-332:8, 332:17-21, 334:5-
              FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
              106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
347:25-347:25 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 105 of 227
                                                       PageID #: 11890



                                                              F (290:10-14, 331:21-332:8, 332:17-21,
                                                              334:5-11, 335:2-6, 364:16-25, 365:2-
                                                              21)
                                                              IM (330:8-330:23)
                                                              P (331:21-332:8, 332:17-21, 334:5-11,
                          208:24-209:3, 212:15-20, 214:8-9,   364:16-25, 365:2-21)
                          215:5-12, 218:11-25, 225:8-11,      R, O (331:21-332:8, 332:17-21, 334:5-
             FRCP 32; FRE 290:10-14, 327:25-328:19, 330:8-23, 11)
             106, 402,    331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
 348:2-348:6 403, 802     335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)


                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                          208:24-209:3, 212:15-20, 214:8-9,    364:16-25, 365:2-21)
             FRCP 32; FRE 215:5-12, 218:11-25, 290:10-14,      R, O (331:21-332:8, 332:17-21, 334:5-
             106, 402,    327:25-328:19, 330:8-23, 331:21-     11)
             403, 602,    332:8, 332:17-21, 334:5-11, 335:2-6, H (331:21-332:8, 332:17-21)
348:9-348:25 802          364:16-25, 365:2-21                  DUP (335:2-6, 364:16-25, 365:2-21)


                                                              F (290:10-14, 331:21-332:8, 332:17-21,
                                                              334:5-11, 335:2-6, 364:16-25, 365:2-
                                                              21)
                                                              IM (330:8-330:23)
             FRCP 32; FRE                                     P (331:21-332:8, 332:17-21, 334:5-11,
             106, 402,    208:24-209:3, 212:15-20, 214:8-9,   364:16-25, 365:2-21)
             403, 602,    215:5-12, 218:11-25, 225:8-11,      R, O (331:21-332:8, 332:17-21, 334:5-
             611          290:10-14, 327:25-328:19, 330:8-23, 11)
             (leading),   331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
 349:4-349:8 802          335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24           Page 106 of 227
                                                        PageID #: 11891



                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
              FRCP 32; FRE                                     P (331:21-332:8, 332:17-21, 334:5-11,
              106, 402,    208:24-209:3, 212:15-20, 214:8-9,   364:16-25, 365:2-21)
              403, 602,    215:5-12, 218:11-25, 225:8-11,      R, O (331:21-332:8, 332:17-21, 334:5-
              611          290:10-14, 327:25-328:19, 330:8-23, 11)
              (leading),   331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
349:10-349:22 802          335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)


                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 364:16-25, 365:2-
                                                               21)
                                                               IM (330:8-330:23)
              FRCP 32; FRE                                     P (331:21-332:8, 332:17-21, 334:5-11,
              106, 402,    208:24-209:3, 212:15-20, 214:8-9,   364:16-25, 365:2-21)
              403, 602,    215:5-12, 218:11-25, 225:8-11,      R, O (331:21-332:8, 332:17-21, 334:5-
              611          290:10-14, 327:25-328:19, 330:8-23, 11)
              (leading),   331:21-332:8, 332:17-21, 334:5-11, H (331:21-332:8, 332:17-21)
349:24-349:24 802          335:2-6, 364:16-25, 365:2-21        DUP (335:2-6, 364:16-25, 365:2-21)
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 107 of 227
                                                       PageID #: 11892



                                                                F (290:10-14, 331:21-332:8, 332:17-21,
                                                                334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                25, 365:2-21)
                                                                IM (330:8-330:23)
                                                                R, O (331:21-332:8, 332:17-21, 334:5-
                                                                11)
                                                                H (331:21-332:8, 332:17-21)
                                                                P (331:21-332:8, 332:17-21, 334:5-11,
                          208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
             FRCP 32; FRE 215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
             106, 402,    290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
             403, 602,    331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
             611          335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
             (assumes     24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
 350:4-350:6 facts), 802  22, 364:16-25, 365:2-21               365:2-21)
                                                                F (290:10-14, 331:21-332:8, 332:17-21, 360:18-24, 361:12-19
                                                                334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                25, 365:2-21)
                                                                IM (330:8-330:23)
                                                                R, O (331:21-332:8, 332:17-21, 334:5-
                                                                11)
                                                                H (331:21-332:8, 332:17-21)
                          208:24-209:3, 212:15-20, 214:8-9,     P (331:21-332:8, 332:17-21, 334:5-11,
                          215:5-12, 218:11-25, 225:8-11,        360:6-13, 380:18-24, 361:4-363:10,
                          290:10-14, 327:25-328:19, 330:8-23, 363:12-13, 363-16-22, 364:16-25,
             FRCP 32; FRE 331:21-332:8, 332:17-21, 334:5-11, 365:2-21)
             106, 402,    335:2-6, 359:22-24, 360:6-13, 360:18- I (360:6-13, 360:18-24, 361:4-363:10)
             403, 602,    24, 361:4-363:10, 363:12-13, 363:16- V (361:4-363:10, 363:12-13)
350:8-350:13 802          22, 364:16-25, 365:2-21               DUP (335:2-6, 363:16-22, 364:16-25,   360:18-24, 361:12-19
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 108 of 227
                                                        PageID #: 11893



                                                                 F (290:10-14, 331:21-332:8, 332:17-21,
                                                                 334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                 25, 365:2-21)
                                                                 IM (330:8-330:23)
                                                                 R, O (331:21-332:8, 332:17-21, 334:5-
                                                                 11)
                                                                 H (331:21-332:8, 332:17-21)
                                                                 P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
                           215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
                           290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
              FRCP 32; FRE 331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
              106, 402,    335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
              403, 602,    24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
350:15-350:18 802          22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19


                                                                 F (290:10-14, 331:21-332:8, 332:17-21,
                                                                 334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                 25, 365:2-21)
                                                                 IM (330:8-330:23)
                                                                 R, O (331:21-332:8, 332:17-21, 334:5-
                                                                 11)
                                                                 H (331:21-332:8, 332:17-21)
                                                                 P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
                           215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
                           290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
              FRCP 32; FRE 331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
              106, 402,    335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
              403, 602,    24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
350:21-350:23 802          22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 109 of 227
                                                        PageID #: 11894



                                                                 F (290:10-14, 331:21-332:8, 332:17-21,
                                                                 334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                 25, 365:2-21)
                                                                 IM (330:8-330:23)
                                                                 R, O (331:21-332:8, 332:17-21, 334:5-
                                                                 11)
                                                                 H (331:21-332:8, 332:17-21)
                                                                 P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
                           215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
                           290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
              FRCP 32; FRE 331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
              106, 402,    335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
              403, 602,    24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
350:25-350:25 802          22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19


                                                                 F (290:10-14, 331:21-332:8, 332:17-21,
                                                                 334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                 25, 365:2-21)
                                                                 IM (330:8-330:23)
                                                                 R, O (331:21-332:8, 332:17-21, 334:5-
                                                                 11)
                                                                 H (331:21-332:8, 332:17-21)
                                                                 P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
                           215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
                           290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
              FRCP 32; FRE 331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
              106, 402,    335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
              403, 602,    24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
 351:2-351:21 802          22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 110 of 227
                                                        PageID #: 11895



                                                                 F (290:10-14, 331:21-332:8, 332:17-21,
                                                                 334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                 25, 365:2-21)
                                                                 IM (330:8-330:23)
                                                                 R, O (331:21-332:8, 332:17-21, 334:5-
                                                                 11)
                                                                 H (331:21-332:8, 332:17-21)
                                                                 P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
                           215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
                           290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
              FRCP 32; FRE 331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
              106, 402,    335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
              403, 602,    24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
351:23-351:25 802          22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19


                                                                 F (290:10-14, 331:21-332:8, 332:17-21,
                                                                 334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                 25, 365:2-21)
                                                                 IM (330:8-330:23)
                                                                 R, O (331:21-332:8, 332:17-21, 334:5-
                                                                 11)
                                                                 H (331:21-332:8, 332:17-21)
                                                                 P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
              FRCP 32; FRE 215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
              106, 402,    290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
              403, 602,    331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
              611          335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
              (assumes     24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
  352:2-352:6 facts), 802  22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 111 of 227
                                                        PageID #: 11896



                                                                 F (290:10-14, 331:21-332:8, 332:17-21,
                                                                 334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                 25, 365:2-21)
                                                                 IM (330:8-330:23)
                                                                 R, O (331:21-332:8, 332:17-21, 334:5-
                                                                 11)
                                                                 H (331:21-332:8, 332:17-21)
                                                                 P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
                           215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
                           290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
              FRCP 32; FRE 331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
              106, 402,    335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
              403, 602,    24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
352:11-352:24 802          22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19


                                                                 F (290:10-14, 331:21-332:8, 332:17-21,
                                                                 334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                 25, 365:2-21)
                                                                 IM (330:8-330:23)
                                                                 R, O (331:21-332:8, 332:17-21, 334:5-
                                                                 11)
                                                                 H (331:21-332:8, 332:17-21)
                                                                 P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
                           215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
                           290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
              FRCP 32; FRE 331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
              106, 402,    335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
              403, 602,    24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
 353:2-353:18 802          22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 112 of 227
                                                        PageID #: 11897



                                                                 F (290:10-14, 331:21-332:8, 332:17-21,
                                                                 334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                 25, 365:2-21)
                                                                 IM (330:8-330:23)
                                                                 R, O (331:21-332:8, 332:17-21, 334:5-
                                                                 11)
                                                                 H (331:21-332:8, 332:17-21)
                                                                 P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
                           215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
                           290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
              FRCP 32; FRE 331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
              106, 402,    335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
              403, 602,    24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
353:21-353:24 802          22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19


                                                                 F (290:10-14, 331:21-332:8, 332:17-21,
                                                                 334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                 25, 365:2-21)
                                                                 IM (330:8-330:23)
                                                                 R, O (331:21-332:8, 332:17-21, 334:5-
                                                                 11)
                                                                 H (331:21-332:8, 332:17-21)
                                                                 P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
                           215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
                           290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
              FRCP 32; FRE 331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
              106, 402,    335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
              403, 602,    24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
  354:2-354:7 802          22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 113 of 227
                                                       PageID #: 11898



                                                                F (290:10-14, 331:21-332:8, 332:17-21,
                                                                334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                25, 365:2-21)
                                                                IM (330:8-330:23)
                                                                R, O (331:21-332:8, 332:17-21, 334:5-
                                                                11)
                                                                H (331:21-332:8, 332:17-21)
                                                                P (331:21-332:8, 332:17-21, 334:5-11,
                          208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
                          215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
                          290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
             FRCP 32; FRE 331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
             106, 402,    335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
             403, 602,    24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
354:9-354:25 802          22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19


                                                                F (290:10-14, 331:21-332:8, 332:17-21,
                                                                334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                25, 365:2-21)
                                                                IM (330:8-330:23)
                                                                R, O (331:21-332:8, 332:17-21, 334:5-
                                                                11)
                                                                H (331:21-332:8, 332:17-21)
                                                                P (331:21-332:8, 332:17-21, 334:5-11,
                          208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
                          215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
                          290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
             FRCP 32; FRE 331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
             106, 402,    335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
             403, 602,    24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
 355:2-355:2 802          22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 114 of 227
                                                        PageID #: 11899



                                                                 F (290:10-14, 331:21-332:8, 332:17-21,
                                                                 334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                 25, 365:2-21)
                                                                 IM (330:8-330:23)
                                                                 R, O (331:21-332:8, 332:17-21, 334:5-
                                                                 11)
                                                                 H (331:21-332:8, 332:17-21)
                                                                 P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
                           215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
                           290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
              FRCP 32; FRE 331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
              106, 402,    335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
              403, 602,    24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
 355:4-355:14 802          22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19


                                                                 F (290:10-14, 331:21-332:8, 332:17-21,
                                                                 334:5-11, 335:2-6, 363:16-22, 364:16-
                                                                 25, 365:2-21)
                                                                 IM (330:8-330:23)
                                                                 R, O (331:21-332:8, 332:17-21, 334:5-
                                                                 11)
                                                                 H (331:21-332:8, 332:17-21)
                                                                 P (331:21-332:8, 332:17-21, 334:5-11,
                           208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
              FRCP 32; FRE 215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
              106, 402,    290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
              403, 602,    331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
              611          335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
              (leading),   24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
355:20-355:25 802          22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 115 of 227
                                                      PageID #: 11900



                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 363:16-22, 364:16-
                                                               25, 365:2-21)
                                                               IM (330:8-330:23)
                                                               R, O (331:21-332:8, 332:17-21, 334:5-
                                                               11)
                                                               H (331:21-332:8, 332:17-21)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                         208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
            FRCP 32; FRE 215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
            106, 402,    290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
            403, 602,    331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
            611          335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
            (leading),   24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
356:2-356:3 802          22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19


                                                               F (290:10-14, 331:21-332:8, 332:17-21,
                                                               334:5-11, 335:2-6, 363:16-22, 364:16-
                                                               25, 365:2-21)
                                                               IM (330:8-330:23)
                                                               R, O (331:21-332:8, 332:17-21, 334:5-
                                                               11)
                                                               H (331:21-332:8, 332:17-21)
                                                               P (331:21-332:8, 332:17-21, 334:5-11,
                         208:24-209:3, 212:15-20, 214:8-9,     360:6-13, 380:18-24, 361:4-363:10,
            FRCP 32; FRE 215:5-12, 218:11-25, 225:8-11,        363:12-13, 363-16-22, 364:16-25,
            106, 402,    290:10-14, 327:25-328:19, 330:8-23, 365:2-21)
            403, 602,    331:21-332:8, 332:17-21, 334:5-11, I (360:6-13, 360:18-24, 361:4-363:10)
            611          335:2-6, 359:22-24, 360:6-13, 360:18- V (361:4-363:10, 363:12-13)
            (leading),   24, 361:4-363:10, 363:12-13, 363:16- DUP (335:2-6, 363:16-22, 364:16-25,
356:6-356:6 802          22, 364:16-25, 365:2-21               365:2-21)                              360:18-24, 361:12-19
                     Case 2:23-cv-00059-JRG-RSP             Document 215-6 Filed 10/04/24               Page 116 of 227
                                                             PageID #: 11901


                                               Testifying Witness: Kramer, Seth
   Touchstream's      Comcast's       Comcast's Counter                                                          Touchstream's Counter
 initial Designation Objections          Designations                     Touchstream's Objections                     Counters
9:5-9:7
9:15-10:16
11:3-16
13:9-18              FRE106     14:10-12, 15:14-17
                                                                 F, H (18:18-19:11, 29:4-15, 80:12-81:6,
                   FRE 106,                                      81:13-20, 82:3, 82:5-9)
                   402, 403,   18:18-19:11, 21:13-22:3, 29:4-    IM (18:18-19:11, 29:4-15)
                   602, 611,   15, 80:12-81:6, 81:13-20, 82:3,   R, O, P, SM, I (80:12-81:6, 81:13-20, 82:3,
23:14-24:5         802         82:5-9                            82:5-9)                                       84:21-86:1
                                                                 F, H (18:18-19:11, 29:4-15, 80:12-81:6,
                                                                 81:13-20, 82:3, 82:5-9)
                   FRE 106,    18:18-19:11, 21:13-21, 29:4-15, IM (18:18-19:11, 29:4-15)
                   402, 403,   80:12-81:6, 81:13-20, 82:3, 82:5- R, O, P, SM, I (80:12-81:6, 81:13-20, 82:3,
25:5-8             602, 802    9                                 82:5-9)                                       84:21-86:1
                                                                 F, H (18:18-19:11, 29:4-15, 80:12-81:6,
                                                                 81:13-20, 82:3, 82:5-9)
                   FRE 106,    18:18-19:11, 21:13-21, 29:4-15, IM (18:18-19:11, 29:4-15)
                   402, 403,   80:12-81:6, 81:13-20, 82:3, 82:5- R, O, P, SM, I (80:12-81:6, 81:13-20, 82:3,
25:11-12           602, 802    9                                 82:5-9)                                       84:21-86:1
                   FRE 106,
                   402, 403,
                   602, 611,   18:18-19:11, 27:2-7, 27:14-18,
26:3-6             802         29:4-15                           F, H, IM (18:18-19:11, 29:4-15)
                   FRE 106,
                   402, 403,   18:18-19:11, 27:2-7, 27:14-18,
26:8-11            602, 802    29:4-15                           F, H, IM (18:18-19:11, 29:4-15)
                   FRE 106,
                   402, 403,
                   602, 611,   18:18-19:11, 27:2-7, 27:14-18,
28:2-5             802         29:4-15                           F, H, IM (18:18-19:11, 29:4-15)
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24             Page 117 of 227
                                                      PageID #: 11902

              FRE 106,
              402, 403,
              602, 611,
28:7-9        802         18:18-19:11, 29:4-15             F, H, IM (18:18-19:11, 29:4-15)
              FRE 402,
              403, 602,
28:10-17      802
              FRE 402,
              403, 602,
28:19-19      802
              FRE 106,
              402, 403,                                    F, H, IM (18:18-19:11, 29:4-15)
30:12-13      802         18:18-19:11, 29:4-15, 33:9-12    NR (33:9-12)
              FRE 106,
              402, 403,                                    F, H, IM (18:18-19:11, 29:4-15)
30:22-31:2    802         18:18-19:11, 29:4-15, 33:9-12    NR (33:9-12)
              FRE 106,
              402, 403,                                    F, H, IM (18:18-19:11, 29:4-15)
32:9-33:5     802         18:18-19:11, 29:4-15, 33:9-12    NR (33:9-12)
                                                          F, H (18:18-19:11, 29:4-15, 80:12-81:6,
                                                          82:20-21, 82:23-83:13)
                          18:18-19:11, 29:4-15, 48:15-19, IM (18:18-19:11, 29:4-15)
              FRE 106,    80:12-20, 82:20-21, 82:23-      R, O, P, SM, I (80:12-81:6, 82:20-21, 82:23-
47:15-18      402, 403    83:13                           83:13)                                       84:21-86:1
                                                          F, H (18:18-19:11, 29:4-15, 80:12-81:6,
                                                          82:20-21, 82:23-83:13)
              FRE 106,    18:18-19:11, 29:4-15, 48:15-19, IM (18:18-19:11, 29:4-15)
              402, 403,   80:12-20, 82:20-21, 82:23-      R, O, P, SM, I (80:12-81:6, 82:20-21, 82:23-
47:21-48:11   602         83:13                           83:13)                                       84:21-86:1
                                                          F, H (18:18-19:11, 29:4-15, 80:12-81:6,
                                                          82:20-21, 82:23-83:13)
              FRE 106,    18:18-19:11, 29:4-15, 48:15-19, IM (18:18-19:11, 29:4-15)
              402, 403,   80:12-20, 82:20-21, 82:23-      R, O, P, SM, I (80:12-81:6, 82:20-21, 82:23-
49:1-5        602         83:13                           83:13)                                       84:21-86:1
               Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24   Page 118 of 227
                                                     PageID #: 11903

                        54:10-17, 54:20-55:7, 58:10-11,
                        58:19-59:2, 60:1-6, 60:13, 62:12-
54:20-55:7   FRE 106    63:4
                        54:10-17, 54:20-55:7, 58:10-11,
                        58:19-59:2, 60:1-6, 60:13, 62:12-
63:9-15      FRE 106    63:7
                        68:8-9, 68:11-17, 70:14-18,
67:22-68:1   FRE 106    70:20-71:2, 71:5-7, 80:6-11       I (68:8-9, 68:11-17)           69:14-70:5
                        68:8-9, 68:11-17, 70:14-18,
68:7-7       FRE 106    70:20-71:2, 71:5-7, 80:6-11       I (68:8-9, 68:11-17)           69:14-70:5
                        70:14-18, 70:20-71:2, 71:5-7,
70:9-10      FRE 106    80:6-11
                        70:14-18, 70:20-71:2, 71:5-7,
70:13-13     FRE 106    80:6-11
             FRE 106,   70:14-18, 70:20-71:2, 71:5-7,
72:21-23     611, 602   80:6-11
             FRE 106,   70:14-18, 70:20-71:2, 71:5-7,
73:5-5       611, 602   80:6-11
             FRE 106,   70:14-18, 70:20-71:2, 71:5-7,
73:17-20     611, 602   80:6-11
             FRE 106,   70:14-18, 70:20-71:2, 71:5-7,
74:5-5       611, 602   80:6-11
                       Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24             Page 119 of 227
                                                             PageID #: 11904


                                                Testifying Witness: Manning, Scott

   Touchstream's        Comcast's                                                                               Touchstream's Counter
Initial Designations    Objections         Comcast's Counter-Designations           Touchstream's Objections          Counters
8:25-9:2
10:1-10:17
11:10-11:14
27:21-28:9           FRE 106         25:22-24, 27:11-20                             R, P (25:22-24, 27:11-20)
28:11-28:12
                     FRE 106, 402,
28:14-29:7           403 (29:5-7)    29:10-13, 29:15-19
                     FRE 106, 402,
30:7-30:9            403             30:4-6
                                     33:12-34:2, 37:22-38:13, 38:24-39:8, 40:16-
34:3-34:19          FRE 106          41:17, 41:18-20, 41:23-42:16
                    FRE 106, 402,    33:12-34:2, 37:22-38:13, 38:24-39:8, 40:16-
35:10-35:18         403; Atty        41:17, 41:18-20, 41:23-42:16
                                     33:12-34:2, 35:20-22, 36:8-10, 37:22-38:13,
                    FRE 106, 402,    38:24-39:8, 40:16-41:17, 41:18-20, 41:23-
36:12-37:2          403; Atty        42:16
                                     33:12-34:2, 37:22-38:13, 38:24-39:8, 40:16-
42:17-43:8          FRE 106          41:17, 41:18-20, 41:23-42:16
                                                                                    R, P, SCOPE (56:18-57:1,
                                     33:12-34:2, 54:12-23, 55:1-16, 56:4-10, 56:18- 94:6-95:12)
50:25-51:4          FRE 106          57:1, 94:6-95:12                               SM, IM (94:6-95:12)
                                                                                    R, P, SCOPE (56:18-57:1,
                                     33:12-34:2, 54:12-23, 55:1-16, 56:4-10, 56:18- 94:6-95:12)
55:17-56:3          FRE 106          57:1, 94:6-95:12                               SM, IM (94:6-95:12)
                                                                                    R, P, SCOPE (56:18-57:1,
                                     33:12-34:2, 54:12-23, 55:1-16, 56:4-10, 56:18- 94:6-95:12)
56:11-56:17         FRE 106          57:1, 94:6-95:12                               SM, IM (94:6-95:12)
               Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24        Page 120 of 227
                                                    PageID #: 11905

                                                                     R, P, SM, F (69:20-70:3,
                                                                     70:10-71:2)
70:4-70:9    FRE 106      69:20-70:3, 70:10-71:2                     H (69:20-70:3)
                                                                     R, P, SM, F (69:20-70:3,
                                                                     70:10-71:2)
71:3-71:13   FRE 106      69:20-70:3, 70:10-71:2                     H (69:20-70:3)
                                                                     SM, F (69:20-70:3, 91:18-
                                                                     22)
                                                                     H (69:20-70:3)
                                                                     R, P (60:20-70:3, 74:23-
                                                                     75:4, 75:20-76:23, 78:11-
                                                                     79:2, 91:18-22)
                          69:20-70:3, 73:10-14, 74:23-75:4, 75:20-   SCOPE (74:23-75:4, 78:11-
72:7-72:13   FRE 106      76:23, 78:11-79:2, 91:18-22                79:2, 91:18-22)
                                                                     SM, F (69:20-70:3, 91:18-
                                                                     22)
                                                                     H (69:20-70:3)
                                                                     R, P (60:20-70:3, 74:23-
                                                                     75:4, 75:20-76:23, 78:11-
                                                                     79:2, 91:18-22)
                          69:20-70:3, 73:10-14, 74:23-75:4, 75:20-   SCOPE (74:23-75:4, 78:11-
73:4-73:9    FRE 106      76:23, 78:11-79:2, 91:18-22                79:2, 91:18-22)
                                                                     SM, F (69:20-70:3, 91:18-
                                                                     22)
                                                                     H (69:20-70:3)
                                                                     R, P (60:20-70:3, 74:23-
                                                                     75:4, 75:20-76:23, 78:11-
                                                                     79:2, 91:18-22)
                          69:20-70:3, 73:10-14, 74:23-75:4, 75:20-   SCOPE (74:23-75:4, 78:11-
73:15-74:1   FRE 106      76:23, 78:11-79:2, 91:18-22                79:2, 91:18-22)
                 Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24             Page 121 of 227
                                                      PageID #: 11906


                                                                             SM, F (69:20-70:3, 91:18-
                                                                             22)
                                                                             H (69:20-70:3)
                                                                             R, P (60:20-70:3, 74:23-
                                                                             75:4, 75:20-76:23, 78:11-
                                                                             79:2, 91:18-22)
                               69:20-70:3, 73:10-14, 74:23-75:4, 75:20-      SCOPE (74:23-75:4, 78:11-
75:12-75:19   FRE 106          76:23, 78:11-79:2, 91:18-22                   79:2, 91:18-22)
                                                                             SM, F (69:20-70:3, 91:18-
                                                                             22)
                                                                             H (69:20-70:3)
                                                                             R, P (60:20-70:3, 74:23-
                                                                             75:4, 75:20-76:23, 78:11-
                                                                             79:2, 91:18-22)
                               69:20-70:3, 73:10-14, 74:23-75:4, 75:20-      SCOPE (74:23-75:4, 78:11-
77:1-77:12    FRE 106          76:23, 78:11-79:2, 91:18-22                   79:2, 91:18-22)
              FRE 106, 402,
79:12-79:22   403, 602; Atty   79:6-7, 79:9-10
81:3-81:10    FRE 106, 602     81:11-13, 81:15-20                            R, P (81:11-13, 81:15-20)
85:25-86:4    FRE 106, 602     81:11-13, 81:15-20                            R, P (81:11-13, 81:15-20)
86:16-86:19   FRE 106, 602     81:11-13, 81:15-20                            R, P (81:11-13, 81:15-20)
                                                                             R, P, SM, SCOPE (94:6-
                               33:12-34:2, 37:22-38:13, 38:24-39:8, 40:16-   95:12, 98:21-99:11)
                               41:17, 41:18-20, 41:23-42:16, 94:6-95:12,     IM (94:6-95:12)
95:17-95:18   FRE 106          98:21-99:11, 100:7-9, 100:12-17               F (98:21-99:11)
                                                                             R, P, SM, SCOPE (94:6-
                               33:12-34:2, 37:22-38:13, 38:24-39:8, 40:16-   95:12, 98:21-99:11)
                               41:17, 41:18-20, 41:23-42:16, 94:6-95:12,     IM (94:6-95:12)
96:5-98:20    FRE 106, 403     98:21-99:11, 100:7-9, 100:12-17               F (98:21-99:11)
                                                                             R, P, SM, SCOPE (94:6-
                               33:12-34:2, 37:22-38:13, 38:24-39:8, 40:16-   95:12, 98:21-99:11)
              FRE 106, 403,    41:17, 41:18-20, 41:23-42:16, 94:6-95:12,     IM (94:6-95:12)
99:12-99:15   602, 611         98:21-99:11, 100:7-9, 100:12-17               F (98:21-99:11)
                  Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24             Page 122 of 227
                                                       PageID #: 11907

                                                                              R, P, SM, SCOPE (94:6-
                                33:12-34:2, 37:22-38:13, 38:24-39:8, 40:16-   95:12, 98:21-99:11)
                FRE 106, 403,   41:17, 41:18-20, 41:23-42:16, 94:6-95:12,     IM (94:6-95:12)
99:18-100:6     602, 611        98:21-99:11, 100:7-9, 100:12-17               F (98:21-99:11)
                                                                              R, P, SM, SCOPE (94:6-
                                33:12-34:2, 37:22-38:13, 38:24-39:8, 40:16-   95:12, 98:21-99:11)
                                41:17, 41:18-20, 41:23-42:16, 94:6-95:12,     IM (94:6-95:12)
100:19-100:22   FRE 106, 403    98:21-99:11, 100:7-9, 100:12-17               F (98:21-99:11)
102:21-103:1    FRE 106, 702    102:20-102:20
                FRE 106, 402,
103:3-103:4     403, 702        102:20-102:20
                      Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24         Page 123 of 227
                                                             PageID #: 11908


                                               Testifying Witness: Pighini, Ernest
   Touchstream's        Comcast's                                                                      Touchstream's Counter-
Initial Designations   Objections     Comcast's Counter Designations   Touchstream's Objections              Counters
11:17-11:22
12:18-13:3
17:3-17:8
20:10-20:13          FRE 106         19:22-20:4
20:20-21:6           FRE 106         19:22-20:4
21:14-21:16          FRE 106         19:22-20:4
21:18-21:21          FRE 106         19:22-20:4
21:22-21:24          FRE 106         19:22-20:4
22:1-22:3            FRE 106         19:22-20:4
22:5-22:7            FRE 106         19:22-20:4
22:9-22:16           FRE 106         19:22-20:4
23:10-23:12          FRE 106         19:22-20:4
23:19-23:23          FRE 106         19:22-20:4
24:17-24:20          FRE 106         19:22-20:4, 24:7-16
25:7-25:9            FRE 106         19:22-20:4
25:18-25:21          FRE 106         19:22-20:4
26:4-26:7            FRE 106         19:22-20:4
26:15-26:18          FRE 106         19:22-20:4
27:13-27:16          FRE 106         19:22-20:4
27:24-28:2           FRE 106         19:22-20:4
28:10-28:13          FRE 106         19:22-20:4
28:22-28:25          FRE 106         19:22-20:4
29:9-29:12           FRE 106         19:22-20:4
29:16-30:6           FRE 106         19:22-20:4, 24:1-20
30:8-30:8            FRE 106         19:22-20:4, 24:1-20
30:23-31:10          FRE 106         19:22-20:4, 30:9-22
31:12-31:12          FRE 106         19:22-20:4, 30:9-22
                     FRE 106, 402,
32:9-32:19           403             19:22-20:4, 31:21-24
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24            Page 124 of 227
                                                      PageID #: 11909

              FRE 106, 402,
33:7-33:10    403             19:22-20:4, 31:21-24
              FRE 106, 402,
33:12-33:12   403             19:22-20:4, 31:21-24
                              19:22-20:4, 24:1-16, 33:13, 33:15,
                              33:21-34:2, 34:10-11, 34:13-16,
                              34:18-19, 35:4-5, 35:7-10, 35:12-
35:25-36:2    FRE 106         15, 35:17-19, 35:21
                              19:22-20:4, 24:1-16, 33:13, 33:15,
                              33:21-34:2, 34:10-11, 34:13-16,
                              34:18-19, 35:4-5, 35:7-10, 35:12- F (35:4-35:5, 35:7-10, 35:12-15,
36:4-36:22    FRE 106         15, 35:17-19, 35:21                35:17-19, 35:21)
                              19:22-20:4, 24:1-16, 33:13, 33:15,
                              33:21-34:2, 34:10-11, 34:13-16,
                              34:18-19, 35:4-5, 35:7-10, 35:12- F (35:4-35:5, 35:7-10, 35:12-15,
36:24-36:24   FRE 106         15, 35:17-19, 35:21                35:17-19, 35:21)
                              19:22-20:4, 24:1-16, 33:13, 33:15,
                              33:21-34:2, 34:10-11, 34:13-16,
                              34:18-19, 35:4-5, 35:7-10, 35:12- F (35:4-35:5, 35:7-10, 35:12-15,
37:3-37:4     FRE 106         15, 35:17-19, 35:21                35:17-19, 35:21)
                              19:22-20:4, 24:1-16, 33:13, 33:15,
                              33:21-34:2, 34:10-11, 34:13-16,
                              34:18-19, 35:4-5, 35:7-10, 35:12- F (35:4-35:5, 35:7-10, 35:12-15,
37:6-37:9     FRE 106         15, 35:17-19, 35:21                35:17-19, 35:21)
                              19:22-20:4, 24:1-16, 33:13, 33:15,
                              33:21-34:2, 34:10-11, 34:13-16,
                              34:18-19, 35:4-5, 35:7-10, 35:12- F (35:4-35:5, 35:7-10, 35:12-15,
37:11-37:13   FRE 106         15, 35:17-19, 35:21                35:17-19, 35:21)
                              19:22-20:4, 24:1-16, 33:13, 33:15,
                              33:21-34:2, 34:10-11, 34:13-16,
                              34:18-19, 35:4-5, 35:7-10, 35:12- F (35:4-35:5, 35:7-10, 35:12-15,
37:15-37:17   FRE 106         15, 35:17-19, 35:21                35:17-19, 35:21)
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24             Page 125 of 227
                                                      PageID #: 11910

                              19:22-20:4, 24:1-16, 33:13, 33:15,
                              33:21-34:2, 34:10-11, 34:13-16,
                              34:18-19, 35:4-5, 35:7-10, 35:12- F (35:4-35:5, 35:7-10, 35:12-15,
37:19-37:22   FRE 106         15, 35:17-19, 35:21                35:17-19, 35:21)
                              19:22-20:4, 24:1-16, 33:13, 33:15,
                              33:21-34:2, 34:10-11, 34:13-16,
                              34:18-19, 35:4-5, 35:7-10, 35:12- F (35:4-35:5, 35:7-10, 35:12-15,
37:24-38:2    FRE 106         15, 35:17-19, 35:21                35:17-19, 35:21)
                              19:22-20:4, 24:1-16, 33:13, 33:15,
                              33:21-34:2, 34:10-11, 34:13-16,
                              34:18-19, 35:4-5, 35:7-10, 35:12- F (35:4-35:5, 35:7-10, 35:12-15,
38:4-38:7     FRE 106         15, 35:17-19, 35:21                35:17-19, 35:21)
                              19:22-20:4, 24:1-16, 33:13, 33:15,
                              33:21-34:2, 34:10-11, 34:13-16,
                              34:18-19, 35:4-5, 35:7-10, 35:12- F (35:4-35:5, 35:7-10, 35:12-15,
38:9-38:9     FRE 106         15, 35:17-19, 35:21                35:17-19, 35:21)
38:12-38:18   FRE 106         19:22-20:4
38:20-38:20   FRE 106         19:22-20:4
              FRE 106, 402,
39:8-39:17    403             19:22-20:4
              FRE 106, 402,
39:25-40:3    403             19:22-20:4
                              19:22-20:4, 33:13, 33:15, 33:21-
                              34:2, 34:10-11, 34:13-16, 34:18-
              FRE 106, 402,   19, 35:4-5, 35:7-10, 35:12-15,     F (35:4-35:5, 35:7-10, 35:12-15,
40:5-40:5     403             35:17-19, 35:21                    35:17-19, 35:21)
                              19:22-20:4, 33:13, 33:15, 33:21-
                              34:2, 34:10-11, 34:13-16, 34:18-
                              19, 35:4-5, 35:7-10, 35:12-15,     F (35:4-35:5, 35:7-10, 35:12-15,
40:6-40:18    FRE 106         35:17-19, 35:21                    35:17-19, 35:21)
                              19:22-20:4, 33:13, 33:15, 33:21-
                              34:2, 34:10-11, 34:13-16, 34:18-
                              19, 35:4-5, 35:7-10, 35:12-15,     F (35:4-35:5, 35:7-10, 35:12-15,
40:20-40:24   FRE 106         35:17-19, 35:21                    35:17-19, 35:21)
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24             Page 126 of 227
                                                      PageID #: 11911

                              19:22-20:4, 33:13, 33:15, 33:21-
                              34:2, 34:10-11, 34:13-16, 34:18-
                              19, 35:4-5, 35:7-10, 35:12-15,     F (35:4-35:5, 35:7-10, 35:12-15,
41:1-41:10    FRE 106         35:17-19, 35:21                    35:17-19, 35:21)
                              19:22-20:4, 33:13, 33:15, 33:21-
                              34:2, 34:10-11, 34:13-16, 34:18-
                              19, 35:4-5, 35:7-10, 35:12-15,     F (35:4-35:5, 35:7-10, 35:12-15,
41:12-41:15   FRE 106         35:17-19, 35:21                    35:17-19, 35:21)
                              19:22-20:4, 33:13, 33:15, 33:21-
                              34:2, 34:10-11, 34:13-16, 34:18-
                              19, 35:4-5, 35:7-10, 35:12-15,     F (35:4-35:5, 35:7-10, 35:12-15,
41:17-41:20   FRE 106         35:17-19, 35:21                    35:17-19, 35:21)
                              19:22-20:4, 33:13, 33:15, 33:21-
                              34:2, 34:10-11, 34:13-16, 34:18-
                              19, 35:4-5, 35:7-10, 35:12-15,     F (35:4-35:5, 35:7-10, 35:12-15,
41:22-42:3    FRE 106         35:17-19, 35:21                    35:17-19, 35:21)
              FRE 106, 402,
42:5-42:14    403             19:22-20:4, 24:1-16
              FRE 106, 402,
42:16-43:2    403             19:22-20:4, 24:1-16
              FRE 106, 402,
43:4-43:4     403             19:22-20:4, 24:1-16
              FRE 106, 402,
43:20-44:7    403             19:22-20:4, 24:1-16, 43:5-8
              FRE 106, 402,
44:9-44:9     403             19:22-20:4, 24:1-16, 43:5-8
44:21-44:22   FRE 106         19:22-20:4
44:24-44:25   FRE 106         19:22-20:4
45:2-45:5     FRE 106         19:22-20:4
45:7-45:9     FRE 106         19:22-20:4
45:11-45:11   FRE 106         19:22-20:4
45:21-46:2    FRE 106         19:22-20:4
46:17-47:1    FRE 106         19:22-20:4, 46:3-16
47:3-47:6     FRE 106         19:22-20:4, 46:3-16
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24   Page 127 of 227
                                                      PageID #: 11912

              FRE 106, 402,
47:4-48:16    403, 602, 611   19:22-20:4, 46:3-16
47:8-47:10    FRE 106         19:22-20:4, 46:3-16
47:12-47:15   FRE 106         19:22-20:4, 46:3-16
              FRE 106, 602,
47:17-47:18   611             19:22-20:4, 46:3-16
              FRE 106, 602,
47:20-47:21   611             19:22-20:4, 46:3-16
              FRE 106, 602,
47:24-47:25   611             19:22-20:4, 46:3-16
48:2-48:4     FRE 106         19:22-20:4, 46:3-16
48:6-48:8     FRE 106         19:22-20:4, 46:3-16
48:10-48:14   FRE 106         19:22-20:4, 46:3-16
48:16-48:16   FRE 106         19:22-20:4, 46:3-16
48:21-48:23
49:21-49:24
50:11-50:13   FRE 106         50:14-15
50:16-50:17   FRE 106         50:14-15
50:20-51:7
51:9-51:11
                              51:13-19, 51:21, 51:24-52:3, 52:11-
52:4-52:10    FRE 106         13
                              51:13-19, 51:21, 51:24-52:3, 52:11-
52:14-53:4    FRE 106         13
              FRE 106, 402,
53:7-53:9     403
              FRE 106, 402,
53:13-53:15   403
              FRE 106, 402,
53:18-53:25   403
              FRE 106, 402,   54:8-55:4, 55:15-19, 55:21-56:3,
55:5-55:14    403             56:25-57:14
              FRE 106, 402,
56:10-56:19   403             56:6-9, 56:25-57:14
                Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24   Page 128 of 227
                                                       PageID #: 11913

              FRE 106, 402,
57:19-57:20   403             56:25-57:14
              FRE 106, 402,
57:22-57:22   403             56:25-57:14
              FRE 106, 402,
61:14-61:24   403             63:6-64:11
              FRE 106, 402,
63:6-63:18    403             61:14-24, 63:19-64:11
              FRE 106, 402,
63:19-64:4    403             61:14-24, 63:6-18, 64:5-11
              FRE 106, 402,
65:17-65:22   403             61:14-24, 63:6-64:11
              FRE 106, 402,
68:2-68:4     403             68:01
              FRE 106, 402,
68:8-68:16    403
              FRE 106, 402,
68:18-69:9    403
              FRE 106, 402,
69:11-69:13   403
              FRE 106, 402,
69:19-69:24   403
              FRE 106, 402,
70:2-70:8     403
              FRE 106, 402,
70:15-71:3    403, 611        71:04
              FRE 106, 402,
71:8-71:16    403
              FRE 106, 402,
72:1-72:6     403             48:21-25, 49:2-11, 49:13-19
              FRE 106, 402,
72:14-73:2    403             48:21-25, 49:2-11, 49:13-19
              FRE 106, 402,
73:4-73:6     403             48:21-25, 49:2-11, 49:13-19
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24          Page 129 of 227
                                                      PageID #: 11914

              FRE 106, 402,
73:8-73:8     403             48:21-25, 49:2-11, 49:13-19
              FRE 106, 402,                                        F (80:13-14, 80:16-23)
80:4-80:8     403             80:13-14, 80:16-23, 85:13-23         IMP, R, ND (85:13-23)
              FRE 106, 402,                                        F (80:13-14, 80:16-23)
80:10-80:12   403             80:13-14, 80:16-23, 85:13-23         IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
80:24-80:25   403, 602, 611   14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
81:2-81:4     403, 602, 611   14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
83:4-83:7     403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
84:24-85:3    403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
85:24-86:1    403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
86:7-86:7     403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
86:9-86:11    403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
86:13-86:16   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
86:22-86:24   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
87:1-87:4     403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
87:6-87:7     403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
87:9-87:11    403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
87:13-87:16   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
87:18-87:20   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24          Page 130 of 227
                                                      PageID #: 11915

              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
87:22-87:24   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
88:1-88:4     403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
88:6-88:7     403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
88:9-88:9     403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
88:13-88:15   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
88:19-88:19   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
88:21-88:23   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
88:25-89:1    403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
89:3-89:4     403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
89:6-89:7     403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
89:9-89:12    403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
89:14-89:17   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
89:21-89:21   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
89:23-89:25   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
90:2-90:4     403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
90:6-90:10    403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
90:12-90:14   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24          Page 131 of 227
                                                      PageID #: 11916

              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
90:16-90:17   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
90:19-90:21   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
90:23-91:1    403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
91:3-91:5     403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
91:7-91:9     403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
91:11-91:12   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
91:14-91:16   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
91:18-91:18   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
91:24-92:1    403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
92:3-92:5     403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
92:7-92:13    403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
92:15-92:18   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
92:23-92:23   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
92:25-93:3    403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
93:5-93:6     403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
93:8-93:10    403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
93:12-93:14   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
                Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24          Page 132 of 227
                                                      PageID #: 11917

              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
93:16-93:18   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
93:20-93:22   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
93:24-93:25   403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,   80:13-14, 80:16-23, 81:5-8, 81:10-   F (80:13-14, 80:16-23)
94:2-94:2     403, 602        14, 81:16-18, 85:13-23               IMP, R, ND (85:13-23)
              FRE 106, 402,
97:21-98:2    403             61:14-24, 63:6-64:11
              FRE 106, 402,
98:3-98:3     403             61:14-24, 63:6-64:11
              FRE 106, 402,
98:5-98:7     403             61:14-24, 63:6-64:11
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24           Page 133 of 227
                                                            PageID #: 11918


                                               Testifying Witness: Pinard, Jeffrey
  Touchstream's
       Initial     Comcast's                                                                              Touchstream's Counter-
   Designations    Objections      Comcast's Counter-Designations           Touchstream's Objections            Counters
7:7-7:9
7:12-7:16
8:10-8:18         FRE 106       8:19-21; 8:23-24
9:14-9:21
                  FRE 106, 402,
11:22-11:25       403           11:9-16; 12:8-20; 12:22-24; 13:11-17
                  FRE 106, 402,
12:2-12:3         403           11:9-16; 12:8-20; 12:22-24; 13:11-17
                                8:19-21; 8:23-24; 11:9-16; 12:8-20;
                  FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
13:18-13:25       403           12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                                8:19-21; 8:23-24; 11:9-16; 12:8-20;
                  FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
14:2-14:7         403           12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                                8:19-21; 8:23-24; 11:9-16; 12:8-20;
                  FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
16:9-16:23        403           12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                                8:19-21; 8:23-24; 11:9-16; 12:8-20;
                  FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
16:24-16:7        403           12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)

                  FRE 106, 402,
17:19-17:20       403, 602      18:16-21; 19:22-20:2
                                8:19-21; 8:23-24; 11:9-16; 12:8-20;
                                12:22-24; 13:11-17; 14:19-16:8; 17:8-
                  FRE 106, 402, 12; 18:16-21; 19:22-20:2; 22:5-11;
18:5-18:15        403, 602      22:19-22; 22:25-23:13                   R, P, SM (14:19-16:8)
                 Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24        Page 134 of 227
                                                        PageID #: 11919

                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
                            12:22-24; 13:11-17; 14:19-16:8; 17:8-
              FRE 106, 402, 12; 18:16-21; 19:22-20:2; 22:5-11;
18:22-18:2    403, 602      22:19-22; 22:25-23:13                   R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
                            12:22-24; 13:11-17; 14:19-16:8; 17:8-
              FRE 106, 402, 12; 18:16-21; 19:22-20:2; 22:5-11;
19:3-19:21    403, 602      22:19-22; 22:25-23:13                   R, P, SM (14:19-16:8)

              FRE 106, 402,
20:24-20:2    403, 602      21:19-22:22
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
                            12:22-24; 13:11-17; 14:19-16:8; 17:8-
              FRE 106, 402, 12; 18:16-21; 21:19-22:22; 22:25-
21:13-21:18   403, 602      23:13                                   R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 22:19-22; 22:25-
              FRE 106, 402, 23:13; 23:17-20; 24:20-24; 26:3-12;
23:21-23:25   403           48:19-49:14; 56:21-57:7, 57:9-17        F, R, O, P (26:3-12)
                            8:19-21; 8:23-24; 22:19-22; 22:25-
              FRE 106, 402, 23:13; 23:17-20; 24:20-24; 48:19-
24:2-24:19    403           49:14; 56:21-57:7, 57:9-17
                            8:19-21; 8:23-24; 22:19-22; 22:25-
24:25-24:25   FRE 106       23:13; 23:17-20; 26:3-12                F, R, O, P (26:3-12)
                            8:19-21; 8:23-24; 22:19-22; 22:25-
25:2-25:16    FRE 106       23:13; 23:17-20; 26:3-12                F, R, O, P (26:3-12)
                            8:19-21; 8:23-24; 22:19-22; 22:25-
25:21-25:25   FRE 106       23:13; 23:17-20; 26:3-12                F, R, O, P (26:3-12)
                            8:19-21; 8:23-24; 22:19-22; 22:25-
26:2-26:2     FRE 106       23:13; 23:17-20; 26:3-12                F, R, O, P (26:3-12)
                            8:19-21; 8:23-24; 22:19-22; 22:25-
26:13-26:25   FRE 106       23:13; 23:17-20; 26:3-12                F, R, O, P (26:3-12)
                            8:19-21; 8:23-24; 22:19-22; 22:25-
27:2-27:7     FRE 106       23:13; 23:17-20; 26:3-12                F, R, O, P (26:3-12)
                 Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24        Page 135 of 227
                                                        PageID #: 11920

                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
27:11-27:20   403, 602, 802 12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
28:2-28:25    403           12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
29:2-29:4     403           12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            11:9-12:3; 12:8-20; 12:22-24; 13:11-
              FRE 106, 402, 25; 14:19-16:17; 16:24-17:12; 20:24-
29:10-29:25   403, 602, 802 21:2; 21:13-22:22; 22:25-23:13

              FRE 106, 602,
              402, 403,     11:9-12:3; 12:8-20; 12:22-24; 13:11-
              602, 802      25; 14:19-16:17; 16:24-17:12; 20:24-
30:2-30:25    (30:13-18)    21:2; 21:13-22:22; 22:25-23:13
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
31:7-31:25    403           12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
32:2-32:25    403           12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
33:2-33:25    403           12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
34:2-34:7     403           12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
35:20-35:25   403           12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                 Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24        Page 136 of 227
                                                        PageID #: 11921

                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
36:2-36:25    403           12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
37:2-37:25    403, 602      12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)

              FRE 106, 402, 8:19-21; 8:23-24; 11:9-16; 12:8-20;
              403, 602, 611 12:22-24; 13:11-17; 14:19-16:8; 17:8-
38:2-38:20    (38:18-22)    12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)

              FRE 106, 402, 8:19-21; 8:23-24; 11:9-16; 12:8-20;
              403, 602, 611 12:22-24; 13:11-17; 14:19-16:8; 17:8-
38:22-38:25   (38:18-22)    12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
39:2-39:25    403, 602      12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
                            12:22-24; 13:11-17; 14:19-16:8; 17:8-
              FRE 106, 402, 12; 22:5-11; 22:19-22; 22:25-23:13;
40:2-40:25    403, 602      41:6-17                                 R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
                            12:22-24; 13:11-17; 14:19-16:8; 17:8-
              FRE 106, 402, 12; 22:5-11; 22:19-22; 22:25-23:13;
41:2-41:5     403, 602      41:6-17                                 R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
                            12:22-24; 13:11-17; 14:19-16:8; 17:8-
              FRE 106, 402, 12; 22:5-11; 22:19-22; 22:25-23:13;
42:2-42:7     403, 602, 611 41:6-17                                 R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
              403, 602, 611 12; 22:5-11; 22:19-22; 22:25-23:13;
42:9-42:16    (42:9-11)     41:6-17                                 R, P, SM (14:19-16:8)
                 Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24        Page 137 of 227
                                                        PageID #: 11922

                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
42:22-42:6    403, 602      12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
43:19-43:25   403, 602      12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)

              FRE 106, 402, 8:19-21; 8:23-24; 11:9-16; 12:8-20;
              403, 602, 802 12:22-24; 13:11-17; 14:19-16:8; 17:8-
44:2-44:25    (44:8-25)     12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)

              FRE 106, 402, 8:19-21; 8:23-24; 11:9-16; 12:8-20;
              403, 602, 802 12:22-24; 13:11-17; 14:19-16:8; 17:8-
45:2-45:13    (45:2-4)      12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
45:16-45:19   403, 602      12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
45:25-45:25   403, 602      12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
46:2-46:25    403, 602      12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
                            12:22-24; 13:11-17; 14:19-16:8; 17:8-
              FRE 106, 402, 12; 22:5-11; 22:19-22; 22:25-23:13;
47:7-47:10    403, 602      48:19-49:14                             R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
                            12:22-24; 13:11-17; 14:19-16:8; 17:8-
              FRE 106, 402, 12; 22:5-11; 22:19-22; 22:25-23:13;
47:18-47:25   403, 602, 802 48:19-49:14                             R, P, SM (14:19-16:8)
                 Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24        Page 138 of 227
                                                        PageID #: 11923

                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
              403, 602, 802 12; 22:5-11; 22:19-22; 22:25-23:13;
48:2-48:18    (48:2-5)      48:19-49:14                             R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
                            12:22-24; 13:11-17; 14:19-16:8; 17:8-
              FRE 106, 402, 12; 22:5-11; 22:19-22; 22:25-23:13;
50:3-50:15    403, 602      48:19-49:14                             R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
                            12:22-24; 13:11-17; 14:19-16:8; 17:8-
              FRE 106, 402, 12; 22:5-11; 22:19-22; 22:25-23:13;
50:24-50:25   403, 602      53:4-10                                 R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
                            12:22-24; 13:11-17; 14:19-16:8; 17:8-
              FRE 106, 402, 12; 22:5-11; 22:19-22; 22:25-23:13;
51:2-51:13    403, 602      53:4-10                                 R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
                            12:22-24; 13:11-17; 14:19-16:8; 17:8-
              FRE 106, 402, 12; 22:5-11; 22:19-22; 22:25-23:13;
51:19-51:25   403, 602      53:4-10                                 R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
              403, 602, 802 12; 22:5-11; 22:19-22; 22:25-23:13;
52:2-52:25    (52:4-8)      53:4-10                                 R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
                            12:22-24; 13:11-17; 14:19-16:8; 17:8-
              FRE 106, 402, 12; 22:5-11; 22:19-22; 22:25-23:13;
53:2-53:3     403, 602      53:4-10                                 R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
              403, 602, 802 12; 22:5-11; 22:19-22; 22:25-23:13;
53:11-53:25   (53:11-15)    53:4-10                                 R, P, SM (14:19-16:8)
                 Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24        Page 139 of 227
                                                        PageID #: 11924

                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
                            12:22-24; 13:11-17; 14:19-16:8; 17:8-
              FRE 106, 402, 12; 22:5-11; 22:19-22; 22:25-23:13;
54:2-54:5     403           53:4-10                                 R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
54:16-54:25   403, 602      12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)

              FRE 106, 402, 11:9-12:3; 12:8-20; 12:22-24; 13:11-
              403, 602, 611 25; 14:19-16:17; 16:24-17:12; 20:24-
55:2-55:23    (55:19-23)    21:2; 21:13-22:22; 22:25-23:13          R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
56:3-56:5     403, 602, 611 12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)
                            8:19-21; 8:23-24; 11:9-16; 12:8-20;
              FRE 106, 402, 12:22-24; 13:11-17; 14:19-16:8; 17:8-
56:14-56:14   403, 602, 611 12; 22:5-11; 22:19-22; 22:25-23:13      R, P, SM (14:19-16:8)

              FRE 106, 402,
57:21-57:25   403, 602      48:19-49:14; 56:21-57:7, 57:9-17

              FRE 106, 402,
58:2-58:8     403, 602      48:19-49:14; 56:21-57:7, 57:9-17
                         Case 2:23-cv-00059-JRG-RSP              Document 215-6 Filed 10/04/24   Page 140 of 227
                                                                  PageID #: 11925


                                               Testifying Witness: Ricker, Todd
 Touchstream's Initial      Comcast's             Comcast's Counter-          Touchstream's      Touchstream's Counter-
     Designations           Objections              Designations                Objections             Counters
9:13-9:24
9:25-9:25
10:2-10:4
18:21-18:24              FRE 106            18:25-19:21
20:13-20:7               FRE 106            18:25-19:21
21:8-21:20               FRE 106            18:25-19:21
21:21-21:4               FRE 106            22:5-9, 22:11-20
23:3-23:12
25:21-25:25              FRE 106            27:2-7, 27:21-28:5
                         FRE 106, 611
26:2-26:25               (26:2-12); Atty    27:2-7, 27:21-28:5
26:16-26:25              FRE 106            27:2-7, 27:21-28:5
29:9-29:22               FRE 106            27:2-7, 27:21-28:5
29:23-29:17
30:6-30:12
30:8-30:3
32:4-32:8                FRE 611 (32:5-8)
33:12-33:22
33:12-33:16
33:12-33:3
34:4-34:16
34:17-34:22
35:23-35:21
38:4-38:17
39:6-39:11
39:12-39:15
39:16-39:23
40:5-40:7
40:8-40:19
              Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24   Page 141 of 227
                                                     PageID #: 11926

41:23-41:25
45:21-45:25
46:2-46:14
46:15-46:25
47:2-47:10    FRE 611 (47:7-10)
              FRE 611 (47:12-
47:12-47:20   14)
                                  60:6-61:2, 118:8-119:10,    F, H (118:8-119:10,
49:19-49:25   FRE 106             119:14-25                   119:14-25)
                                  60:6-61:2, 118:8-119:10,    F, H (118:8-119:10,
50:2-50:4     FRE 106             119:14-25                   119:14-25)
                                  60:6-61:2, 118:8-119:10,    F, H (118:8-119:10,
50:5-50:11    FRE 106             119:14-25                   119:14-25)
                                  60:6-61:2, 118:8-119:10,    F, H (118:8-119:10,
51:21-51:25   FRE 106             119:14-25                   119:14-25)
                                  60:6-61:2, 118:8-119:10,    F, H (118:8-119:10,
53:2-53:5     FRE 106             119:14-25                   119:14-25)
                                  60:6-61:2, 118:8-119:10,    F, H (118:8-119:10,
62:3-62:16    FRE 106             119:14-25                   119:14-25)
64:2-64:15
69:23-69:25   FRE 106             71:25-72:7, 76:12-13
70:2-70:2     FRE 106             71:25-72:7, 76:12-13
70:17-70:24   FRE 106             71:25-72:7, 76:12-13
71:5-71:24    FRE 106             71:25-72:7, 76:12-13
72:8-72:20    FRE 106             71:25-72:7, 76:12-13
75:5-75:12    FRE 106             71:25-72:7, 76:12-13
75:13-75:11   FRE 106             71:25-72:7, 76:12-13
76:14-76:22   FRE 106             71:25-72:7, 76:12-13
77:12-77:15   FRE 106             71:25-72:7, 76:12-13
77:23-77:24   FRE 106             71:25-72:7, 76:12-13
79:3-79:6
79:16-79:23
80:10-80:17
85:12-85:15
                Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24            Page 142 of 227
                                                     PageID #: 11927

86:11-86:14     FRE 611 (86:14)
                FRE 611 (86:16-
86:16-86:25     19)
87:2-87:5
88:9-88:10      FRE 611
88:12-88:14     FRE 611
90:4-90:8
90:9-90:8
90:22-90:23
92:21-92:16
97:8-97:21
                                                                  R, O, P, F (103:10-12,
103:2-103:3     FRE 106, 602      103:10-12, 105:6-8, 105:11-15   105:6-8, 105:11-15)
                                                                  R, O, P, F (103:10-12,
104:10-104:11   FRE 106, 602      103:10-12, 105:6-8, 105:11-15   105:6-8, 105:11-15)
                                                                  R, O, P, F (103:10-12,
104:12-104:13   FRE 106, 602      103:10-12, 105:6-8, 105:11-15   105:6-8, 105:11-15)
                                                                  R, O, P, F (103:10-12,
104:15-104:25   FRE 106, 602      103:10-12, 105:6-8, 105:11-15   105:6-8, 105:11-15)
                                                                  R, O, P, F (103:10-12,
105:2-105:5     FRE 106, 602      103:10-12, 105:6-8, 105:11-15   105:6-8, 105:11-15)
                                  93:22-24, 94:2-95:4, 107:7-8,
                                  107:10-12, 107:14, 107:16-19,   O, P, F (93:22-24, 94:2-
107:21-107:25   FRE 106           108:3-7                         95:4)
                                                                  O, P, F (93:22-24, 94:2-
108:2-108:2     FRE 106           93:22-24, 94:2-95:4, 108:3-7    95:4)
                                                                  O, P, F (93:22-24, 94:2-
108:8-108:12    FRE 106           93:22-24, 94:2-95:4, 108:3-7    95:4)
109:6-109:22    FRE 106           111:2-5
110:10-110:25   FRE 106           111:2-5
111:8-111:14    FRE 106           111:2-5
112:8-112:23    FRE 106           111:2-5
113:20-113:25   FRE 106           111:2-5
114:2-114:8     FRE 106           111:2-5
                Case 2:23-cv-00059-JRG-RSP   Document 215-6 Filed 10/04/24   Page 143 of 227
                                              PageID #: 11928

115:16-115:16   FRE 106       111:2-5
115:17-115:21   FRE 106       111:2-5
115:24-115:25   FRE 106       111:2-5
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24             Page 144 of 227
                                                            PageID #: 11929


                                            Testifying Witness: Rinzler, Michael
Touchstream's
    Initial      Comcast's                                                                                         Touchstream's
 Designations    Objections       Comcast's Counter-Designations               Touchstream's Objections           Counter-Counters
                                                                        DUP (61:4-8, 208:25-209:3, 209:5)
                                                                        R, P, SM (132:14-133:2, 133:12-15,
                               9:23-10:2, 19:20-23, 21:10-15, 60:5-8,   133:20-24, 208:25-209:3, 209:5)
                FRCP 32; FRE 61:4-8, 109:15-18, 121:8-23, 131:7-18,     F (133:12-15, 133:20-24, 208:25-209:3,
                106, 402, 403, 132:14-133:2, 133:12-15, 133:20-24,      209:5)
18:13-18:20     602, 802       208:25-209:3, 209:5                      I (208:25-209:3, 209:5)                  209:6-8

                                                                       F (81:11-82:5, 107:11-20, 133:12-15,
                                                                       133:20-24, 208:25-209:3, 209:5)
                                                                       I (81:11-82:5, 208:25-209:3, 209:5)
                                                                       SM (81:11-82:5, 95:8-16, 95:20-23,
                                                                       132:14-133:2, 133:12-15, 133:20-24,
                                                                       208:25-209:3, 209:5)
                                                                       P (95:8-16, 95:20-23, 132:14-133:2,
                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19- 133:12-15, 133:20-24, 208:25-209:3,
                               23, 87:16-88:1, 88:11-15, 95:8-16,      209:5)
                               95:20-23, 107:11-20, 109:3-5, 128:10- R (132:14-133:2, 133:12-15, 133:20-24,
                FRCP 32; FRE 12, 130:10-23, 131:7-14, 132:14-133:2, 208:25-209:3, 209:5)
                106, 402, 403, 133:12-15, 133:20-24, 134:4-15, 208:25- DUP (209:5)
106:19-107:10   802            209:3, 209:5                            DUP (208:25-209:3)                        81:3-10, 209:6-8
                                                                       I, F (81:11-82:5)
                                                                       SM (81:11-82:5, 95:8-16, 95:20-23,
                               9:23-10:2, 21:10-15, 81:11-82:5, 87:16- 112:19-113:13, 116:8-117:14, 122:2-24,
                               88:1, 88:11-15, 95:8-16, 95:20-23,      133:3-11)
                FRCP 32; FRE 110:14-21, 112:19-113:13, 116:8-          P (95:8-16, 95:20-23, 112:19-113:13,
                106, 402, 403, 117:14, 118:11-16, 122:2-24, 131:15-    116:8-117:14, 122:2-24,133:3-11)
109:19-110:13   802            18, 133:3-11                            R (133:3-11)                           81:3-10
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24            Page 145 of 227
                                                            PageID #: 11930


                                                                       F (81:11-82:5, 107:11-20, 133:12-15,
                                                                       133:20-24, 208:25-209:3, 209:5)
                                                                       I (81:11-82:5, 208:25-209:3, 209:5)
                                                                       SM (81:11-82:5, 95:8-16, 95:20-23,
                                                                       132:14-133:2, 133:12-15, 133:20-24,
                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19- 208:25-209:3, 209:5)
                               23, 87:16-88:1, 88:11-15, 95:8-16,      P (95:8-16, 95:20-23, 132:14-133:2,
                               95:20-23, 107:11-20, 109:3-5, 128:10- 133:12-15, 133:20-24, 208:25-209:3,
                               12, 130:10-23, 131:7-14, 132:14-133:2, 209:5)
                FRCP 32; FRE 133:12-15, 133:20-24, 134:4-15,           R (132:14-133:2, 133:12-15, 133:20-24,
                106, 402, 403, 201:20-25, 202:2, 202:7-10, 208:25-     208:25-209:3, 208:25-209:3, 209:5)
128:13-128:19   802            209:3, 209:5                            DUP (208:25-209:3, 209:5)                81:3-10, 209:6-8

                                                                       F (81:11-82:5, 107:11-20, 133:12-15,
                                                                       133:20-24, 208:25-209:3, 209:5)
                                                                       I (81:11-82:5, 208:25-209:3, 209:5)
                                                                       SM (81:11-82:5, 95:8-16, 95:20-23,
                                                                       132:14-133:2, 133:12-15, 133:20-24,
                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19- 208:25-209:3, 209:5)
                               23, 87:16-88:1, 88:11-15, 95:8-16,      P (95:8-16, 95:20-23, 132:14-133:2,
                               95:20-23, 107:11-20, 109:3-5, 128:10- 133:12-15, 133:20-24, 208:25-209:3,
                               12, 130:10-23, 131:7-14, 132:14-133:2, 209:5)
                FRCP 32; FRE 133:12-15, 133:20-24, 134:4-15,           R (132:14-133:2, 133:12-15, 133:20-24,
                106, 402, 403, 201:20-25, 202:2, 202:7-10, 208:25-     208:25-209:3, 208:25-209:3, 209:5)
128:22-129:19   802            209:3, 209:5                            DUP (208:25-209:3, 209:5)                81:3-10, 209:6-8
                FRCP 32; FRE 9:23-10:2, 21:10-15, 81:11-82:5, 86:19- I, F (81:11-82:5)
                106, 402, 403, 23, 87:16-88:1, 88:11-15, 95:8-16,      SM (81:11-82:5, 95:8-16, 95:20-23)
133:25-134:3    802            95:20-23, 134:4-15                      P (95:8-16, 95:20-23)                    81:3-10
                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19-
                FRCP 32; FRE 23, 87:16-88:1, 88:11-15, 95:8-16,        I, F (81:11-82:5)
                106, 402, 403, 95:20-23, 134:4-15, 141:25-142:6,       SM (81:11-82:5, 95:8-16, 95:20-23)
135:9-136:4     802            142:13-22, 142:24                       P (95:8-16, 95:20-23)                    81:3-10
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24            Page 146 of 227
                                                            PageID #: 11931

                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19-
                FRCP 32; FRE 23, 87:16-88:1, 88:11-15, 95:8-16,        I, F (81:11-82:5)
                106, 402, 403, 95:20-23, 134:4-15, 141:25-142:6,       SM (81:11-82:5, 95:8-16, 95:20-23)
136:16-137:6    802            142:13-22, 142:24                       P (95:8-16, 95:20-23)                    81:3-10
                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19-
                FRCP 32; FRE 23, 87:16-88:1, 88:11-15, 95:8-16,        I, F (81:11-82:5)
                106, 402, 403, 95:20-23, 134:4-15, 141:25-142:6,       SM (81:11-82:5, 95:8-16, 95:20-23)
142:7-142:12    802            142:13-22, 142:24                       P (95:8-16, 95:20-23)                    81:3-10
                FRCP 32; FRE 9:23-10:2, 21:10-15, 75:16-18, 95:8-16,
                106, 611, 802, 95:20-23, 103:13-14, 103:25-104:3,      P, SM (95:8-16, 95:20-23, 104:15-105:13,
148:8-149:10    atty           104:15-105:13, 105:19-106:2             105:19-106:2)
                               9:23-10:2, 21:10-15, 75:16-18, 95:8-16,
                FRCP 32; FRE 95:20-23, 103:13-14, 103:25-104:3,        P, SM (95:8-16, 95:20-23, 104:15-105:13,
148:8-148:12    106, 611, 802 104:15-105:13, 105:19-106:2              105:19-106:2)
                               9:23-10:2, 21:10-15, 75:16-18, 95:8-16,
                FRCP 32; FRE 95:20-23, 103:13-14, 103:25-104:3,        P, SM (95:8-16, 95:20-23, 104:15-105:13,
148:17-148:24   106, 611, 802 104:15-105:13, 105:19-106:2              105:19-106:2)
                               9:23-10:2, 21:10-15, 75:16-18, 95:8-16,
                FRCP 32; FRE 95:20-23, 103:13-14, 103:25-104:3,        P, SM (95:8-16, 95:20-23, 104:15-105:13,
149:2-149:10    106, 611, 802 104:15-105:13, 105:19-106:2              105:19-106:2)

                                                                       F (81:11-82:5, 107:11-20, 133:12-15,
                                                                       133:20-24, 208:25-209:3, 209:5)
                                                                       I (81:11-82:5, 208:25-209:3, 209:5)
                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19- SM (81:11-82:5, 95:8-16, 95:20-23,
                               23, 87:16-88:1, 88:11-15, 95:8-16,      132:14-133:2, 133:12-15, 133:20-24,
                               95:20-23, 107:11-20, 109:3-5, 128:10- 208:25-209:3, 209:5)
                               12, 130:10-23, 131:7-14, 132:14-133:2, P (95:8-16, 95:20-23, 132:14-133:2,
                               133:12-15, 133:20-24, 134:4-15, 141:25- 133:12-15, 133:20-24, 208:25-209:3,
                               142:6, 142:13-22, 142:24, 195:21-       209:5)
                FRCP 32; FRE 196:9, 196:12-22, 198:10-18, 198:24-      R (132:14-133:2, 133:12-15, 133:20-24,
                106, 402, 403, 199:16, 200:13-14, 200:23-202:2, 202:7- 208:25-209:3, 209:5)
156:24-157:6    602, 802       10, 208:25-209:3, 209:5                 DUP (208:25-209:3, 209:5)                81:3-10, 209:6-8
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24            Page 147 of 227
                                                            PageID #: 11932


                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19- SM (81:11-82:5, 132:14-133:2, 133:20-
                               23, 87:16-88:1, 88:11-15, 107:11-20,    24, 208:25-209:3, 209:5)
                               109:3-5, 128:10-12, 130:10-23, 131:7- I (81:11-82:5, 133:12-15, 208:25-209:3,
                               14, 132:14-133:2, 133:12-15, 133:20-    209:5)
                               24, 134:4-15, 141:25-142:6, 142:13-22, F (81:11-82:5, 107:11-20, 133:12-15,
                               142:24, 195:21-196:9, 196:12-22,        133:20-24, 208:25-209:3, 209:5)
                FRCP 32; FRE 198:10-18, 198:24-199:16, 200:13-14, R, P (132:14-133:2, 133:12-15, 133:20-
                106, 402, 403, 200:23-202:2, 202:7-10, 208:25-209:3, 24, 208:25-209:3, 209:5)
157:11-157:21   602, 802       209:5                                   DUP (208:25-209:3, 209:5)                81:3-10, 209:6-8

                                                                       F (81:11-82:5, 107:11-20, 133:12-15,
                                                                       133:20-24, 208:25-209:3, 209:5)
                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19- I (81:11-82:5, 208:25-209:3, 209:5)
                               23, 87:16-88:1, 88:11-15, 95:8-16,      SM (81:11-82:5, 95:8-16, 95:20-23,
                               95:20-23, 107:11-20, 109:3-5, 128:10- 133:12-15, 133:20-24, 208:25-209:3,
                               12, 130:10-23, 131:7-14, 132:14-133:2, 209:5)
                               133:12-15, 133:20-24, 134:4-15, 141:25- P (95:8-16, 95:20-23, 133:12-15, 133:20-
                               142:6, 142:13-22, 142:24, 195:21-       24, 208:25-209:3, 209:5)
                FRCP 32; FRE 196:9, 196:12-22, 198:10-18, 198:24-      R (133:12-15, 133:20-24, 208:25-209:3,
                106, 402, 403, 199:16, 200:13-14, 200:23-202:2, 202:7- 209:5)
157:22-158:22   602, 611, 802 10, 208:25-209:3, 209:5                  DUP (208:25-209:3, 209:5)                81:3-10, 209:6-8

                                                                       I (81:11-82:5, 204:8-9, 204:12-15,
                                                                       204:17, 206:3-9)
                                                                       F (81:11-82:5)
                                                                       SM (81:11-82:5, 95:8-16, 95:20-23,
                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19- 112:19-113:13, 116:8-117:14, 122:2-24,
                               23, 87:16-88:1, 88:11-15, 95:8-16,      133:3-11, 205:5-16)
                               95:20-23, 110:14-21, 112:19-113:13,     P (95:8-16, 95:20-23, 112:19-113:13,
                FRCP 32; FRE 116:8-117:14, 118:11-16, 122:2-24,        116:8-117:14, 122:2-24, 133:3-11, 205:5-
                106, 402, 403, 131:15-18, 133:3-11, 204:8-9, 204:12- 16)
162:11-163:8    602, 611, 802 15, 204:17, 205:5-16, 206:3-9            R (133:3-11)                             81:3-10, 203:11-19
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24            Page 148 of 227
                                                            PageID #: 11933


                                                                       I (81:11-82:5, 204:8-9, 204:12-15,
                                                                       204:17, 206:3-9)
                                                                       F (81:11-82:5)
                                                                       SM (81:11-82:5, 95:8-16, 95:20-23,
                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19- 112:19-113:13, 116:8-117:14, 122:2-24,
                               23, 87:16-88:1, 88:11-15, 95:8-16,      133:3-11, 205:5-16)
                               95:20-23, 110:14-21, 112:19-113:13,     P (95:8-16, 95:20-23, 112:19-113:13,
                FRCP 32; FRE 116:8-117:14, 118:11-16, 122:2-24,        116:8-117:14, 122:2-24, 133:3-11, 205:5-
                106, 402, 403, 131:15-18, 133:3-11, 204:8-9, 204:12- 16)
163:16-163:19   602, 611, 802 15, 204:17, 205:5-16, 206:3-9            R (133:3-11)                             81:3-10, 203:11-19

                                                                       I (81:11-82:5, 204:8-9, 204:12-15,
                                                                       204:17, 206:3-9)
                                                                       F (81:11-82:5)
                                                                       SM (81:11-82:5, 95:8-16, 95:20-23,
                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19- 112:19-113:13, 116:8-117:14, 122:2-24,
                               23, 87:16-88:1, 88:11-15, 95:8-16,      133:3-11, 205:5-16)
                               95:20-23, 110:14-21, 112:19-113:13,     P (95:8-16, 95:20-23, 112:19-113:13,
                FRCP 32; FRE 116:8-117:14, 118:11-16, 122:2-24,        116:8-117:14, 122:2-24, 133:3-11, 205:5-
                106, 402, 403, 131:15-18, 133:3-11, 204:8-9, 204:12- 16)
164:7-164:21    602, 611, 802 15, 204:17, 205:5-16, 206:3-9            R (133:3-11)                             81:3-10, 203:11-19

                                                                       I (81:11-82:5, 204:8-9, 204:12-15,
                                                                       204:17, 206:3-9)
                                                                       F (81:11-82:5)
                                                                       SM (81:11-82:5, 95:8-16, 95:20-23,
                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19- 112:19-113:13, 116:8-117:14, 122:2-24,
                               23, 87:16-88:1, 88:11-15, 95:8-16,      133:3-11, 205:5-16)
                FRCP 32; FRE 95:20-23, 110:14-21, 112:19-113:13,       P (95:8-16, 95:20-23, 112:19-113:13,
                106, 402, 403, 116:8-117:14, 118:11-16, 122:2-24,      116:8-117:14, 122:2-24, 133:3-11, 205:5-
                602, 611, 802; 131:15-18, 133:3-11, 204:8-9, 204:12- 16)
164:22-166:25   Atty           15, 204:17, 205:5-16, 206:3-9           R (133:3-11)                             81:3-10, 203:11-19
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24            Page 149 of 227
                                                            PageID #: 11934


                                                                       I (81:11-82:5, 204:8-9, 204:12-15,
                                                                       204:17, 206:3-9)
                                                                       F (81:11-82:5)
                                                                       SM (81:11-82:5, 95:8-16, 95:20-23,
                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19- 112:19-113:13, 116:8-117:14, 122:2-24,
                               23, 87:16-88:1, 88:11-15, 95:8-16,      133:3-11, 205:5-16)
                FRCP 32; FRE 95:20-23, 110:14-21, 112:19-113:13,       P (95:8-16, 95:20-23, 112:19-113:13,
                106, 402, 403, 116:8-117:14, 118:11-16, 122:2-24,      116:8-117:14, 122:2-24, 133:3-11, 205:5-
                602, 611, 802; 131:15-18, 133:3-11, 204:8-9, 204:12- 16)
169:7-169:21    Atty           15, 204:17, 205:5-16, 206:3-9           R (133:3-11)                             81:3-10, 203:11-19

                                                                       I (81:11-82:5, 204:8-9, 204:12-15,
                                                                       204:17, 206:3-9, 221:23-222:7, 222:14-
                                                                       22)
                                                                       F (81:11-82:5)
                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19- SM (81:11-82:5, 95:8-16, 95:20-23,
                               23, 87:16-88:1, 88:11-15, 95:8-16,      112:19-113:13, 116:8-117:14, 122:2-24,
                               95:20-23, 110:14-21, 112:19-113:13,     133:3-11, 205:5-16)
                               116:8-117:14, 118:11-16, 122:2-24,      P (95:8-16, 95:20-23, 112:19-113:13,
                FRCP 32; FRE 131:15-18, 133:3-11, 204:8-9, 204:12- 116:8-117:14, 122:2-24, 133:3-11, 205:5-
                106, 402, 403, 15, 204:17, 205:5-16, 206:3-9 221:23- 16, 221:23-222:7, 222:14-22)             81:3-10, 203:11-19,
211:21-212:6    602, 611, 802 222:7, 222:14-22                         R (133:3-11)                           222:8-14

                                                                       I (81:11-82:5, 204:8-9, 204:12-15,
                                                                       204:17, 206:3-9, 221:23-222:7, 222:14-
                                                                       22)
                                                                       F (81:11-82:5)
                               9:23-10:2, 21:10-15, 81:11-82:5, 86:19- SM (81:11-82:5, 95:8-16, 95:20-23,
                               23, 87:16-88:1, 88:11-15, 95:8-16,      112:19-113:13, 116:8-117:14, 122:2-24,
                               95:20-23, 110:14-21, 112:19-113:13,     133:3-11, 205:5-16)
                               116:8-117:14, 118:11-16, 122:2-24,      P (95:8-16, 95:20-23, 112:19-113:13,
                FRCP 32; FRE 131:15-18, 133:3-11, 204:8-9, 204:12- 116:8-117:14, 122:2-24, 133:3-11, 205:5-
                106, 402, 403, 15, 204:17, 205:5-16, 206:3-9 221:23- 16, 221:23-222:7, 222:14-22)             81:3-10, 203:11-19,
212:12-212:20   602, 611, 802 222:7, 222:14-22                         R (133:3-11)                           222:8-14
                    Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24           Page 150 of 227
                                                          PageID #: 11935


                                                                      I (81:11-82:5, 204:8-9, 204:12-15,
                                                                      204:17, 206:3-9, 221:23-222:7, 222:14-
                                                                      22)
                                                                      F (81:11-82:5)
                              9:23-10:2, 21:10-15, 81:11-82:5, 86:19- SM (81:11-82:5, 95:8-16, 95:20-23,
                              23, 87:16-88:1, 88:11-15, 95:8-16,      112:19-113:13, 116:8-117:14, 122:2-24,
                              95:20-23, 110:14-21, 112:19-113:13,     133:3-11, 205:5-16)
                              116:8-117:14, 118:11-16, 122:2-24,      P (95:8-16, 95:20-23, 112:19-113:13,
               FRCP 32; FRE 131:15-18, 133:3-11, 204:8-9, 204:12- 116:8-117:14, 122:2-24, 133:3-11, 205:5-
               106, 402, 403, 15, 204:17, 205:5-16, 206:3-9 221:23- 16, 221:23-222:7, 222:14-22)             81:3-10, 203:11-19,
212:24-213:4   602, 611, 802 222:7, 222:14-22                         R (133:3-11)                           222:8-14
                     Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24           Page 151 of 227
                                                          PageID #: 11936

   Comcast Cable Communications, LLC v. Sprint Communications Company L.P.
                          Case No. 2:12-cv-00859-JD
                    Testifying Witness: Subbiah, Anadhan
                                   (5/1/14)
 Touchstream's
      Initial      Comcast's     Comast's Counter-       Touchstream's      Touchstream's Counter-
  Designations     Objections      Designations            Objections             Counters
7:7-7:9
12:24-13:9
16:14-17:14                     17:15-23
17:24-18:8
                                100:25-101:5, 118:10- R, P (100:25-101:5,
                                13, 122:25-123:3,     118:10-118:13,
170:4-171:3      FRE 403        127:1-5, 139:11-13    127:1-5, 139:11-13)
                     Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24             Page 152 of 227
                                                          PageID #: 11937


                                        Testifying Witness: Subbiah, Anandhan
  Touchstream's                                                                                                 Touchstream's
       Initial       Comcast's                                                                                    Counter-
   Designations      Objections    Comcast's Counter-Designations              Touchstream's Objections           Counters
7:15-7:17
7:25-8:1
8:4-8:6
8:15-8:22                         9:12-9:21                           I, R (9:12-9:21)
8:23-9:5          FRE 402, 403    9:12-9:21                           I, R (9:12-9:21)
                                  9:12-9:21                           R, P (21:18-23, 142:20-23)
9:22-10:9         FRE 403                                             SM (21:18-23)
                                  13:14-24, 14:4-12, 15:11-15, 21:18- R, P (21:18-23, 142:20-23)
14:13-15:3                        23, 142:20-23                       SM (21:18-23)
                                  13:14-24, 14:4-12, 15:11-15, 21:18- R, P (21:18-23, 142:20-23)
16:3-16:15                        23, 142:20-23                       SM (21:18-23)
                                  13:14-24, 14:4-12, 15:11-15, 21:18- R, P (21:18-23, 142:20-23)
16:16-17:16                       23, 142:20-23                       SM (21:18-23)
                                  13:14-24, 14:4-12, 15:11-15, 21:18-
17:17-17:22       FRE 403         23, 142:20-23                       R, P (142:20-23)
                                  13:14-24, 18:6-10, 142:20-23        R, P (21:18-23, 142:20-23)
18:16-18:21                                                           SM (21:18-23)
                                  13:14-24, 18:6-10, 19:7-12, 142:20-
19:3-19:6                         23                                  R, P (142:20-23)
                                  13:14-24, 14:4-12, 15:11-15,        R, P (21:18-23, 142:20-23)
19:20-20:12                       142:20-23                           SM (21:18-23)
                  FRE 403         13:14-24, 14:4-12, 15:11-15, 21:18- R, P (21:18-23, 142:20-23)
20:13-20:16                       23, 142:20-23                       SM (21:18-23)
                  FRE 403         13:14-24, 14:4-12, 15:11-15, 21:18-
20:18-20:20                       23, 142:20-23                       R, P, SM (21:18-23)
                  FRE 403         13:14-24, 14:4-12, 15:11-15, 21:18-
20:22-21:1                        23                                  R, P, SM (21:18-23)
                  FRE 403         13:14-24, 14:4-12, 15:11-15, 21:18-
21:3-21:3                         23                                  R, P, SM (21:18-23)
                 Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24             Page 153 of 227
                                                     PageID #: 11938

              FRE 106, 403   13:14-24, 14:4-12, 15:11-15, 21:18-
21:11-21:17                  23
                             13:14-24, 14:4-12, 15:11-15, 21:18-
21:24-22:2                   23                                  R, P, SM (21:18-23)
                             13:14-24, 14:4-12, 15:11-15, 21:18-
22:3-22:4                    23                                  R, P, SM (21:18-23)
                             13:14-24, 14:4-12, 15:11-15, 21:18-
22:6-22:6                    23                                  R, P, SM (21:18-23)
                             13:14-24, 14:4-12, 15:11-15, 21:18-
22:8-22:8                    23                                  R, P, SM (21:18-23)
                             13:14-24, 14:4-12, 15:11-15, 21:18-
22:10-22:10                  23
22:25-23:1    FRE 602        23:14-15
23:6-23:8     FRE 602        23:14-15
23:16-24:3    FRE 602        23:14-15
24:12-24:15   FRE 602        23:14-15, 25:23-25, 26:20-22

25:10-25:10                  23:14-15, 25:23-25, 26:20-22

25:11-25:12                  23:14-15, 25:23-25, 26:20-22

25:14-25:17                  23:14-15, 25:23-25, 26:20-22

26:17-26:19                  23:14-15, 25:23-25, 26:20-22
                             23:14-15, 25:23-25, 26:20-22        R, P, SM (139:18,21, 139:23-140:1, 163:2-
26:23-27:4                                                       164:1)
                             139:18-21, 139:23-140:1, 163:2-
28:18-29:6                   164:1
                                                                 SO, R, P, H, A, F, SM (152:7-22, 153:22-154:3,
                                                                 154:22-155:19, 156:6-157:1)
29:7-29:14                                                       I, IM (153:22-154:3)                           10:19-11:8
                             146:2-147:12, 147:15-148:9,         SO, R, P, H, A, F, SM (152:7-22, 153:22-154:3,
                             148:13-151:2, 152:7-22, 153:22-3,   154:22-155:19, 156:6-157:1)
29:16-31:17                  154:22-155:19, 156:6-157:1          I, IM (153:22-154:3)                           10:19-11:8
                 Case 2:23-cv-00059-JRG-RSP              Document 215-6 Filed 10/04/24            Page 154 of 227
                                                          PageID #: 11939

              FRE 602              23:14-15, 146:2-147:12, 147:15-
                                   148:9, 148:13-151:2, 152:7-22,    SO, R, P, H, A, F, SM (152:7-22, 153:22-154:3,
                                   153:22-3, 154:22-155:19, 156:6-   154:22-155:19, 156:6-157:1)
32:21-33:14                        157:1                             I, IM (153:22-154:3)                           10:19-11:8
              FRE 602              23:14-15, 146:2-147:12, 147:15-
                                   148:9, 148:13-151:2, 152:7-22,
                                   153:22-3, 154:22-155:19, 156:6-
33:19-34:8                         157:1
                                   23:14-15, 146:2-147:12, 147:15-
                                   148:9, 148:13-151:2, 152:7-22,    SO, R, P, H, A, F, SM (152:7-22, 153:22-154:3,
                                   153:22-3, 154:22-155:19, 156:6-   154:22-155:19, 156:6-157:1)
34:9-34:21                         157:1                             I, IM (153:22-154:3)                           10:19-11:8
                                   23:14-15, 146:2-147:12, 147:15-
                                   148:9, 148:13-151:2, 152:7-22,
                                   153:22-3, 154:22-155:19, 156:6-
35:10-35:22                        157:1
39:9-40:4     FRE 602              23:14-15
44:17-45:2    FRE 602              23:14-15
47:4-47:6
47:7-47:12
47:13-47:17
47:18-47:22   FRE 403              35:23-36:5, 36:7-20
47:24-47:24   FRE 403              35:23-36:5, 36:7-20
48:1-48:12    FRE 403              35:23-36:5, 36:7-20
48:13-49:10   FRE 403              35:23-36:5, 36:7-20
49:15-50:21   FRE 403              35:23-36:5, 36:7-20               35:23-36:5, 36:7-20
52:24-53:8    FRE 602              23:14-15                          23:14-15
              FRE 106, 403,        23:14-15                          23:14-15
53:14-55:6    602

55:7-55:8     FRE 106, 403; Atty
              FRE 106, 403; Atty
55:18-55:18
55:22-56:3    FRE 106, 403
                 Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24   Page 155 of 227
                                                      PageID #: 11940

56:4-56:10    FRE 106, 403
56:11-56:15   FRE 106, 403
56:16-56:18
57:25-57:25   FRE 602         23:14-15
58:1-61:13    FRE 602         15:11-15, 23:14-15
62:9-62:12    FRE 602         62:13-15
62:18-62:21   FRE 602         62:13-15                           62:13-15
              FRE 106, 403,
78:4-78:11    602
              FRE 106, 403,
79:11-79:13   602
85:21-85:22   FRE 602
86:1-86:6     FRE 602
86:4-86:6     FRE 602
86:7-86:12    FRE 602
86:25-87:16   FRE 602
88:13-89:24   FRE 602
                              35:23-36:5, 36:7-20, 90:24-91:3,
                              139:18-21, 139:23-140:1, 163:2-
90:9-90:22                    164:1
                                                                                                  171:11-
                                                                                                  171:20; 171:22-
                                                                                                  172:6; 172:8-
                              164:2-6, 164:10-11, 164:15-18,                                      20; 172:22-
91:8-92:5     FRE 402, 403    165:3-11, 172:12-18                I (172:12-18)                    173:1
                                                                                                  171:11-
                                                                                                  171:20; 171:22-
                                                                                                  172:6; 172:8-
                              164:2-6, 164:10-11, 164:15-18,                                      20; 172:22-
93:5-93:19    FRE 402, 403    165:3-11, 172:12-18                I (172:12-18)                    173:1
                 Case 2:23-cv-00059-JRG-RSP               Document 215-6 Filed 10/04/24   Page 156 of 227
                                                           PageID #: 11941

                                                                                                       171:11-
                                                                                                       171:20; 171:22-
                                                                                                       172:6; 172:8-
                                   164:2-6, 164:10-11, 164:15-18,                                      20; 172:22-
93:21-93:22   FRE 402, 403         165:3-11, 172:12-18              I (172:12-18)                      173:1
                                                                                                       171:11-
                                                                                                       171:20; 171:22-
                                                                                                       172:6; 172:8-
                                   164:2-6, 164:10-11, 164:15-18,                                      20; 172:22-
93:24-94:2    FRE 402, 403         165:3-11, 172:12-18              I (172:12-18)                      173:1
                                                                                                       171:11-
                                                                                                       171:20; 171:22-
                                                                                                       172:6; 172:8-
                                   164:2-6, 164:10-11, 164:15-18,                                      20; 172:22-
94:4-94:7     FRE 402, 403         165:3-11, 172:12-18              I (172:12-18)                      173:1
                                                                                                       171:11-
                                                                                                       171:20; 171:22-
                                                                                                       172:6; 172:8-
                                   164:2-6, 164:10-11, 164:15-18,                                      20; 172:22-
94:9-94:10    FRE 402, 403         165:3-11, 172:12-18              I (172:12-18)                      173:1
              FRE 402, 403                                                                             171:11-
                                                                                                       171:20; 171:22-
                                                                                                       172:6; 172:8-
                                   164:2-6, 164:10-11, 164:15-18,                                      20; 172:22-
94:12-95:6                         165:3-11, 172:12-18              I (172:12-18)                      173:1
              FRE 402, 403; Atty                                                                       171:11-
                                                                                                       171:20; 171:22-
                                                                                                       172:6; 172:8-
                                   164:2-6, 164:10-11, 164:15-18,                                      20; 172:22-
95:7-95:9                          165:3-11, 172:12-18              I (172:12-18)                      173:1
                 Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24               Page 157 of 227
                                                     PageID #: 11942

                                                                                                             171:11-
                                                                                                             171:20; 171:22-
                                                                                                             172:6; 172:8-
                             164:2-6, 164:10-11, 164:15-18,                                                  20; 172:22-
95:11-96:4    FRE 402, 403   165:3-11, 172:12-18                I (172:12-18)                                173:1
                                                                                                             171:11-
                                                                                                             171:20; 171:22-
                                                                                                             172:6; 172:8-
                             164:2-6, 164:10-11, 164:15-18,                                                  20; 172:22-
96:5-96:7     FRE 402, 403   165:3-11, 172:12-18                I (172:12-18)                                173:1
                                                                                                             171:11-
                                                                                                             171:20; 171:22-
                                                                                                             172:6; 172:8-
                             164:2-6, 164:10-11, 164:15-18,                                                  20; 172:22-
96:9-96:10    FRE 402, 403   165:3-11, 172:12-18                I (172:12-18)                                173:1
                                                                                                             171:11-
                                                                                                             171:20; 171:22-
                                                                                                             172:6; 172:8-
                             164:2-6, 164:10-11, 164:15-18,                                                  20; 172:22-
96:12-96:14   FRE 402, 403   165:3-11, 172:12-18                I (172:12-18)                                173:1
                             164:2-6, 164:10-11, 164:15-18,                                                  171:11-
                             165:3-11, 172:12-18                                                             171:20; 171:22-
                                                                                                             172:6; 172:8-
                                                                R, P, H, A, F, SM, L (163:2-164:1)           20; 172:22-
96:16-96:16   FRE 402, 403                                      I (172:12-18)                                173:1
                             163:2-164:1, 164:2-6, 164:10-11,                                                171:11-
                             164:15-18, 165:3-11, 172:12-18                                                  171:20; 171:22-
                                                                                                             172:6; 172:8-
                                                                                                             20; 172:22-
96:18-96:24   FRE 402, 403                                      I (172:12-18)                                173:1
                   Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24               Page 158 of 227
                                                       PageID #: 11943

                                                                                                               171:11-
                                                                                                               171:20; 171:22-
                                                                                                               172:6; 172:8-
                               164:2-6, 164:10-11, 164:15-18,                                                  20; 172:22-
97:8-97:13      FRE 402, 403   165:3-11, 172:12-18                I (172:12-18)                                173:1
                                                                                                               171:11-
                                                                                                               171:20; 171:22-
                                                                                                               172:6; 172:8-
                               164:2-6, 164:10-11, 164:15-18,                                                  20; 172:22-
97:24-98:18     FRE 402, 403   165:3-11, 172:12-18                I (172:12-18)                                173:1
                                                                                                               171:11-
                                                                                                               171:20; 171:22-
                                                                                                               172:6; 172:8-
                               164:2-6, 164:10-11, 164:15-18,                                                  20; 172:22-
99:8-99:14      FRE 402, 403   165:3-11, 172:12-18                I (172:12-18)                                173:1
                FRE 402, 403   164:2-6, 164:10-11, 164:15-18,
99:16-99:16                    165:3-11, 172:12-18                R, P, H, A, F, SM, L (163:2-164:1)
100:14-101:1                   35:23-36:5, 36:7-20, 163:2-164:1   R, P, H, A, F, SM, L (163:2-164:1)
101:12-101:13
101:15-101:19
101:21-101:25
102:2-102:9
102:10-102:12
102:14-102:15
102:21-102:23
104:16-104:18                  35:23-36:5, 36:7-20
104:20-104:21                  35:23-36:5, 36:7-20
104:23-105:2                   35:23-36:5, 36:7-20
                                                                                                               107:20-21;
106:4-106:24                                                      R, P (142:20-23)                             108:4-8
                               106:25-107:4, 107:14-19, 108:9-11,                                              107:20-21;
107:5-107:10    FRE 403        114:8-22, 142:20-23                R, P (142:20-23)                             108:4-8
                               106:25-107:4, 107:14-19, 108:9-11,                                              107:20-21;
107:11-107:13   FRE 403        114:8-22, 142:20-23                R, P (142:20-23)                             108:4-8
                   Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24            Page 159 of 227
                                                       PageID #: 11944

                                106:25-107:4, 107:14-19, 108:9-11,                                             107:20-21;
108:12-108:14   FRE 403         114:8-22, 142:20-23                R, P (142:20-23)                            108:4-8
                FRE 403         106:25-107:4, 107:14-19, 108:9-11,                                             107:20-21;
108:16-108:17                   114:8-22, 142:20-23                R, P (142:20-23)                            108:4-8
                FRE 403; Atty   106:25-107:4, 107:14-19, 108:9-11,                                             107:20-21;
108:25-109:7                    114:8-22, 142:20-23                R, P (142:20-23)                            108:4-8
                                106:25-107:4, 107:14-19, 108:9-11,                                             107:20-21;
110:24-111:12                   114:8-22, 142:20-23                R, P (142:20-23)                            108:4-8
                                106:25-107:4, 107:14-19, 108:9-11,                                             107:20-21;
111:14-111:15                   114:8-22, 142:20-23                R, P (142:20-23)                            108:4-8
                                106:25-107:4, 107:14-19, 108:9-11,                                             107:20-21;
111:17-112:1                    114:8-22, 142:20-23                R, P (142:20-23)                            108:4-8
                                106:25-107:4, 107:14-19, 108:9-11,                                             107:20-21;
112:2-112:5                     114:8-22, 142:20-23                R, P (142:20-23)                            108:4-8
                                106:25-107:4, 107:14-19, 108:9-11,                                             107:20-21;
112:7-112:7                     114:8-22, 142:20-23                R, P (142:20-23)                            108:4-8
                                106:25-107:4, 107:14-19, 108:9-11,                                             107:20-21;
112:19-112:22                   114:8-22, 142:20-23                R, P (142:20-23)                            108:4-8
                                106:25-107:4, 107:14-19, 108:9-11,                                             107:20-21;
113:10-113:15                   114:8-22, 142:20-23                R, P (142:20-23)                            108:4-8
                                106:25-107:4, 107:14-19, 108:9-11,                                             107:20-21;
113:16-113:21                   114:8-22, 142:20-23                R, P (142:20-23)                            108:4-8
                                106:25-107:4, 107:14-19, 108:9-11,                                             107:20-21;
113:23-113:25                   114:8-22, 142:20-23                R, P (142:20-23)                            108:4-8
                                106:25-107:4, 107:14-19, 108:9-11,                                             107:20-21;
114:2-114:3                     114:8-22, 142:20-23                R, P (142:20-23)                            108:4-8
                                106:25-107:4, 107:14-19, 108:9-11, 106:25-107:4, 107:14-19, 108:9-11, 114:8-
114:5-114:6                     114:8-22, 142:20-23                22, 142:20-23
118:15-118:16   FRE 602
119:18-119:23   FRE 602
119:24-120:1    FRE 602
120:3-120:6     FRE 602
122:8-122:12    FRE 602
122:14-122:14   FRE 602
                   Case 2:23-cv-00059-JRG-RSP   Document 215-6 Filed 10/04/24   Page 160 of 227
                                                 PageID #: 11945

122:16-122:24   FRE 602
123:1-123:2     FRE 602
123:5-123:7     FRE 106, 602
123:9-123:9     FRE 602
124:5-124:7     FRE 602
124:9-124:23    FRE 602
124:25-125:2    FRE 602
125:25-126:2    FRE 602
                FRE 402, 403,
126:4-126:18    602
                FRE 402, 403,
126:20-126:24   602
127:1-127:7     FRE 602
                FRE 402, 403,
127:9-127:15    602
                FRE 402, 403,
127:17-127:17   602
127:19-128:5    FRE 602
128:7-128:13    FRE 602
128:15-128:24   FRE 602
128:25-129:1    FRE 602
                FRE 402, 403,
129:2-129:12    602
                FRE 402, 403,
129:14-129:19   602
129:21-129:21   FRE 602
129:23-130:19   FRE 602
130:21-130:21   FRE 602
131:2-131:10    FRE 602
131:12-131:12   FRE 602
                Case 2:23-cv-00059-JRG-RSP      Document 215-6 Filed 10/04/24             Page 161 of 227
                                                 PageID #: 11946

                                                             R, P (139:18-21, 139:23-140:1, 142:20-23,
                          133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                          136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                          142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
131:15-132:3              162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                             R, P (139:18-21, 139:23-140:1, 142:20-23,
                          133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                          136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                          142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
132:4-132:6               162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                             R, P (139:18-21, 139:23-140:1, 142:20-23,
                          133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                          136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                          142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
132:13-132:19             162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                             R, P (139:18-21, 139:23-140:1, 142:20-23,
                          133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                          136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                          142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
132:21-132:22             162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                             R, P (139:18-21, 139:23-140:1, 142:20-23,
                          133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                          136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                          142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
133:2-133:10              162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                             R, P (139:18-21, 139:23-140:1, 142:20-23,
                          133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                          136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                          142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
133:12-133:13             162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                Case 2:23-cv-00059-JRG-RSP      Document 215-6 Filed 10/04/24             Page 162 of 227
                                                 PageID #: 11947

                                                             R, P (139:18-21, 139:23-140:1, 142:20-23,
                          133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                          136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                          142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
136:13-137:2              162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                             R, P (139:18-21, 139:23-140:1, 142:20-23,
                          133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                          136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                          142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
137:3-137:14              162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                             R, P (139:18-21, 139:23-140:1, 142:20-23,
                          133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                          136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                          142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
137:16-137:19             162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                             R, P (139:18-21, 139:23-140:1, 142:20-23,
                          133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                          136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                          142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
137:21-137:21             162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                             R, P (139:18-21, 139:23-140:1, 142:20-23,
                          133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                          136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                          142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
138:1-138:3               162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                             R, P (139:18-21, 139:23-140:1, 142:20-23,
                          133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                          136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                          142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
138:5-138:6               162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                       Case 2:23-cv-00059-JRG-RSP      Document 215-6 Filed 10/04/24             Page 163 of 227
                                                        PageID #: 11948

                                                                    R, P (139:18-21, 139:23-140:1, 142:20-23,
                                 133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                                 136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                                 142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
138:8-138:9                      162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                                 133:15-18, 133:20-21, 136:2-9,
                                 136:11, 139:18-21, 139:23-140:1,
                                 142:20-23, 161:13-23, 162:10-12,
138:8-138:13    Atty             162:16-20
                                                                    R, P (139:18-21, 139:23-140:1, 142:20-23,
                                 133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                                 136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                                 142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
138:15-138:21                    162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                                    R, P (139:18-21, 139:23-140:1, 142:20-23,
                                 133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                                 136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                                 142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
139:7-139:8                      162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                                    R, P (139:18-21, 139:23-140:1, 142:20-23,
                                 133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                                 136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                                 142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
139:10-139:11                    162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                                    R, P (139:18-21, 139:23-140:1, 142:20-23,
                                 133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                                 136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                                 142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
140:3-140:5                      162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                                    R, P (139:18-21, 139:23-140:1, 142:20-23,
                                 133:15-18, 133:20-21, 136:2-9,     161:13-23, 162:10-12, 162:16-20)
                                 136:11, 139:18-21, 139:23-140:1,   SM (139:18-21, 139:23-140:1, 161:13-23,
                                 142:20-23, 161:13-23, 162:10-12,   162:10-12, 162:16-20)
140:7-140:9                      162:16-20                          H, A, F (161:13-23, 162:10-12, 162:16-20)
                   Case 2:23-cv-00059-JRG-RSP       Document 215-6 Filed 10/04/24             Page 164 of 227
                                                     PageID #: 11949

                                                                 R, P (139:18-21, 139:23-140:1, 142:20-23,
                             133:15-18, 133:20-21, 136:2-9,      161:13-23, 162:10-12, 162:16-20)
                             136:11, 139:18-21, 139:23-140:1,    SM (139:18-21, 139:23-140:1, 161:13-23,
                             142:20-23, 161:13-23, 162:10-12,    162:10-12, 162:16-20)
140:22-141:8                 162:16-20                           H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                                 R, P (139:18-21, 139:23-140:1, 142:20-23,
                             133:15-18, 133:20-21, 136:2-9,      161:13-23, 162:10-12, 162:16-20)
                             136:11, 139:18-21, 139:23-140:1,    SM (139:18-21, 139:23-140:1, 161:13-23,
                             142:20-23, 161:13-23, 162:10-12,    162:10-12, 162:16-20)
141:10-141:13                162:16-20                           H, A, F (161:13-23, 162:10-12, 162:16-20)
                                                                 R, P (139:18-21, 139:23-140:1, 142:20-23,
                             133:15-18, 133:20-21, 136:2-9,      161:13-23, 162:10-12, 162:16-20)
                             136:11, 139:18-21, 139:23-140:1,    SM (139:18-21, 139:23-140:1, 161:13-23,
                             142:20-23, 161:13-23, 162:10-12,    162:10-12, 162:16-20)
141:15-141:15                162:16-20                           H, A, F (161:13-23, 162:10-12, 162:16-20)
                             133:15-18, 133:20-21, 136:2-9,
                             136:11, 139:18-21, 139:23-140:1,
                             142:20-23, 161:13-23, 162:10-12, R, P (21:18-23, 142:20-23)
141:17-141:20                162:16-20                           SM (21:18-23)
                             13:14-24, 14:4-12, 15:11-15, 21:18- R, P (21:18-23, 142:20-23)
142:24-143:13   FRE 403      23, 142:20-23                       SM (21:18-23)
                             13:14-24, 14:4-12, 15:11-15, 21:18- R, P (21:18-23, 142:20-23)
143:15-143:18   FRE 403      23, 142:20-23                       SM (21:18-23)
                             13:14-24, 14:4-12, 15:11-15, 21:18-
144:10-144:12   FRE 403      23, 142:20-23
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24         Page 165 of 227
                                                            PageID #: 11950


                                         Testifying Witness: Villaceran, Ramon
Touchstream'
   s Initial   Comcast's                                                                          Touchstream's Counter-
Designations Objections       Comcast's Counter-Designations       Touchstream's Objections             Counters
7:11-7:13
11:24-12:3   FRE 106       13:7-17, 13:23-14:23                  R, IM (13:7-17, 13:23)
15:10-15:17                195:9-196:5
15:25-16:7                 195:9-196:5
                                                                                              68: 12-13, 68: 15-16, 68: 19-20;
17:3-19:25    Atty         68:1-10                                                            68: 22-23; 69:1-2; 69:5
21:12-22:25   Atty         25:13-19, 25:21, 195:9-196:5
23:2-24:10    Atty         25:13-19, 25:21, 195:9-196:5
26:19-26:21                27:25-28:1, 28:3-4, 195:9-196:5
26:23-27:1                 27:25-28:1, 28:3-4, 195:9-196:5
                           27:25-28:1, 28:3-4, 68:1-10, 195:9-                                68: 12-13, 68: 15-16, 68: 19-20;
29:16-30:6                 196:5                                                              68: 22-23; 69:1-2; 69:5
31:17-33:16                34:18-35:23, 36:5-13, 46:23-47:11                                  47:12-13, 47: 15-18
33:7-33:14                 34:18-35:23, 36:5-13, 46:23-47:11                                  47:12-13, 47: 15-18
                                                                                              47:12-13, 47: 15-18, 68: 12-13,
                           34:18-35:23, 36:5-13, 46:23-47:11,                                 68: 15-16, 68: 19-20; 68: 22-23;
36:17-37:21                68:1-10                                                            69:1-2; 69:5
                                                                                              47:12-13, 47: 15-18, 68: 12-13,
                           34:18-35:23, 36:5-13, 46:23-47:11,                                 68: 15-16, 68: 19-20; 68: 22-23;
37:23-39:11                68:1-10                                                            69:1-2; 69:5
                                                                                              68: 12-13, 68: 15-16, 68: 19-20;
39:13-41:7                 68:1-10                                                            68: 22-23; 69:1-2; 69:5
                                                                                              47:12-13, 47: 15-18, 68: 12-13,
                           34:18-35:23, 36:5-13, 46:23-47:11,                                 68: 15-16, 68: 19-20; 68: 22-23;
43:3-43:22                 51:25-52:11, 52:14-19, 68:1-10                                     69:1-2; 69:5
                           34:18-35:23, 36:5-13, 46:23-47:11,
44:8-46:8     Atty         51:25-52:11, 52:14-19                                              47:12-13, 47: 15-18
                           34:18-35:23, 36:5-13, 46:23-47:11,
48:3-48:6                  51:25-52:11, 52:14-19                                              47:12-13, 47: 15-18
              Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24      Page 166 of 227
                                                   PageID #: 11951

                  34:18-35:23, 36:5-13, 46:23-47:11,
48:8-49:2         51:25-52:11, 52:14-19                                           47:12-13, 47: 15-18
                  34:18-35:23, 36:5-13, 46:23-47:11,
49:3-49:7         51:25-52:11, 52:14-19                                           47:12-13, 47: 15-18
                  27:25-28:1, 28:3-4, 68:1-10, 195:9-                             68: 12-13, 68: 15-16, 68: 19-20;
49:21-49:22       196:5                                                           68: 22-23; 69:1-2; 69:5
                  27:25-28:1, 28:3-4, 68:1-10, 195:9-                             68: 12-13, 68: 15-16, 68: 19-20;
49:25-50:1        196:5                                                           68: 22-23; 69:1-2; 69:5
                  27:25-28:1, 28:3-4, 68:1-10, 195:9-                             68: 12-13, 68: 15-16, 68: 19-20;
50:5-50:19        196:5                                                           68: 22-23; 69:1-2; 69:5
                  27:25-28:1, 28:3-4, 68:1-10, 195:9-                             68: 12-13, 68: 15-16, 68: 19-20;
50:21-50:21       196:5                                                           68: 22-23; 69:1-2; 69:5
                                                                                  68: 12-13, 68: 15-16, 68: 19-20;
51:10-51:20       50:25-51:9, 68:1-10                                             68: 22-23; 69:1-2; 69:5
                                                                                  47:12-13, 47: 15-18, 68: 12-13,
                  34:18-35:23, 36:5-13, 46:23-47:11,                              68: 15-16, 68: 19-20; 68: 22-23;
54:8-54:17        51:25-52:11, 52:14-19, 68:1-10                                  69:1-2; 69:5
                                                                                  47:12-13, 47: 15-18, 68: 12-13,
                  34:18-35:23, 36:5-13, 46:23-47:11,                              68: 15-16, 68: 19-20; 68: 22-23;
54:8-55:8         51:25-52:11, 52:14-19, 68:1-10                                  69:1-2; 69:5
                                                                                  47:12-13, 47: 15-18, 68: 12-13,
                  34:18-35:23, 36:5-13, 46:23-47:11,                              68: 15-16, 68: 19-20; 68: 22-23;
56:12-56:19       51:25-52:11, 52:14-19, 68:1-10                                  69:1-2; 69:5
                                                                                  47:12-13, 47: 15-18, 68: 12-13,
                  34:18-35:23, 36:5-13, 46:23-47:11,                              68: 15-16, 68: 19-20; 68: 22-23;
56:21-57:21       51:25-52:11, 52:14-19, 68:1-10                                  69:1-2; 69:5
                                                                                  47:12-13, 47: 15-18, 68: 12-13,
                  34:18-35:23, 36:5-13, 46:23-47:11,                              68: 15-16, 68: 19-20; 68: 22-23;
57:24-57:24       51:25-52:11, 52:14-19, 68:1-10                                  69:1-2; 69:5
                                                                                  47:12-13, 47: 15-18, 68: 12-13,
                  34:18-35:23, 36:5-13, 46:23-47:11,                              68: 15-16, 68: 19-20; 68: 22-23;
58:1-58:7         51:25-52:11, 52:14-19, 68:1-10                                  69:1-2; 69:5
                        Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24             Page 167 of 227
                                                              PageID #: 11952

                                                                                                    47:12-13, 47: 15-18, 68: 12-13,
                            34:18-35:23, 36:5-13, 46:23-47:11,                                      68: 15-16, 68: 19-20; 68: 22-23;
59:5-59:11                  51:25-52:11, 52:14-19, 68:1-10                                          69:1-2; 69:5
59:13-59:14
                                                                                                    68: 12-13, 68: 15-16, 68: 19-20;
63:3-63:7                   68:1-10                                                                 68: 22-23; 69:1-2; 69:5
                                                                                                    68: 12-13, 68: 15-16, 68: 19-20;
63:11-63:22                 68:1-10                                                                 68: 22-23; 69:1-2; 69:5
71:9-72:12    Atty          34:18-35:23, 36:5-13, 46:23-47:11                                       47:12-13, 47: 15-18
                                                                                                    68: 12-13, 68: 15-16, 68: 19-20;
72:14-72:21                 51:25-52:11, 52:14-19, 68:1-10                                          68: 22-23; 69:1-2; 69:5
                                                                                                    68: 12-13, 68: 15-16, 68: 19-20;
72:23-72:23                 51:25-52:11, 52:14-19, 68:1-10                                          68: 22-23; 69:1-2; 69:5
74:6-74:15    Atty
                                                                     R, P, SM, H, F, SCOPE (75:1-
                                                                     76:5)                          76:25-77:7; 77:20-24; 78:7-9:
78:23-79:4                  75:1-76:5, 77:9-16                       O (75:1-76:5, 77:9-16)         78:11-20; 82:11-17; 82: 19
                                                                     R, P, SM, H, F, SCOPE (75:1-
                                                                     76:5)                          76:25-77:7; 77:20-24; 78:7-9:
79:15-79:16                 75:1-76:5, 77:9-16                       O (75:1-76:5, 77:9-16)         78:11-20; 82:11-17; 82: 19
                                                                     R, P, SM, H, F, SCOPE (75:1-
                                                                     76:5)                          76:25-77:7; 77:20-24; 78:7-9:
79:18-79:22                 75:1-76:5, 77:9-16                       O (75:1-76:5, 77:9-16)         78:11-20; 82:11-17; 82: 19
                                                                     R, P, SM, H, F, SCOPE (75:1-
                                                                     76:5)                          76:25-77:7; 77:20-24; 78:7-9:
79:24-80:1    FRE 602       75:1-76:5, 77:9-16                       O (75:1-76:5, 77:9-16)         78:11-20; 82:11-17; 82: 19

                                                                     R, P, SM, H, SCOPE (75:1-76:5)
                                                                     O (75:1-76:5, 77:9-16)
                                                                     F (75:1-76:5, 81:25-82:5, 82:7- 76:25-77:7; 77:20-24; 78:7-9:
80:4-80:15    FRE 602       75:1-76:5, 77:9-16, 81:25-82:5, 82:7-8   8)                              78:11-20; 82:11-17; 82: 19
84:4-84:8
84:9-84:17
85:11-85:16
                        Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24           Page 168 of 227
                                                            PageID #: 11953

                                                                 R, P, SM, H, F, SCOPE (75:1-
                                                                 76:5)                          76:25-77:7; 77:20-24; 78:7-9:
87:7-87:24                  75:1-76:5, 77:9-16                   O (75:1-76:5, 77:9-16)         78:11-20; 82:11-17; 82: 19
119:18-
119:21

119:23-120:2
138:16-
138:23       FRE 106        139:5-7, 195:9-196:5

138:24-139:2 FRE 106        139:5-7, 195:9-196:5
139:3-139:4 FRE 106         139:5-7, 195:9-196:5

139:8-139:13 FRE 106        139:5-7, 195:9-196:5
142:18-                     143:7-8, 143:12-13, 143:15, 195:9-
142:25       FRE 106        196:5
                            143:7-8, 143:12-13, 143:15, 195:9-
143:1-143:4   FRE 106       196:5
                            143:7-8, 143:12-13, 143:15, 195:9-
143:9-143:11 FRE 106        196:5
153:12-
153:23       FRE 106        154:13-18

153:25-154:4 FRE 106        154:13-18
154:6-154:6 FRE 106         154:13-18
                            34:18-35:23, 36:5-13, 46:23-47:11,
                            157:9-11, 157:13, 157:15-158:10,
156:2-156:8   FRE 602       159:2-5                                                             47:12-13, 47: 15-18
                            34:18-35:23, 36:5-13, 46:23-47:11,
                            157:9-11, 157:13, 157:15-158:10,
156:24-157:1 FRE 602        159:2-5                                                             47:12-13, 47: 15-18
                         Case 2:23-cv-00059-JRG-RSP         Document 215-6 Filed 10/04/24           Page 169 of 227
                                                             PageID #: 11954

                                                                  R, P, SM, H, F, SCOPE (75:1-
                                                                  76:5, 161:23-162:11, 162:19-
                                                                  163:15)                        76:25-77:7; 77:20-24; 78:7-9:
160:19-                      75:1-76:5, 77:9-16, 161:23-162:11,   O (75:1-76:5, 77:9-16, 161:23- 78:11-20; 82:11-17; 82: 19,
160:21                       162:19-163:15                        162:11, 162:19-163:15)         162:13-17
                                                                  R, P, SM, H, F, SCOPE (75:1-
                                                                  76:5, 161:23-162:11, 162:19-
                                                                  163:15)                        76:25-77:7; 77:20-24; 78:7-9:
                             75:1-76:5, 77:9-16, 161:23-162:11,   O (75:1-76:5, 77:9-16, 161:23- 78:11-20; 82:11-17; 82: 19,
161:4-161:7                  162:19-163:15                        162:11, 162:19-163:15)         162:13-17
                                                                  R, P, SM, H, F, SCOPE (75:1-
                                                                  76:5, 161:23-162:11, 162:19-
                                                                  163:15)                        76:25-77:7; 77:20-24; 78:7-9:
                             75:1-76:5, 77:9-16, 161:23-162:11,   O (75:1-76:5, 77:9-16, 161:23- 78:11-20; 82:11-17; 82: 19,
161:9-161:9                  162:19-163:15                        162:11, 162:19-163:15)         162:13-17
                                                                  R, P, SM, H, F, SCOPE (75:1-
                                                                  76:5, 161:23-162:11, 162:19-
                                                                  163:15)                        76:25-77:7; 77:20-24; 78:7-9:
161:19-                      75:1-76:5, 77:9-16, 161:23-162:11,   O (75:1-76:5, 77:9-16, 161:23- 78:11-20; 82:11-17; 82: 19,
161:22                       162:19-163:15                        162:11, 162:19-163:15)         162:13-17
                                                                  R, P, SM, H, F, SCOPE (75:1-
                                                                  76:5, 161:23-162:11, 162:19-
                                                                  163:15)                        76:25-77:7; 77:20-24; 78:7-9:
                             75:1-76:5, 77:9-16, 161:23-162:11,   O (75:1-76:5, 77:9-16, 161:23- 78:11-20; 82:11-17; 82: 19,
165:9-165:22 FRE 602         162:19-163:15                        162:11, 162:19-163:15)         162:13-17
                                                                  R, P, SM, H, F, SCOPE (75:1-
                                                                  76:5, 161:23-162:11, 162:19-
                                                                  163:15)                        76:25-77:7; 77:20-24; 78:7-9:
165:24-                      75:1-76:5, 77:9-16, 161:23-162:11,   O (75:1-76:5, 77:9-16, 161:23- 78:11-20; 82:11-17; 82: 19,
165:25         FRE 602       162:19-163:15                        162:11, 162:19-163:15)         162:13-17

170:7-170:10
170:15-
170:19
                         Case 2:23-cv-00059-JRG-RSP        Document 215-6 Filed 10/04/24      Page 170 of 227
                                                            PageID #: 11955

                                                                                           68: 12-13, 68: 15-16, 68: 19-20;
178:6-178:8                  68:1-10                                                       68: 22-23; 69:1-2; 69:5
178:10-                                                                                    68: 12-13, 68: 15-16, 68: 19-20;
178:11                       68:1-10                                                       68: 22-23; 69:1-2; 69:5
                             181:23-182:9, 184:4-185:6, 185:20-22,
183:6-183:12 FRE 106         185:24-186:5
                             181:23-182:9, 184:4-185:6, 185:20-22,
183:13-184:3 FRE 106         185:24-186:5
                             181:23-182:9, 184:4-185:6, 185:20-22,
187:1-187:4    FRE 106       185:24-186:5
                             181:23-182:9, 184:4-185:6, 185:20-22,
187:25-188:3 FRE 106, 611    185:24-186:5
                             181:23-182:9, 184:4-185:6, 185:20-22,
188:5-188:8    FRE 106       185:24-186:5
188:11-                      181:23-182:9, 184:4-185:6, 185:20-22,
188:15         FRE 106       185:24-186:5
188:16-                      181:23-182:9, 184:4-185:6, 185:20-22,
188:17         FRE 106       185:24-186:5
                             181:23-182:9, 184:4-185:6, 185:20-22,
189:9-189:11 FRE 106         185:24-186:5
191:22-                      181:23-182:9, 184:4-185:6, 185:20-22,
191:25       FRE 106, 611    185:24-186:5
                             181:23-182:9, 184:4-185:6, 185:20-22,
192:2-192:5                  185:24-186:5
                             181:23-182:9, 184:4-185:6, 185:20-22,
192:8-193:1                  185:24-186:5
193:19-                      181:23-182:9, 184:4-185:6, 185:20-22,
193:25                       185:24-186:5
                             181:23-182:9, 184:4-185:6, 185:20-22,
194:2-194:5                  185:24-186:5
                             181:23-182:9, 184:4-185:6, 185:20-22,
197:3-197:5                  185:24-186:5
                             181:23-182:9, 184:4-185:6, 185:20-22,
197:7-197:13                 185:24-186:5
                    Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24                Page 171 of 227
                                                           PageID #: 11956


                                      Testifying Witness: Werner, Anthony
 Touchstream's
     Initial     Comcast's           Comcast's Counter                                              Touchstream's Counter-
  Designations   Objections            Designations                Touchstream's Objections               Counters
7:10-7:16
17:4-17:6      FRE 106         17:11-16, 19:3-10
                               19:15-16, 19:18, 20:11-12,        P, SM (20:11-12, 20:14-16)
                               20:14-16, 22:25-23:2, 27:12-13,   I (22:25-23:2)
21:2-21:6      FRE 106         27:16-24, 28:7-16                 F (27:12-13, 27:16-24, 28:7-16)   20:3-9, 23:4
                               19:15-16, 19:18, 20:11-12,        P, SM (20:11-12, 20:14-16)
                               20:14-16, 22:25-23:2, 27:12-13,   I (22:25-23:2)
21:8-21:12     FRE 106         27:16-24, 28:7-16                 F (27:12-13, 27:16-24, 28:7-16)   20:3-9, 23:4
                               19:15-16, 19:18, 20:11-12,        P, SM (20:11-12, 20:14-16)
                               20:14-16, 22:25-23:2, 27:12-13,   I (22:25-23:2)
22:12-22:14    FRE 106         27:16-24, 28:7-16                 F (27:12-13, 27:16-24, 28:7-16)   20:3-9, 23:4
                               19:15-16, 19:18, 20:11-12,        P, SM (20:11-12, 20:14-16)
                               20:14-16, 22:25-23:2, 27:12-13,   I (22:25-23:2)
22:16-22:18    FRE 106         27:16-24, 28:7-16                 F (27:12-13, 27:16-24, 28:7-16)   20:3-9, 23:4
                               19:15-16, 19:18, 20:11-12,
                               20:14-16, 22:25-23:2, 23:6-7,    P, SM (20:11-12, 20:14-16)
               FRE 106, 402,   23:9, 23:16-17, 23:19-21, 24:12- I (22:25-23:2)
23:11-23:15    403             17, 27:12-13, 27:16-24, 28:7-16 F (27:12-13, 27:16-24, 28:7-16) 20:3-9, 23:4
                               19:15-16, 19:18, 20:11-12,
                               20:14-16, 22:25-23:2, 23:6-7,    P, SM (20:11-12, 20:14-16)
               FRE 106, 402,   23:9, 23:16-17, 23:19-21, 24:12- I (22:25-23:2)
24:7-24:8      403             17, 27:12-13, 27:16-24, 28:7-16 F (27:12-13, 27:16-24, 28:7-16) 20:3-9, 23:4
                               19:15-16, 19:18, 20:11-12,
                               20:14-16, 22:25-23:2, 23:6-7,    P, SM (20:11-12, 20:14-16)
               FRE 106, 402,   23:9, 23:16-17, 23:19-21, 24:12- I (22:25-23:2)
24:9-24:11     403             17, 27:12-13, 27:16-24, 28:7-16 F (27:12-13, 27:16-24, 28:7-16) 20:3-9, 23:4
                               19:15-16, 19:18, 20:11-12,       P, SM (20:11-12, 20:14-16)
                               20:14-16, 22:25-23:2, 27:12-13, I (22:25-23:2)
24:18-24:21    FRE 106         27:16-24, 28:7-16                F (27:12-13, 27:16-24, 28:7-16) 20:3-9, 23:4
                   Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24                Page 172 of 227
                                                          PageID #: 11957

                              19:15-16, 19:18, 20:11-12,        P, SM (20:11-12, 20:14-16)
                              20:14-16, 22:25-23:2, 27:12-13,   I (22:25-23:2)
24:23-25:5    FRE 106         27:16-24, 28:7-16                 F (27:12-13, 27:16-24, 28:7-16)   20:3-9, 23:4
                              19:15-16, 19:18, 20:11-12,        P, SM (20:11-12, 20:14-16)
                              20:14-16, 22:25-23:2, 27:12-13,   I (22:25-23:2)
25:14-26:6    FRE 106         27:16-24, 28:7-16                 F (27:12-13, 27:16-24, 28:7-16)   20:3-9, 23:4
                              19:15-16, 19:18, 20:11-12,        P, SM (20:11-12, 20:14-16)
                              20:14-16, 22:25-23:2, 27:12-13,   I (22:25-23:2)
26:7-26:6     FRE 106         27:16-24, 28:7-16                 F (27:12-13, 27:16-24, 28:7-16)   20:3-9, 23:4
                              19:15-16, 19:18, 20:11-12,        P, SM (20:11-12, 20:14-16)
                              20:14-16, 22:25-23:2, 27:12-13,   I (22:25-23:2)
27:25-28:1    FRE 106         27:16-24, 28:7-16                 F (27:12-13, 27:16-24, 28:7-16)   20:3-9, 23:4
                              19:15-16, 19:18, 20:11-12,        P, SM (20:11-12, 20:14-16)
                              20:14-16, 22:25-23:2, 27:12-13,   I (22:25-23:2)
28:3-28:5     FRE 106         27:16-24, 28:7-16                 F (27:12-13, 27:16-24, 28:7-16)   20:3-9, 23:4
                              19:15-16, 19:18, 20:11-12,        P, SM (20:11-12, 20:14-16)
                              20:14-16, 22:25-23:2, 27:12-13,   I (22:25-23:2)
28:17-28:19   FRE 106         27:16-24, 28:7-16                 F (27:12-13, 27:16-24, 28:7-16)   20:3-9, 23:4
                              19:15-16, 19:18, 20:11-12,        P, SM (20:11-12, 20:14-16)
                              20:14-16, 22:25-23:2, 27:12-13,   I (22:25-23:2)
28:25-29:9    FRE 106         27:16-24, 28:7-16                 F (27:12-13, 27:16-24, 28:7-16)   20:3-9, 23:4
              FRE 106, 402,
29:19-30:7    403             178:20-180:6                      L, SM, P (178:20-180:6)
30:8-30:11    FRE 402, 403    178:20-180:6                      L, SM, P (178:20-180:6)
30:11-30:19   FRE 402, 403    178:20-180:6                      L, SM, P (178:20-180:6)
30:20-30:22   FRE 402, 403    178:20-180:6                      L, SM, P (178:20-180:6)
30:24-31:3    FRE 402, 403    178:20-180:6                      L, SM, P (178:20-180:6)
31:11-31:13   FRE 402, 403
31:15-31:16   FRE 402, 403
              FRE 106, 402,
36:14-36:15   403             36:6-13, 38:8-15                  R, P, SM (36:6-13)
              FRE 106, 402,
36:17-36:17   403             36:6-13, 38:2-6, 38:8-15          R, P, SM (36:6-13)
                   Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24   Page 173 of 227
                                                          PageID #: 11958

              FRE 106, 402,
36:19-36:23   403             36:6-13, 38:2-6, 38:8-15       R, P, SM (36:6-13)
              FRE 106, 402,
37:8-37:11    403             36:6-13, 38:2-6, 38:8-15       R, P, SM (36:6-13)
              FRE 106, 402,
37:13-37:25   403             36:6-13, 38:2-6, 38:8-15       R, P, SM (36:6-13)
38:17-39:2
39:3-39:14
              FRE 106, 402,
39:15-39:16   403
              FRE 106, 402,
39:18-39:20   403
              FRE 106, 402,
40:18-41:1    403
              FRE 106, 402,
41:11-41:19   403
41:22-42:4    FRE 106, 402    42:6-42:6
42:7-42:19    FRE 106, 402
42:21-42:23   FRE 106, 402
43:14-43:16   FRE 402, 403
43:18-43:18   FRE 402, 403
43:20-43:22
44:17-44:19   FRE 602
44:21-44:22   FRE 602
44:24-45:1    FRE 602
              FRE 106, 402,
45:6-45:14    403             45:16-17
              FRE 106, 402,
45:19-46:3    403
              FRE 106, 402,
46:5-46:22    403, 602, 802   46:23-47:1, 47:3-6             47:8-17
              FRE 402, 403,
51:12-51:17   602             19:3-10
55:8-55:17    FRE 106, 602
                   Case 2:23-cv-00059-JRG-RSP               Document 215-6 Filed 10/04/24         Page 174 of 227
                                                             PageID #: 11959

55:23-55:25   FRE 106, 602
56:1-56:10    FRE 106, 602
56:11-56:12   FRE 106, 602
56:14-56:23   FRE 106, 602
57:6-57:12    FRE 106, 602
              FRE 106, 602,
60:8-60:12    802             27:12-13, 27:16-24, 28:7-16       F (27:12-13, 27:16-24, 28:7-16)
              FRE 106, 602,
60:18-60:23   802             27:12-13, 27:16-24, 28:7-16       F (27:12-13, 27:16-24, 28:7-16)
              FRE 106, 602,
60:24-61:1    802             27:12-13, 27:16-24, 28:7-16       F (27:12-13, 27:16-24, 28:7-16)
              FRE 106, 602,
61:3-61:8     802             27:12-13, 27:16-24, 28:7-16       F (27:12-13, 27:16-24, 28:7-16)
              FRE 402, 403,
63:23-64:5    602, 802
              FRE 402, 403,
64:8-64:10    602, 802
              FRE 402, 403,
64:12-65:5    602, 802
              FRE 402, 403,
65:7-65:8     602, 802
              FRE 402, 403,
65:24-66:11   602, 802
68:10-68:14   FRE 106         27:12-13, 27:16-24, 28:7-16       F (27:12-13, 27:16-24, 28:7-16)
68:16-68:23   FRE 106         27:12-13, 27:16-24, 28:7-16       F (27:12-13, 27:16-24, 28:7-16)
              FRE 106, 602,
69:15-70:1    802
              FRE 106, 602,
70:3-70:4     802
              FRE 106, 602,
70:9-70:15    802
              FRE 106, 602,
70:16-70:21   802
                   Case 2:23-cv-00059-JRG-RSP               Document 215-6 Filed 10/04/24         Page 175 of 227
                                                             PageID #: 11960

              FRE 106, 602,
70:23-71:11   802
              FRE 106, 602,
71:12-71:14   802             27:12-13, 27:16-24, 28:7-16       F (27:12-13, 27:16-24, 28:7-16)
              FRE 106, 602,
71:16-71:19   802             27:12-13, 27:16-24, 28:7-16       F (27:12-13, 27:16-24, 28:7-16)
              FRE 106, 602,
71:21-71:24   802             27:12-13, 27:16-24, 28:7-16       F (27:12-13, 27:16-24, 28:7-16)
              FRE 106, 602,
72:1-72:2     802             27:12-13, 27:16-24, 28:7-16       F (27:12-13, 27:16-24, 28:7-16)
              FRE 106, 602,
72:4-72:19    802; Atty       27:12-13, 27:16-24, 28:7-16       F (27:12-13, 27:16-24, 28:7-16)
73:14-73:23
73:25-73:25
74:2-74:4
74:5-74:10
74:14-74:25                   75:1-8
              FRE 106, 602,
76:1-76:10    802             75:1-8
              FRE 106, 602,
76:11-76:13   802             75:1-8
              FRE 106, 602,
76:15-76:15   802             75:1-8
              FRE 106, 602,
76:16-76:20   802             75:1-8
              FRE 106, 402,
77:8-77:16    403, 802        156:2-6, 156:8-13, 178:20-180:6
              FRE 106, 402,
77:18-77:21   403, 802        156:2-6, 156:8-13, 178:20-180:6
              FRE 106, 402,
77:23-77:24   403, 802        156:2-6, 156:8-13, 178:20-180:6
              FRE 106, 402,
78:1-78:5     403, 602, 802   156:2-6, 156:8-13, 178:20-180:6
                   Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24      Page 176 of 227
                                                          PageID #: 11961

              FRE 106, 402,
78:22-79:1    403, 602, 802   78:11-14, 81:24-82:2
              FRE 106, 402,
79:3-79:9     403, 602, 802   78:11-14, 81:24-82:2
              FRE 106, 402,
79:11-80:8    403, 602, 802   78:11-14, 80:9-19, 81:24-82:2
              FRE 106, 402,
81:2-81:5     403, 602, 802   78:11-14, 80:9-19, 81:24-82:2
              FRE 106, 402,
81:7-81:10    403, 602, 802   78:11-14, 80:9-19, 81:24-82:2
              FRE 106, 402,
81:13-81:18   403, 602, 802   78:11-14, 80:9-19, 81:24-82:2
              FRE 106, 402,
81:20-81:22   403, 602, 802   78:11-14, 80:9-19, 81:24-82:2
              FRE 106, 402,   83:17-19, 83:21-84:1, 84:16-23,
82:12-82:19   403, 602, 802   156:2-6, 156:8-13
              FRE 106, 402,   83:17-19, 83:21-84:1, 84:16-23,
82:20-83:2    403, 602, 802   156:2-6, 156:8-13
              FRE 106, 402,   83:17-19, 83:21-84:1, 84:16-23,
83:5-83:7     403, 602, 802   156:2-6, 156:8-13
              FRE 106, 402,   83:17-19, 83:21-84:1, 84:16-23,
83:9-83:16    403, 602, 802   156:2-6, 156:8-13
              FRE 106, 402,   83:17-19, 83:21-84:1, 84:16-23,
84:3-84:11    403, 602, 802   156:2-6, 156:8-13
              FRE 106, 402,   83:17-19, 83:21-84:1, 84:16-23,
84:13-84:14   403, 602, 802   156:2-6, 156:8-13
                              83:17-19, 83:21-84:1, 86:21-
              FRE 106, 402,   87:4, 87:16-20, 156:2-6, 156:8-
86:12-86:20   403, 602, 802   13                              H, F (86:21-87:4, 87:16-20)
                              83:17-19, 83:21-84:1, 86:21-
              FRE 106, 402,   87:4, 87:16-20, 156:2-6, 156:8-
87:9-87:11    403, 602, 802   13                              H, F (86:21-87:4, 87:16-20)
                   Case 2:23-cv-00059-JRG-RSP             Document 215-6 Filed 10/04/24        Page 177 of 227
                                                           PageID #: 11962

                               83:17-19, 83:21-84:1, 86:21-
              FRE 106, 402,    87:4, 87:16-20, 156:2-6, 156:8-
87:13-87:14   403, 602, 802    13                                H, F (86:21-87:4, 87:16-20)
                               83:17-19, 83:21-84:1, 86:21-
              FRE 106, 402,    87:4, 87:16-20, 156:2-6, 156:8-
87:21-88:17   403, 602, 802    13                                H, F (86:21-87:4, 87:16-20)
                               83:17-19, 83:21-84:1, 86:21-
              FRE 106, 402,    87:4, 87:16-20, 156:2-6, 156:8-
88:18-88:20   403, 602, 802    13                                H, F (86:21-87:4, 87:16-20)
                               83:17-19, 83:21-84:1, 86:21-
              FRE 106, 402,    87:4, 87:16-20, 156:2-6, 156:8-
88:22-88:22   403, 602, 802    13                                H, F (86:21-87:4, 87:16-20)
                               32:16-20, 32:22-33:1, 83:17-19,
              FRE 106, 402,    83:21-84:1, 86:21-87:4, 87:16-    NR (32:16-20, 32:22-33:1)
89:3-89:5     403, 602, 802    20, 156:2-6, 156:8-13             H, F (86:21-87:4, 87:16-20)
                               32:16-20, 32:22-33:1, 83:17-19,
              FRE 106, 402,    83:21-84:1, 86:21-87:4, 87:16-    NR (32:16-20, 32:22-33:1)
89:7-89:13    403, 602, 802    20, 156:2-6, 156:8-13             H, F (86:21-87:4, 87:16-20)
              FRE 106, 402,
              403, 602, 802;   83:17-19, 83:21-84:1, 156:2-6,
89:15-89:21   Atty             156:8-13
              FRE 106, 402,    83:17-19, 83:21-84:1, 156:2-6,
89:23-90:12   403, 602, 802    156:8-13
              FRE 106, 402,    83:17-19, 83:21-84:1, 156:2-6,
90:13-90:16   403, 602, 802    156:8-13
              FRE 106, 402,
              403, 602, 802;   83:17-19, 83:21-84:1, 156:2-6,
90:17-90:23   Atty             156:8-13
                               32:16-20, 32:22-33:1, 83:17-19,
              FRE 106, 402,    83:21-84:1, 86:21-87:4, 87:16- NR (32:16-20, 32:22-33:1)
90:25-91:6    403, 602, 802    20, 156:2-6, 156:8-13           H, F (86:21-87:4, 87:16-20)
              FRE 106, 402,
              403, 602, 802;   32:16-20, 32:22-33:1, 83:17-19,
91:7-91:17    Atty             83:21-84:1, 156:2-6, 156:8-13   NR (32:16-20, 32:22-33:1)
                   Case 2:23-cv-00059-JRG-RSP             Document 215-6 Filed 10/04/24    Page 178 of 227
                                                           PageID #: 11963

              FRE 106, 402,
              403, 602, 611,   32:16-20, 32:22-33:1, 83:17-19,
91:19-91:21   802              83:21-84:1, 156:2-6, 156:8-13   NR (32:16-20, 32:22-33:1)
              FRE 106, 402,
              403, 602, 611,   32:16-20, 32:22-33:1, 83:17-19,
91:23-92:4    802              83:21-84:1, 156:2-6, 156:8-13   NR (32:16-20, 32:22-33:1)

              FRE 106, 402,    32:16-20, 32:22-33:1, 83:17-19,
92:6-92:8     403, 602, 802    83:21-84:1, 156:2-6, 156:8-13   NR (32:16-20, 32:22-33:1)

              FRE 106, 402,    32:16-20, 32:22-33:1, 83:17-19,
92:10-92:10   403, 602, 802    83:21-84:1, 156:2-6, 156:8-13   NR (32:16-20, 32:22-33:1)
              FRE 106, 402,    83:17-19, 83:21-84:1, 156:2-6,
92:12-92:25   403, 602, 802    156:8-13
              FRE 106, 402,    83:17-19, 83:21-84:1, 156:2-6,
93:2-93:5     403, 602, 802    156:8-13

              FRE 106, 402,    32:16-20, 32:22-33:1, 83:17-19,
93:7-93:10    403, 602, 802    83:21-84:1, 156:2-6, 156:8-13   NR (32:16-20, 32:22-33:1)

              FRE 106, 402,    32:16-20, 32:22-33:1, 83:17-19,
93:12-93:12   403, 602, 802    83:21-84:1, 156:2-6, 156:8-13   NR (32:16-20, 32:22-33:1)
              FRE 106, 402,
93:21-93:25   403, 802         156:2-6, 156:8-13, 178:20-180:6
              FRE 106, 402,
94:1-94:7     403, 802         156:2-6, 156:8-13, 178:20-180:6
              FRE 106, 402,
94:9-94:10    403, 802         156:2-6, 156:8-13, 178:20-180:6
              FRE 106, 402,
94:12-94:15   403              156:2-6, 156:8-13, 178:20-180:6
              FRE 106, 402,
94:24-95:1    403              156:2-6, 156:8-13, 178:20-180:6
              FRE 106, 402,
95:2-95:16    403, 802         156:2-6, 156:8-13, 178:20-180:6
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24    Page 179 of 227
                                                            PageID #: 11964

                FRE 106, 402,   95:22-96:6, 96:10-13, 156:2-6,
95:17-95:21     403, 602, 802   156:8-13, 178:20-180:6
                FRE 106, 402,   97:9-11, 97:13-15, 156:2-6,
96:15-96:17     403             156:8-13, 178:20-180:6
                FRE 106, 402,   97:9-11, 97:13-15, 156:2-6,
96:18-96:23     403             156:8-13, 178:20-180:6
                FRE 106, 402,   97:9-11, 97:13-15, 156:2-6,
96:24-97:2      403             156:8-13, 178:20-180:6
                FRE 106, 402,   98:10-14, 156:2-6, 156:8-13,
97:17-97:23     403             178:20-180:6

                FRE 106, 402,   32:16-20, 32:22-33:1, 98:10-14,
98:15-98:24     403             156:2-6, 156:8-13, 178:20-180:6 NR (32:16-20, 32:22-33:1)

                FRE 106, 402,   32:16-20, 32:22-33:1, 98:10-14,
99:1-99:4       403             156:2-6, 156:8-13, 178:20-180:6 NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
99:6-99:8       403             156:8-13, 178:20-180:6          NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
99:10-99:11     403             156:8-13, 178:20-180:6          NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
99:13-99:15     403             156:8-13, 178:20-180:6          NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
99:17-99:17     403             156:8-13, 178:20-180:6          NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
99:19-99:22     403             156:8-13, 178:20-180:6          NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
99:23-99:25     403, 802        156:8-13, 178:20-180:6          NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
100:2-100:2     403, 802        156:8-13, 178:20-180:6          NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
100:4-100:7     403             156:8-13, 178:20-180:6          NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
100:10-100:10   403             156:8-13, 178:20-180:6          NR (32:16-20, 32:22-33:1)
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24            Page 180 of 227
                                                            PageID #: 11965

                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
100:12-100:13   403             156:8-13, 178:20-180:6           NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
100:15-100:19   403             156:8-13, 178:20-180:6           NR (32:16-20, 32:22-33:1)
                                32:16-20, 32:22-33:1, 114:24-
                FRE 106, 402,   115:25, 116:2-5, 156:2-6, 156:8- NR (32:16-20, 32:22-33:1)
101:2-101:9     403             13, 178:20-180:6                 R, P, SM, DUP (114:24-115:25)
                FRE 106, 402,   104:18-24, 156:2-6, 156:8-13,
102:1-102:6     403, 802        178:20-180:6
                FRE 106, 402,   104:18-24, 156:2-6, 156:8-13,
102:10-102:10   403, 802        178:20-180:6
                FRE 106, 402,   104:18-24, 156:2-6, 156:8-13,
102:11-103:1    403, 802        178:20-180:6
                FRE 106, 402,   104:18-24, 156:2-6, 156:8-13,
103:2-103:4     403, 802        178:20-180:6
                FRE 106, 402,   104:18-24, 156:2-6, 156:8-13,
103:10-103:11   403, 802        178:20-180:6
                FRE 106, 402,   104:18-24, 156:2-6, 156:8-13,
103:13-103:20   403, 802        178:20-180:6
                FRE 106, 402,   104:10-12, 104:18-24, 156:2-6,
103:22-104:9    403, 802        156:8-13, 178:20-180:6           I (104:10-12)                   104:13-104:16
                                104:18-24, 106:12-13, 106:15-
                FRE 106, 402,   19, 106:21, 156:2-6, 156:8-13,
105:19-106:11   403             178:20-180:6
                FRE 106, 402,   104:18-24, 156:2-6, 156:8-13,
106:23-107:10   403             178:20-180:6
                FRE 106, 402,
107:11-107:13   403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
108:1-108:6     403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
108:12-108:18   403, 611        156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
108:20-108:21   403, 611        156:2-6, 156:8-13, 178:20-180:6
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24        Page 181 of 227
                                                            PageID #: 11966

                FRE 106, 402,
108:23-108:25   403             156:2-6, 156:8-13
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
109:5-109:19    403             156:8-13, 178:20-180:6            NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
109:19-109:23   403, 611        156:8-13, 178:20-180:6            NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
109:25-110:1    403, 611        156:8-13, 178:20-180:6            NR (32:16-20, 32:22-33:1)
                FRE 106, 402,
110:3-110:20    403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
110:21-110:24   403, 611        156:8-13, 178:20-180:6          NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
111:1-111:1     403, 611        156:8-13, 178:20-180:6          NR (32:16-20, 32:22-33:1)
                FRE 106, 402,
111:15-112:6    403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
112:7-112:23    403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
112:25-113:1    403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
113:3-113:9     403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
113:11-113:11   403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
113:20-114:13   403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
114:15-114:16   403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,   114:24-115:25, 116:2-5, 156:2-
114:18-114:23   403, 802        6, 156:8-13, 178:20-180:6       R, P, SM, DUP (114:24-115:25)
                FRE 106, 402,   114:24-115:25, 116:2-5, 156:2-
116:20-117:7    403, 802        6, 156:8-13, 178:20-180:6       R, P, SM, DUP (114:24-115:25)
                FRE 106, 402,   114:24-115:25, 116:2-5, 156:2-
117:9-117:11    403             6, 156:8-13, 178:20-180:6       R, P, SM, DUP (114:24-115:25)
                     Case 2:23-cv-00059-JRG-RSP             Document 215-6 Filed 10/04/24             Page 182 of 227
                                                             PageID #: 11967

                FRE 106, 402,
117:13-117:19   403              156:2-6, 156:8-13, 178:20-180:6
                                 140:25-141:4, 156:2-6, 156:8-
                FRE 106, 402,    13, 175:12-176:10, 176:14-      L, SM, P (175:12-176:10, 176:14-
117:25-118:24   403              177:25                          177:25)
                                 32:16-20, 32:22-33:1, 114:24-    NR (32:16-20, 32:22-33:1)
                                 115:25, 116:2-5, 156:2-6, 156:8- R, P, SM, DUP (114:24-115:25)
                FRE 106, 402,    13, 175:12-176:10, 176:14-       L, SM, P (175:12-176:10, 176:14-
119:19-119:22   403              177:25                           177:25)
                                 140:25-141:4, 156:2-6, 156:8-
                FRE 106, 402,    13, 175:12-176:10, 176:14-       L, SM, P (175:12-176:10, 176:14-
119:23-120:3    403              177:25                           177:25)
                                 140:25-141:4, 156:2-6, 156:8-
                FRE 106, 402,    13, 175:12-176:10, 176:14-       L, SM, P (175:12-176:10, 176:14-
120:17-121:3    403              177:25                           177:25)
                                 140:25-141:4, 156:2-6, 156:8-
                FRE 106, 402,    13, 175:12-176:10, 176:14-       L, SM, P (175:12-176:10, 176:14-
121:6-121:6     403              177:25                           177:25)
                                 121:11-16, 140:25-141:4, 156:2-
                FRE 106, 402,    6, 156:8-13, 175:12-176:10,      L, SM, P (175:12-176:10, 176:14-
121:7-121:10    403              176:14-177:25                    177:25)                          116:17-24
                                 140:25-141:4, 156:2-6, 156:8-
                FRE 106, 402,    13, 175:12-176:10, 176:14-       L, SM, P (175:12-176:10, 176:14-
121:25-122:3    403              177:25                           177:25)
122:14-123:7    FRE 106, 402     156:2-6, 156:8-13
123:8-124:3     FRE 106, 402     156:2-6, 156:8-13
124:4-124:6     FRE 106, 402     156:2-6, 156:8-13
124:15-124:23   FRE 106, 402     156:2-6, 156:8-13
124:24-125:14   FRE 106, 402     156:2-6, 156:8-13
125:15-125:17   FRE 106, 402     156:2-6, 156:8-13
125:19-125:20   FRE 106, 402     156:2-6, 156:8-13
                FRE 106, 402,
                403, 602, 611,
125:22-125:25   802              156:2-6, 156:8-13
                     Case 2:23-cv-00059-JRG-RSP                Document 215-6 Filed 10/04/24   Page 183 of 227
                                                                PageID #: 11968

                FRE 106, 402,
                403, 602, 611,
126:2-126:4     802              156:2-6, 156:8-13
                FRE 106, 402,
                403, 602, 611,
126:6-126:13    802              156:2-6, 156:8-13
                FRE 106, 402,
126:19-127:2    403, 611         156:2-6, 156:8-13
                FRE 106, 402,
127:4-127:5     403, 611         156:2-6, 156:8-13
                FRE 106, 402,
127:15-127:18   403, 602, 802    156:2-6, 156:8-13
                FRE 106, 402,
                403, 602, 611,
127:20-127:21   802              156:2-6, 156:8-13
                FRE 106, 402,
                403, 602, 611,
127:23-128:15   802              156:2-6, 156:8-13
                FRE 106, 402,
128:16-128:18   403, 602, 802    156:2-6, 156:8-13
                FRE 106, 402,
128:20-128:21   403, 602, 802    156:2-6, 156:8-13
                FRE 106, 402,
128:23-129:1    403, 602, 802    156:2-6, 156:8-13
                FRE 106, 402,
129:3-129:3     403, 602, 802    156:2-6, 156:8-13
                FRE 106, 402,
129:3-129:7     403, 602, 802    156:2-6, 156:8-13
                FRE 106, 402,
129:13-129:25   403, 602         156:2-6, 156:8-13
                FRE 106, 402,
130:2-130:12    403, 602         156:2-6, 156:8-13
                FRE 106, 402,    131:3-5, 131:7-15, 156:2-6,
130:25-131:2    403              156:8-13
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24           Page 184 of 227
                                                            PageID #: 11969

                FRE 106, 402,   131:3-5, 131:7-15, 156:2-6,
131:17-131:23   403             156:8-13
                FRE 106, 402,   131:3-5, 131:7-15, 156:2-6,
132:3-132:18    403             156:8-13
                                131:3-5, 131:7-15, 133:9-11,
                FRE 106, 402,   133:13-22, 134:3-7, 156:2-6,
132:19-133:3    403             156:8-13
                                131:3-5, 131:7-15, 133:9-11,
                FRE 106, 402,   133:13-22, 134:3-7, 156:2-6,
133:5-133:7     403             156:8-13
                FRE 106, 402,   133:9-11, 133:13-22, 134:3-7,
134:9-134:11    403             156:2-6, 156:8-13
                FRE 106, 402,   133:9-11, 133:13-22, 134:3-7,
134:13-134:18   403             156:2-6, 156:8-13
                FRE 106, 402,
134:20-134:23   403             156:2-6, 156:8-13
                FRE 106, 402,
134:25-135:1    403             156:2-6, 156:8-13
                FRE 106, 402,
135:3-135:6     403             156:2-6, 156:8-13
                                156:2-6, 156:8-13, 175:12-
                FRE 106, 402,   176:10, 176:14-177:25, 178:20- L, SM, P (175:12-176:10, 176:14-
135:9-135:24    403             180:6                          177:25)
                FRE 106, 402,   156:2-6, 156:8-13, 175:12-     L, SM, P (175:12-176:10, 176:14-
136:1-136:7     403             176:10, 176:14-177:25          177:25)
                                137:5-14, 137:16-20, 156:2-6,  I (137:5-14, 137:16-20)
                FRE 106, 402,   156:8-13, 175:12-176:10,       L, SM, P (175:12-176:10, 176:14-
136:9-136:23    403, 802        176:14-177:25, 178:20-180:6    177:25)                          136:24-137:3
                                131:3-5, 131:7-15, 137:5-14,
                                137:16-20, 156:2-6, 156:8-13, I (137:5-14, 137:16-20)
                FRE 106, 402,   175:12-176:10, 176:14-177:25, L, SM, P (175:12-176:10, 176:14-
137:22-138:6    403             178:20-180:6                  177:25)                          136:24-137:3
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24          Page 185 of 227
                                                            PageID #: 11970

                                131:3-5, 131:7-15, 137:5-14,
                                137:16-20, 156:2-6, 156:8-13, I (137:5-14, 137:16-20)
                FRE 106, 402,   175:12-176:10, 176:14-177:25, L, SM, P (175:12-176:10, 176:14-
138:7-138:9     403             178:20-180:6                  177:25)                          136:24-137:3
                                131:3-5, 131:7-15, 137:5-14,
                                137:16-20, 156:2-6, 156:8-13, I (137:5-14, 137:16-20)
                FRE 106, 402,   175:12-176:10, 176:14-177:25, L, SM, P (175:12-176:10, 176:14-
138:11-138:14   403             178:20-180:6                  177:25)                          136:24-137:3
                                131:3-5, 131:7-15, 137:5-14,
                                137:16-20, 156:2-6, 156:8-13, I (137:5-14, 137:16-20)
                FRE 106, 402,   175:12-176:10, 176:14-177:25, L, SM, P (175:12-176:10, 176:14-
138:24-139:2    403             178:20-180:6                  177:25)                          136:24-137:3
                                131:3-5, 131:7-15, 137:5-14,
                                137:16-20, 156:2-6, 156:8-13, I (137:5-14, 137:16-20)
                FRE 106, 402,   175:12-176:10, 176:14-177:25, L, SM, P (175:12-176:10, 176:14-
139:5-139:9     403             178:20-180:6                  177:25)                          136:24-137:3
                FRE 106, 402,
140:1-140:13    403, 602        156:2-6, 156:8-13
                FRE 106, 402,
140:14-140:24   403             140:25-141:4, 156:2-6, 156:8-13
                FRE 106, 402,
141:25-142:4    403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
142:6-142:6     403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
142:8-142:17    403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,   143:16-144:6, 156:2-6, 156:8-
143:5-143:11    403             13, 178:20-180:6                I (143:16-144:6)              144:7-16
                FRE 106, 402,   114:18-115:25, 116:2-5, 156:2-
146:16-146:20   403, 602, 802   6, 156:8-13                     R, P, SM (114:18-115:25)
                FRE 106, 402,   114:18-115:25, 116:2-5, 156:2-
146:21-147:9    403, 602, 802   6, 156:8-13                     R, P, SM (114:18-115:25)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
148:13-148:19   403, 602, 802   156:8-13                        NR (32:16-20, 32:22-33:1)
                     Case 2:23-cv-00059-JRG-RSP             Document 215-6 Filed 10/04/24     Page 186 of 227
                                                             PageID #: 11971

                FRE 106, 402,    32:16-20, 32:22-33:1, 156:2-6,
148:23-148:25   403, 602, 802    156:8-13                         NR (32:16-20, 32:22-33:1)
                FRE 106, 402,    32:16-20, 32:22-33:1, 156:2-6,
149:10-149:15   403, 602, 802    156:8-13                         NR (32:16-20, 32:22-33:1)
                FRE 106, 402,    32:16-20, 32:22-33:1, 156:2-6,
149:16-149:16   403, 602, 802    156:8-13                         NR (32:16-20, 32:22-33:1)
                FRE 106, 402,    32:16-20, 32:22-33:1, 156:2-6,
149:18-149:19   403, 602, 802    156:8-13                         NR (32:16-20, 32:22-33:1)
                FRE 106, 402,
                403, 602, 611,   32:16-20, 32:22-33:1, 156:2-6,
149:21-149:23   802              156:8-13                         NR (32:16-20, 32:22-33:1)
                FRE 106, 402,    32:16-20, 32:22-33:1, 114:18-
                403, 602, 611,   115:25, 116:2-5, 156:2-6, 156:8- NR (32:16-20, 32:22-33:1)
149:25-150:5    802              13                               R, P, SM (114:18-115:25)
                FRE 106, 402,    32:16-20, 32:22-33:1, 156:2-6,
150:15-150:24   403, 602, 611    156:8-13                         NR (32:16-20, 32:22-33:1)
                FRE 106, 402,    32:16-20, 32:22-33:1, 156:2-6,
151:1-151:2     403, 602, 611    156:8-13                         NR (32:16-20, 32:22-33:1)
                FRE 106, 402,    32:16-20, 32:22-33:1, 156:2-6,
151:4-151:5     403, 602, 611    156:8-13                         NR (32:16-20, 32:22-33:1)
                FRE 106, 402,    32:16-20, 32:22-33:1, 156:2-6,
151:16-151:18   403, 602, 611    156:8-13                         NR (32:16-20, 32:22-33:1)
                FRE 106, 402,    32:16-20, 32:22-33:1, 156:2-6,
151:20-151:22   403, 602, 611    156:8-13                         NR (32:16-20, 32:22-33:1)
                FRE 106, 402,    32:16-20, 32:22-33:1, 156:2-6,
152:22-152:24   403              156:8-13, 178:20-180:6           NR (32:16-20, 32:22-33:1)
                FRE 106, 402,    32:16-20, 32:22-33:1, 156:2-6,
153:1-153:4     403              156:8-13,178:20-180:6            NR (32:16-20, 32:22-33:1)
                FRE 106, 402,    32:16-20, 32:22-33:1, 156:2-6,
153:6-153:9     403, 602, 802    156:8-13,178:20-180:6            NR (32:16-20, 32:22-33:1)
                FRE 106, 402,    32:16-20, 32:22-33:1, 156:2-6,
153:12-153:15   403, 602, 802    156:8-13,178:20-180:6            NR (32:16-20, 32:22-33:1)
                FRE 106, 402,    32:16-20, 32:22-33:1, 156:2-6,
153:17-153:19   403, 602, 802    156:8-13,178:20-180:6            NR (32:16-20, 32:22-33:1)
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24         Page 187 of 227
                                                            PageID #: 11972

                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
153:22-153:23   403, 602, 802   156:8-13,178:20-180:6            NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
153:25-154:1    403, 602, 802   156:8-13,178:20-180:6            NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
154:3-154:4     403, 602, 802   156:8-13,178:20-180:6            NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
156:15-156:18   403             156:8-13                         NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
156:21-156:22   403             156:8-13                         NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
156:24-157:2    403, 611        156:8-13                         NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
157:4-157:4     403, 611        156:8-13                         NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
157:6-157:7     403, 611        156:8-13                         NR (32:16-20, 32:22-33:1)
                                32:16-20, 32:22-33:1, 114:24-
                FRE 106, 402,   115:25, 116:2-5, 156:2-6, 156:8- NR (32:16-20, 32:22-33:1)
161:24-162:7    403, 611        13                               R, P, SM, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-
                FRE 106, 402,   115:25, 116:2-5, 156:2-6, 156:8- NR (32:16-20, 32:22-33:1)
162:9-162:13    403, 611        13                               R, P, SM, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-
                FRE 106, 402,   115:25, 116:2-5, 156:2-6, 156:8- NR (32:16-20, 32:22-33:1)
162:15-162:18   403, 611        13                               R, P, SM, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-
                FRE 106, 402,   115:25, 116:2-5, 156:2-6, 156:8- NR (32:16-20, 32:22-33:1)
162:21-162:22   403, 611        13                               R, P, SM, DUP (114:24-115:25)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
165:9-165:13    403, 611        156:8-13                         NR (32:16-20, 32:22-33:1)
                FRE 106, 402,   32:16-20, 32:22-33:1, 156:2-6,
165:15-165:18   403, 611        156:8-13                         NR (32:16-20, 32:22-33:1)
166:18-166:19
166:21-166:21
                     Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24          Page 188 of 227
                                                           PageID #: 11973

166:23-166:24
167:1-167:1
                FRE 106, 402,
180:12-180:19   403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
180:20-180:21   403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
180:22-181:1    403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
181:2-181:17    403, 611        156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
181:18-181:21   403, 611        156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
181:23-182:2    403, 611, 802   156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
182:4-182:5     403             156:2-6, 156:8-13, 178:20-180:6
                FRE 106, 402,
182:7-182:8     403             156:2-6, 156:8-13, 178:20-180:6
                                156:2-6, 156:8-13, 178:20-
                FRE 106, 402,   180:6, 175:12-176:10, 176:14- L, SM, P (175:12-176:10, 176:14-
182:9-182:10    403             177:25                          177:25)
                                156:2-6, 156:8-13, 178:20-
                FRE 106, 402,   180:6, 175:12-176:10, 176:14- L, SM, P (175:12-176:10, 176:14-
182:14-182:15   403             177:25                          177:25)
                                156:2-6, 156:8-13, 178:20-
                FRE 106, 402,   180:6, 175:12-176:10, 176:14- L, SM, P (175:12-176:10, 176:14-
183:20-183:22   403             177:25                          177:25)
                                156:2-6, 156:8-13, 178:20-
                FRE 106, 402,   180:6, 175:12-176:10, 176:14- L, SM, P (175:12-176:10, 176:14-
183:24-184:2    403             177:25                          177:25)
                                156:2-6, 156:8-13, 178:20-
                FRE 106, 402,   180:6, 175:12-176:10, 176:14- L, SM, P (175:12-176:10, 176:14-
184:15-184:17   403             177:25                          177:25)
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24           Page 189 of 227
                                                            PageID #: 11974

                                156:2-6, 156:8-13, 178:20-
                FRE 106, 402,   180:6, 175:12-176:10, 176:14-   L, SM, P (175:12-176:10, 176:14-
184:17-184:18   403             177:25                          177:25)
                                156:2-6, 156:8-13, 178:20-
                FRE 106, 402,   180:6, 175:12-176:10, 176:14-   L, SM, P (175:12-176:10, 176:14-
184:19-184:22   403             177:25                          177:25)
                                156:2-6, 156:8-13, 178:20-
                FRE 106, 402,   180:6, 175:12-176:10, 176:14-   L, SM, P (175:12-176:10, 176:14-
184:22-184:24   403             177:25                          177:25)
                                                                 NR (32:16-20, 32:22-33:1)
                                                                 R, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-    SM, P (114:24-115:25, 175:12-
                                115:25, 116:2-5, 156:2-6, 156:8- 176:10, 176:14-177:25)
                FRE 106, 402,   13, 178:20-180:6, 175:12-        L (175:12-176:10, 176:14-
184:25-185:4    403, 602        176:10, 176:14-177:25            177:25)
                                                                 NR (32:16-20, 32:22-33:1)
                                                                 R, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-    SM, P (114:24-115:25, 175:12-
                                115:25, 116:2-5, 156:2-6, 156:8- 176:10, 176:14-177:25)
                FRE 106, 402,   13, 178:20-180:6, 175:12-        L (175:12-176:10, 176:14-
185:5-185:7     403, 602, 611   176:10, 176:14-177:25            177:25)
                                                                 NR (32:16-20, 32:22-33:1)
                                                                 R, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-    SM, P (114:24-115:25, 175:12-
                                115:25, 116:2-5, 156:2-6, 156:8- 176:10, 176:14-177:25)
                FRE 106, 402,   13, 178:20-180:6, 175:12-        L (175:12-176:10, 176:14-
185:9-185:13    403, 602, 611   176:10, 176:14-177:25            177:25)
                                                                 NR (32:16-20, 32:22-33:1)
                                                                 R, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-    SM, P (114:24-115:25, 175:12-
                                115:25, 116:2-5, 156:2-6, 156:8- 176:10, 176:14-177:25)
                FRE 106, 402,   13, 178:20-180:6, 175:12-        L (175:12-176:10, 176:14-
186:16-186:18   403, 602, 611   176:10, 176:14-177:25            177:25)
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24         Page 190 of 227
                                                            PageID #: 11975

                                                                 NR (32:16-20, 32:22-33:1)
                                                                 R, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-    SM, P (114:24-115:25, 175:12-
                                115:25, 116:2-5, 156:2-6, 156:8- 176:10, 176:14-177:25)
                FRE 106, 402,   13, 178:20-180:6, 175:12-        L (175:12-176:10, 176:14-
186:20-186:22   403, 602, 611   176:10, 176:14-177:25            177:25)
                                                                 NR (32:16-20, 32:22-33:1)
                                                                 R, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-    SM, P (114:24-115:25, 175:12-
                                115:25, 116:2-5, 156:2-6, 156:8- 176:10, 176:14-177:25)
                FRE 106, 402,   13, 178:20-180:6, 175:12-        L (175:12-176:10, 176:14-
187:9-187:11    403, 602, 611   176:10, 176:14-177:25            177:25)
                                                                 NR (32:16-20, 32:22-33:1)
                                                                 R, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-    SM, P (114:24-115:25, 175:12-
                                115:25, 116:2-5, 156:2-6, 156:8- 176:10, 176:14-177:25)
                FRE 106, 402,   13, 178:20-180:6, 175:12-        L (175:12-176:10, 176:14-
187:14-187:18   403, 602, 611   176:10, 176:14-177:25            177:25)
                                                                 NR (32:16-20, 32:22-33:1)
                                                                 R, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-    SM, P (114:24-115:25, 175:12-
                                115:25, 116:2-5, 156:2-6, 156:8- 176:10, 176:14-177:25)
                FRE 106, 402,   13, 178:20-180:6, 175:12-        L (175:12-176:10, 176:14-
187:20-187:22   403, 602, 611   176:10, 176:14-177:25            177:25)
                                                                 NR (32:16-20, 32:22-33:1)
                                                                 R, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-    SM, P (114:24-115:25, 175:12-
                                115:25, 116:2-5, 156:2-6, 156:8- 176:10, 176:14-177:25)
                FRE 106, 402,   13, 178:20-180:6, 175:12-        L (175:12-176:10, 176:14-
187:24-187:25   403, 602, 611   176:10, 176:14-177:25            177:25)
                     Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24         Page 191 of 227
                                                            PageID #: 11976

                                                                 NR (32:16-20, 32:22-33:1)
                                                                 R, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-    SM, P (114:24-115:25, 175:12-
                                115:25, 116:2-5, 156:2-6, 156:8- 176:10, 176:14-177:25)
                FRE 106, 402,   13, 178:20-180:6, 175:12-        L (175:12-176:10, 176:14-
187:25-188:4    403, 602, 611   176:10, 176:14-177:25            177:25)
                                32:16-20, 32:22-33:1, 114:24-
                FRE 106, 402,   115:25, 116:2-5, 156:2-6, 156:8- NR (32:16-20, 32:22-33:1)
188:6-188:8     403, 602, 611   13                               R, P, SM, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-
                FRE 106, 402,   115:25, 116:2-5, 156:2-6, 156:8- NR (32:16-20, 32:22-33:1)
188:10-188:10   403, 602, 611   13                               R, P, SM, DUP (114:24-115:25)
                                                                 NR (32:16-20, 32:22-33:1)
                                                                 R, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-    SM, P (114:24-115:25, 175:12-
                                115:25, 116:2-5, 156:2-6, 156:8- 176:10, 176:14-177:25)
                FRE 106, 402,   13, 178:20-180:6, 175:12-        L (175:12-176:10, 176:14-
188:12-188:16   403, 602, 611   176:10, 176:14-177:25            177:25)
                                                                 NR (32:16-20, 32:22-33:1)
                                                                 R, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-    SM, P (114:24-115:25, 175:12-
                                115:25, 116:2-5, 156:2-6, 156:8- 176:10, 176:14-177:25)
                FRE 106, 402,   13, 178:20-180:6, 175:12-        L (175:12-176:10, 176:14-
188:18-188:22   403, 602, 611   176:10, 176:14-177:25            177:25)
                                                                 NR (32:16-20, 32:22-33:1)
                                                                 R, DUP (114:24-115:25)
                                32:16-20, 32:22-33:1, 114:24-    SM, P (114:24-115:25, 175:12-
                                115:25, 116:2-5, 156:2-6, 156:8- 176:10, 176:14-177:25)
                FRE 106, 402,   13, 178:20-180:6, 175:12-        L (175:12-176:10, 176:14-
188:24-188:24   403, 602, 611   176:10, 176:14-177:25            177:25)
                   Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24         Page 192 of 227
                                                          PageID #: 11977

                                                               NR (32:16-20, 32:22-33:1)
                                                               R, DUP (114:24-115:25)
                              32:16-20, 32:22-33:1, 114:24-    SM, P (114:24-115:25, 175:12-
                              115:25, 116:2-5, 156:2-6, 156:8- 176:10, 176:14-177:25)
              FRE 106, 402,   13, 178:20-180:6, 175:12-        L (175:12-176:10, 176:14-
189:1-189:1   403, 602, 611   176:10, 176:14-177:25            177:25)
                     Case 2:23-cv-00059-JRG-RSP             Document 215-6 Filed 10/04/24        Page 193 of 227
                                                             PageID #: 11978


                                  Testifying Witness: Yaccarino, Linda
 Touchstream's      Comcast's          Comcast's Counter-                                     Touchstream's
  Designations     Objections             Designations            Touchstream's Objections   Counter-Counters
6:13-6:13        FRE 106        6:17-19                          R, P, IM (6:17-19)
6:25-7:3         FRE 106        6:23-24
8:13-8:23        FRE 106        9:1-2, 9:14-16, 10:3-10
9:4-9:10         FRE 106        9:1-2, 9:14-16, 10:3-10
9:11-9:13        FRE 106        9:1-2, 9:14-16, 10:3-10
9:17-9:23        FRE 106        9:1-2, 9:14-16, 10:3-10
10:11-10:18      FRE 106        9:1-2, 9:14-16, 10:3-10
10:19-10:22      FRE 106        9:1-2, 9:14-16, 10:3-10
                   Case 2:23-cv-00059-JRG-RSP        Document 215-6 Filed 10/04/24              Page 194 of 227
                                                      PageID #: 11979




                                                             R (26:3-11, 27:20-25, 28:23-
                                                             29:2, 29:4-8, 31:17-32:3,
                                                             33:23-34:1, 34:13-14, 34:17-
                                                             35:8, 35:10-16, 38:22-39:4,
                                                             39:6-9, 40:5-14, 40:16-21,
                                                             41:2-10, 42:4-6, 42:8-16,
                                                             48:11-12, 48:14, 64:18,
                                                             64:20, 69:1-10)
                                                             IM (26:3-11, 27:20-25, 28:23-
                                                             29:2, 29:4-8)
                                                             DUP (27:20-25)
                                                             P (28:23-29:2, 29:4-8, 31:17-
                                                             32:3, 33:23-34:1, 34:13-14,
                                                             35:10-16, 38:22-39:4, 39:6-
                           24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                           28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                           33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                           34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                           38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                           40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
                           6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
11:13-11:24   FRE 106      64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 195 of 227
                                                        PageID #: 11980




                                                               R (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8, 31:17-32:3,
                                                               33:23-34:1, 34:13-14, 34:17-
                                                               35:8, 35:10-16, 38:22-39:4,
                                                               39:6-9, 40:5-14, 40:16-21,
                                                               41:2-10, 42:4-6, 42:8-16,
                                                               48:11-12, 48:14, 64:18,
                                                               64:20, 69:1-10)
                                                               IM (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8)
                                                               DUP (27:20-25)
                                                               P (28:23-29:2, 29:4-8, 31:17-
                                                               32:3, 33:23-34:1, 34:13-14,
                                                               35:10-16, 38:22-39:4, 39:6-
                             24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                             28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                             33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                             34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                             38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                             40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
             FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
12:7-12:14   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                   Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 196 of 227
                                                         PageID #: 11981




                                                                R (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8, 31:17-32:3,
                                                                33:23-34:1, 34:13-14, 34:17-
                                                                35:8, 35:10-16, 38:22-39:4,
                                                                39:6-9, 40:5-14, 40:16-21,
                                                                41:2-10, 42:4-6, 42:8-16,
                                                                48:11-12, 48:14, 64:18,
                                                                64:20, 69:1-10)
                                                                IM (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8)
                                                                DUP (27:20-25)
                                                                P (28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                35:10-16, 38:22-39:4, 39:6-
                              24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                              28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                              33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                              34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                              38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                              40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
              FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
12:15-12:18   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 197 of 227
                                                        PageID #: 11982




                                                               R (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8, 31:17-32:3,
                                                               33:23-34:1, 34:13-14, 34:17-
                                                               35:8, 35:10-16, 38:22-39:4,
                                                               39:6-9, 40:5-14, 40:16-21,
                                                               41:2-10, 42:4-6, 42:8-16,
                                                               48:11-12, 48:14, 64:18,
                                                               64:20, 69:1-10)
                                                               IM (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8)
                                                               DUP (27:20-25)
                                                               P (28:23-29:2, 29:4-8, 31:17-
                                                               32:3, 33:23-34:1, 34:13-14,
                                                               35:10-16, 38:22-39:4, 39:6-
                             24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                             28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                             33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                             34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                             38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                             40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
             FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
13:4-13:12   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 198 of 227
                                                        PageID #: 11983




                                                               R (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8, 31:17-32:3,
                                                               33:23-34:1, 34:13-14, 34:17-
                                                               35:8, 35:10-16, 38:22-39:4,
                                                               39:6-9, 40:5-14, 40:16-21,
                                                               41:2-10, 42:4-6, 42:8-16,
                                                               48:11-12, 48:14, 64:18,
                                                               64:20, 69:1-10)
                                                               IM (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8)
                                                               DUP (27:20-25)
                                                               P (28:23-29:2, 29:4-8, 31:17-
                                                               32:3, 33:23-34:1, 34:13-14,
                                                               35:10-16, 38:22-39:4, 39:6-
                             24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                             28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                             33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                             34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                             38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                             40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
             FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
15:19-16:5   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                   Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 199 of 227
                                                         PageID #: 11984




                                                                R (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8, 31:17-32:3,
                                                                33:23-34:1, 34:13-14, 34:17-
                                                                35:8, 35:10-16, 38:22-39:4,
                                                                39:6-9, 40:5-14, 40:16-21,
                                                                41:2-10, 42:4-6, 42:8-16,
                                                                48:11-12, 48:14, 64:18,
                                                                64:20, 69:1-10)
                                                                IM (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8)
                                                                DUP (27:20-25)
                                                                P (28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                35:10-16, 38:22-39:4, 39:6-
                              24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                              28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                              33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                              34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                              38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                              40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
              FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
16:13-16:19   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 200 of 227
                                                       PageID #: 11985




                                                              R (26:3-11, 27:20-25, 28:23-
                                                              29:2, 29:4-8, 31:17-32:3,
                                                              33:23-34:1, 34:13-14, 34:17-
                                                              35:8, 35:10-16, 38:22-39:4,
                                                              39:6-9, 40:5-14, 40:16-21,
                                                              41:2-10, 42:4-6, 42:8-16,
                                                              48:11-12, 48:14, 64:18,
                                                              64:20, 69:1-10)
                                                              IM (26:3-11, 27:20-25, 28:23-
                                                              29:2, 29:4-8)
                                                              DUP (27:20-25)
                                                              P (28:23-29:2, 29:4-8, 31:17-
                                                              32:3, 33:23-34:1, 34:13-14,
                                                              35:10-16, 38:22-39:4, 39:6-
                            24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                            28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                            33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                            34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                            38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                            40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
            FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
17:1-17:4   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                  Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24              Page 201 of 227
                                                         PageID #: 11986




                                                                R (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8, 31:17-32:3,
                                                                33:23-34:1, 34:13-14, 34:17-
                                                                35:8, 35:10-16, 38:22-39:4,
                                                                39:6-9, 40:5-14, 40:16-21,
                                                                41:2-10, 42:4-6, 42:8-16,
                                                                48:11-12, 48:14, 64:18,
                                                                64:20, 69:1-10)
                                                                IM (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8)
                                                                DUP (27:20-25)
                                                                P (28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                35:10-16, 38:22-39:4, 39:6-
                              24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                              28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                              33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                              34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                              38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                              40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
             FRE 106, 402,    6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
17:22-18:1   403, 602; Atty   64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                  Case 2:23-cv-00059-JRG-RSP            Document 215-6 Filed 10/04/24              Page 202 of 227
                                                         PageID #: 11987




                                                                R (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8, 31:17-32:3,
                                                                33:23-34:1, 34:13-14, 34:17-
                                                                35:8, 35:10-16, 38:22-39:4,
                                                                39:6-9, 40:5-14, 40:16-21,
                                                                41:2-10, 42:4-6, 42:8-16,
                                                                48:11-12, 48:14, 64:18,
                                                                64:20, 69:1-10)
                                                                IM (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8)
                                                                DUP (27:20-25)
                                                                P (28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                35:10-16, 38:22-39:4, 39:6-
                              24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                              28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                              33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                              34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                              38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                              40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
             FRE 106, 402,    6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
18:7-18:14   403, 602; Atty   64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                   Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 203 of 227
                                                         PageID #: 11988




                                                                R (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8, 31:17-32:3,
                                                                33:23-34:1, 34:13-14, 34:17-
                                                                35:8, 35:10-16, 38:22-39:4,
                                                                39:6-9, 40:5-14, 40:16-21,
                                                                41:2-10, 42:4-6, 42:8-16,
                                                                48:11-12, 48:14, 64:18,
                                                                64:20, 69:1-10)
                                                                IM (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8)
                                                                DUP (27:20-25)
                                                                P (28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                35:10-16, 38:22-39:4, 39:6-
                              24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                              28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                              33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                              34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                              38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                              40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
              FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
19:19-19:21   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 204 of 227
                                                        PageID #: 11989




                                                               R (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8, 31:17-32:3,
                                                               33:23-34:1, 34:13-14, 34:17-
                                                               35:8, 35:10-16, 38:22-39:4,
                                                               39:6-9, 40:5-14, 40:16-21,
                                                               41:2-10, 42:4-6, 42:8-16,
                                                               48:11-12, 48:14, 64:18,
                                                               64:20, 69:1-10)
                                                               IM (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8)
                                                               DUP (27:20-25)
                                                               P (28:23-29:2, 29:4-8, 31:17-
                                                               32:3, 33:23-34:1, 34:13-14,
                                                               35:10-16, 38:22-39:4, 39:6-
                             24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                             28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                             33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                             34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                             38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                             40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
             FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
19:25-20:4   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 205 of 227
                                                       PageID #: 11990




                                                              R (26:3-11, 27:20-25, 28:23-
                                                              29:2, 29:4-8, 31:17-32:3,
                                                              33:23-34:1, 34:13-14, 34:17-
                                                              35:8, 35:10-16, 38:22-39:4,
                                                              39:6-9, 40:5-14, 40:16-21,
                                                              41:2-10, 42:4-6, 42:8-16,
                                                              48:11-12, 48:14, 64:18,
                                                              64:20, 69:1-10)
                                                              IM (26:3-11, 27:20-25, 28:23-
                                                              29:2, 29:4-8)
                                                              DUP (27:20-25)
                                                              P (28:23-29:2, 29:4-8, 31:17-
                                                              32:3, 33:23-34:1, 34:13-14,
                                                              35:10-16, 38:22-39:4, 39:6-
                            24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                            28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                            33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                            34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                            38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                            40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
            FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
20:5-20:5   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                   Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 206 of 227
                                                         PageID #: 11991


                                                                R (25:6-26:11, 27:14-28:7,
                                                                28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                34:17-35:8)
                                                                IM (25:6-26:11, 27:14-28:7,
                                                                28:23-29:2, 29:4-8, 35:10-
                                                                16)
                                                                DUP (27:14-28:7)
                              21:6-12, 21:17-22, 24:21-23,      P (28:23-29:2, 29:4-8, 33:23-
                              25:6-26:11, 27:14-28:7, 28:23- 34:1, 34:13-14, 34:17-35:8,
                              29:2, 29:4-8, 31:17-32:3, 33:2-8, 35:10-16)
              FRE 106, 402,   33:18-20, 33:23-34:1, 34:13-14, O (33:23-34:1, 34:13-14,
20:20-21:2    403             34:17-35:8, 35:10-16              34:17-35:8, 35:10-16)         53:3-6

                                                                R (25:6-26:11, 27:14-28:7,
                                                                28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                34:17-35:8)
                                                                IM (25:6-26:11, 27:14-28:7,
                                                                28:23-29:2, 29:4-8, 35:10-
                                                                16)
                                                                DUP (27:14-28:7)
                              21:6-12, 21:17-22, 24:21-23,      P (28:23-29:2, 29:4-8, 33:23-
                              25:6-26:11, 27:14-28:7, 28:23- 34:1, 34:13-14, 34:17-35:8,
                              29:2, 29:4-8, 31:17-32:3, 33:2-8, 35:10-16)
              FRE 106, 402,   33:18-20, 33:23-34:1, 34:13-14, O (33:23-34:1, 34:13-14,
22:11-22:19   403             34:17-35:8, 35:10-16              34:17-35:8, 35:10-16)         53:3-6
                   Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 207 of 227
                                                         PageID #: 11992


                                                                R (25:6-26:11, 27:14-28:7,
                                                                28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                34:17-35:8)
                                                                IM (25:6-26:11, 27:14-28:7,
                                                                28:23-29:2, 29:4-8, 35:10-
                                                                16)
                                                                DUP (27:14-28:7)
                              21:6-12, 21:17-22, 24:21-23,      P (28:23-29:2, 29:4-8, 33:23-
                              25:6-26:11, 27:14-28:7, 28:23- 34:1, 34:13-14, 34:17-35:8,
                              29:2, 29:4-8, 31:17-32:3, 33:2-8, 35:10-16)
              FRE 106, 402,   33:18-20, 33:23-34:1, 34:13-14, O (33:23-34:1, 34:13-14,
22:24-23:3    403             34:17-35:8, 35:10-16              34:17-35:8, 35:10-16)         53:3-6

                                                                R (25:6-26:11, 27:14-28:7,
                                                                28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                34:17-35:8)
                                                                IM (25:6-26:11, 27:14-28:7,
                                                                28:23-29:2, 29:4-8, 35:10-
                                                                16)
                                                                DUP (27:14-28:7)
                              21:6-12, 21:17-22, 24:21-23,      P (28:23-29:2, 29:4-8, 33:23-
                              25:6-26:11, 27:14-28:7, 28:23- 34:1, 34:13-14, 34:17-35:8,
                              29:2, 29:4-8, 31:17-32:3, 33:2-8, 35:10-16)
              FRE 106, 402,   33:18-20, 33:23-34:1, 34:13-14, O (33:23-34:1, 34:13-14,
24:15-24:17   403             34:17-35:8, 35:10-16              34:17-35:8, 35:10-16)         53:3-6
                   Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 208 of 227
                                                         PageID #: 11993




                                                                R (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8, 31:17-32:3,
                                                                33:23-34:1, 34:13-14, 34:17-
                                                                35:8, 35:10-16, 38:22-39:4,
                                                                39:6-9, 40:5-14, 40:16-21,
                                                                41:2-10, 42:4-6, 42:8-16,
                                                                48:11-12, 48:14, 64:18,
                                                                64:20, 69:1-10)
                                                                IM (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8)
                                                                DUP (27:20-25)
                                                                P (28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                35:10-16, 38:22-39:4, 39:6-
                              24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                              28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                              33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                              34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                              38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                              40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
              FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
29:11-29:16   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 209 of 227
                                                       PageID #: 11994




                                                              R (26:3-11, 27:20-25, 28:23-
                                                              29:2, 29:4-8, 31:17-32:3,
                                                              33:23-34:1, 34:13-14, 34:17-
                                                              35:8, 35:10-16, 38:22-39:4,
                                                              39:6-9, 40:5-14, 40:16-21,
                                                              41:2-10, 42:4-6, 42:8-16,
                                                              48:11-12, 48:14, 64:18,
                                                              64:20, 69:1-10)
                                                              IM (26:3-11, 27:20-25, 28:23-
                                                              29:2, 29:4-8)
                                                              DUP (27:20-25)
                                                              P (28:23-29:2, 29:4-8, 31:17-
                                                              32:3, 33:23-34:1, 34:13-14,
                                                              35:10-16, 38:22-39:4, 39:6-
                            24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                            28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                            33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                            34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                            38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                            40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
            FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
31:6-31:9   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                   Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 210 of 227
                                                         PageID #: 11995




                                                                R (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8, 31:17-32:3,
                                                                33:23-34:1, 34:13-14, 34:17-
                                                                35:8, 35:10-16, 38:22-39:4,
                                                                39:6-9, 40:5-14, 40:16-21,
                                                                41:2-10, 42:4-6, 42:8-16,
                                                                48:11-12, 48:14, 64:18,
                                                                64:20, 69:1-10)
                                                                IM (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8)
                                                                DUP (27:20-25)
                                                                P (28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                35:10-16, 38:22-39:4, 39:6-
                              24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                              28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                              33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                              34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                              38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                              40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
              FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
32:15-32:16   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 211 of 227
                                                        PageID #: 11996




                                                               R (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8, 31:17-32:3,
                                                               33:23-34:1, 34:13-14, 34:17-
                                                               35:8, 35:10-16, 38:22-39:4,
                                                               39:6-9, 40:5-14, 40:16-21,
                                                               41:2-10, 42:4-6, 42:8-16,
                                                               48:11-12, 48:14, 64:18,
                                                               64:20, 69:1-10)
                                                               IM (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8)
                                                               DUP (27:20-25)
                                                               P (28:23-29:2, 29:4-8, 31:17-
                                                               32:3, 33:23-34:1, 34:13-14,
                                                               35:10-16, 38:22-39:4, 39:6-
                             24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                             28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                             33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                             34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                             38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                             40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
             FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
32:20-33:1   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                   Case 2:23-cv-00059-JRG-RSP        Document 215-6 Filed 10/04/24              Page 212 of 227
                                                      PageID #: 11997




                                                             R (26:3-11, 27:20-25, 28:23-
                                                             29:2, 29:4-8, 31:17-32:3,
                                                             33:23-34:1, 34:13-14, 34:17-
                                                             35:8, 35:10-16, 38:22-39:4,
                                                             39:6-9, 40:5-14, 40:16-21,
                                                             41:2-10, 42:4-6, 42:8-16,
                                                             48:11-12, 48:14, 64:18,
                                                             64:20, 69:1-10)
                                                             IM (26:3-11, 27:20-25, 28:23-
                                                             29:2, 29:4-8)
                                                             DUP (27:20-25)
                                                             P (28:23-29:2, 29:4-8, 31:17-
                                                             32:3, 33:23-34:1, 34:13-14,
                                                             35:10-16, 38:22-39:4, 39:6-
                           24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                           28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                           33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                           34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                           38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                           40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
                           6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
39:10-39:12   FRE 106      64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                   Case 2:23-cv-00059-JRG-RSP        Document 215-6 Filed 10/04/24              Page 213 of 227
                                                      PageID #: 11998




                                                             R (26:3-11, 27:20-25, 28:23-
                                                             29:2, 29:4-8, 31:17-32:3,
                                                             33:23-34:1, 34:13-14, 34:17-
                                                             35:8, 35:10-16, 38:22-39:4,
                                                             39:6-9, 40:5-14, 40:16-21,
                                                             41:2-10, 42:4-6, 42:8-16,
                                                             48:11-12, 48:14, 64:18,
                                                             64:20, 69:1-10)
                                                             IM (26:3-11, 27:20-25, 28:23-
                                                             29:2, 29:4-8)
                                                             DUP (27:20-25)
                                                             P (28:23-29:2, 29:4-8, 31:17-
                                                             32:3, 33:23-34:1, 34:13-14,
                                                             35:10-16, 38:22-39:4, 39:6-
                           24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                           28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                           33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                           34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                           38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                           40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
                           6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
39:21-39:23   FRE 106      64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                   Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 214 of 227
                                                         PageID #: 11999




                                                                R (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8, 31:17-32:3,
                                                                33:23-34:1, 34:13-14, 34:17-
                                                                35:8, 35:10-16, 38:22-39:4,
                                                                39:6-9, 40:5-14, 40:16-21,
                                                                41:2-10, 42:4-6, 42:8-16,
                                                                48:11-12, 48:14, 64:18,
                                                                64:20, 69:1-10)
                                                                IM (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8)
                                                                DUP (27:20-25)
                                                                P (28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                35:10-16, 38:22-39:4, 39:6-
                              24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                              28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                              33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                              34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                              38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                              40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
              FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
43:13-43:16   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                   Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 215 of 227
                                                         PageID #: 12000




                                                                R (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8, 31:17-32:3,
                                                                33:23-34:1, 34:13-14, 34:17-
                                                                35:8, 35:10-16, 38:22-39:4,
                                                                39:6-9, 40:5-14, 40:16-21,
                                                                41:2-10, 42:4-6, 42:8-16,
                                                                48:11-12, 48:14, 64:18,
                                                                64:20, 69:1-10)
                                                                IM (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8)
                                                                DUP (27:20-25)
                                                                P (28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                35:10-16, 38:22-39:4, 39:6-
                              24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                              28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                              33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                              34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                              38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                              40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
              FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
43:19-43:19   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                  Case 2:23-cv-00059-JRG-RSP        Document 215-6 Filed 10/04/24              Page 216 of 227
                                                     PageID #: 12001




                                                            R (26:3-11, 27:20-25, 28:23-
                                                            29:2, 29:4-8, 31:17-32:3,
                                                            33:23-34:1, 34:13-14, 34:17-
                                                            35:8, 35:10-16, 38:22-39:4,
                                                            39:6-9, 40:5-14, 40:16-21,
                                                            41:2-10, 42:4-6, 42:8-16,
                                                            48:11-12, 48:14, 64:18,
                                                            64:20, 69:1-10)
                                                            IM (26:3-11, 27:20-25, 28:23-
                                                            29:2, 29:4-8)
                                                            DUP (27:20-25)
                                                            P (28:23-29:2, 29:4-8, 31:17-
                                                            32:3, 33:23-34:1, 34:13-14,
                                                            35:10-16, 38:22-39:4, 39:6-
                          24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                          28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                          33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                          34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                          38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                          40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
                          6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
43:20-44:1   FRE 106      64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                   Case 2:23-cv-00059-JRG-RSP        Document 215-6 Filed 10/04/24             Page 217 of 227
                                                      PageID #: 12002




                                                            R (26:3-11, 27:20-25, 28:23-
                                                            29:2, 29:4-8, 31:17-32:3,
                                                            33:23-34:1, 34:13-14, 34:17-
                                                            35:8, 35:10-16, 38:22-39:4,
                                                            39:6-9, 40:5-14, 40:16-21,
                                                            41:2-10, 42:4-6, 42:8-16,
                                                            48:11-12, 48:14, 64:18,
                                                            64:20, 69:1-10)
                                                            IM (26:3-11, 27:20-25, 28:23-
                                                            29:2, 29:4-8)
                                                            DUP (27:20-25)
                                                            P (28:23-29:2, 29:4-8, 31:17-
                                                            32:3, 33:23-34:1, 34:13-14,
                           24:21-23, 26:3-11, 27:20-25,     35:10-16, 38:22-39:4, 39:6-
                           28:23-29:2, 29:4-8, 31:17-32:3, 9, 40:5-14, 40:16-21, 41:2-
                           33:2-8, 33:18-20, 33:23-34:1,    10, 42:4-6, 42:8-16, 48:11-
                           34:13-14, 34:17-35:8, 35:10-16, 12, 48:14, 64:18, 69:1-10)
                           36:2-12, 36:22-37:7, 37:11-39:4, O (33:23-34:1, 34:13-14,
                           39:6-9, 39:24-40:3, 40:5-14,     35:10-16, 38:22-39:4, 39:6-
                           40:16-21, 41:2-10, 42:4-6, 42:8- 9, 40:5-14, 40:16-21, 41:2-
                           16, 44:17-18, 44:20, 48:11-12, 10, 42:4-6, 42:18-16)
44:13-44:14   FRE 106      48:14, 64:18, 64:20, 69:1-10     F (38:22-39:4, 39:6-9, 64:18) 53:3-6
44:16-44:16   FRE 106      44:17-18, 44:20                  R, P (44:17-18, 44:20)
44:21-44:22   FRE 106      44:17-18, 44:20                  R, P (44:17-18, 44:20)
44:24-44:24   FRE 106      44:17-18, 44:20                  R, P (44:17-18, 44:20)
44:25-45:1    FRE 106      44:17-18, 44:20                  R, P (44:17-18, 44:20)
45:8-45:22    FRE 106      44:17-18, 44:20                  R, P (44:17-18, 44:20)
45:23-45:23   FRE 106      44:17-18, 44:20                  R, P (44:17-18, 44:20)
46:13-46:16   FRE 106      44:17-18, 44:20                  R, P (44:17-18, 44:20)
46:17-46:17   FRE 106      44:17-18, 44:20                  R, P (44:17-18, 44:20)
46:20-46:22   FRE 106      44:17-18, 44:20                  R, P (44:17-18, 44:20)
46:25-47:2    FRE 106      44:17-18, 44:20                  R, P (44:17-18, 44:20)
                   Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24             Page 218 of 227
                                                         PageID #: 12003




                                                               R (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8, 31:17-32:3,
                                                               33:23-34:1, 34:13-14, 34:17-
                                                               35:8, 35:10-16, 39:6-9, 40:5-
                                                               14, 40:16-21, 41:2-10, 41:2-
                                                               10, 42:4-6, 42:8-16, 44:17-
                                                               18, 44:20, 48:11-12, 48:14,
                                                               64:18, 64:20, 69:1-10)
                                                               IM (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8)
                                                               DUP (27:20-25)
                                                               P (28:23-29:2, 29:4-8, 31:17-
                                                               32:3, 33:23-34:1, 34:13-14,
                                                               35:10-16, 39:6-9, 40:5-14,
                              24:21-23, 26:3-11, 27:20-25,     40:16-21, 41:2-10, 42:4-6,
                              28:23-29:2, 29:4-8, 31:17-32:3, 32:8-16, 44:17-18, 44:20,
                              33:2-8, 33:18-20, 33:23-34:1,    48:11-12, 64:18, 64:20, 69:1-
                              34:13-14, 34:17-35:8, 35:10-16, 10)
                              36:2-12, 36:22-37:7, 37:11-39:4, O (33:23-34:1, 34:13-14,
                              39:6-9, 39:24-40:3, 40:5-14,     35:10-16, 39:6-9, 40:5-14,
                              40:16-21, 41:2-10, 42:4-6, 42:8- 40:16-21, 41:2-10, 42:4-6,
              FRE 106, 402,   16, 44:17-18, 44:20, 48:11-12, 42:8-16, 48:14)
47:4-47:11    403             48:14, 64:18, 64:20, 69:1-10     F (39:6-9, 64:18, 64:20)      53:3-6
48:18-48:19   FRE 106         44:17-18, 44:20                  R, P (44:17-18, 44:20)
48:21-48:21   FRE 106         44:17-18, 44:20                  R, P (44:17-18, 44:20)
49:8-49:9     FRE 106         44:17-18, 44:20                  R, P (44:17-18, 44:20)
49:11-49:16   FRE 106         44:17-18, 44:20                  R, P (44:17-18, 44:20)
                   Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 219 of 227
                                                         PageID #: 12004




                                                                R (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8, 31:17-32:3,
                                                                33:23-34:1, 34:13-14, 34:17-
                                                                35:8, 35:10-16, 38:22-39:4,
                                                                39:6-9, 40:5-14, 40:16-21,
                                                                41:2-10, 42:4-6, 42:8-16,
                                                                48:11-12, 48:14, 64:18,
                                                                64:20, 69:1-10)
                                                                IM (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8)
                                                                DUP (27:20-25)
                                                                P (28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                35:10-16, 38:22-39:4, 39:6-
                              24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                              28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                              33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                              34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                              38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                              40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
              FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
50:17-50:22   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                  Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 220 of 227
                                                        PageID #: 12005




                                                               R (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8, 31:17-32:3,
                                                               33:23-34:1, 34:13-14, 34:17-
                                                               35:8, 35:10-16, 38:22-39:4,
                                                               39:6-9, 40:5-14, 40:16-21,
                                                               41:2-10, 42:4-6, 42:8-16,
                                                               48:11-12, 48:14, 64:18,
                                                               64:20, 69:1-10)
                                                               IM (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8)
                                                               DUP (27:20-25)
                                                               P (28:23-29:2, 29:4-8, 31:17-
                                                               32:3, 33:23-34:1, 34:13-14,
                                                               35:10-16, 38:22-39:4, 39:6-
                             24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                             28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                             33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                             34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                             38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                             40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
             FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
50:23-51:1   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 221 of 227
                                                       PageID #: 12006




                                                              R (26:3-11, 27:20-25, 28:23-
                                                              29:2, 29:4-8, 31:17-32:3,
                                                              33:23-34:1, 34:13-14, 34:17-
                                                              35:8, 35:10-16, 38:22-39:4,
                                                              39:6-9, 40:5-14, 40:16-21,
                                                              41:2-10, 42:4-6, 42:8-16,
                                                              48:11-12, 48:14, 64:18,
                                                              64:20, 69:1-10)
                                                              IM (26:3-11, 27:20-25, 28:23-
                                                              29:2, 29:4-8)
                                                              DUP (27:20-25)
                                                              P (28:23-29:2, 29:4-8, 31:17-
                                                              32:3, 33:23-34:1, 34:13-14,
                                                              35:10-16, 38:22-39:4, 39:6-
                            24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                            28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                            33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                            34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                            38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                            40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
            FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
51:3-51:3   403             64:18, 64:20, 69:1-10             F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                   Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24            Page 222 of 227
                                                        PageID #: 12007




                                                                R (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8, 31:17-32:3,
                                                                33:23-34:1, 34:13-14, 34:17-
                                                                35:8, 35:10-16, 38:22-39:4,
                                                                39:6-9, 40:5-14, 40:16-21,
                                                                41:2-10, 42:4-6, 42:8-16,
                                                                48:11-12, 48:14, 64:18,
                                                                64:20, 69:1-10)
                                                                IM (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8)
                                                                DUP (27:20-25)
                                                                P (28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                35:10-16, 38:22-39:4, 39:6-
                              24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                              28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                              33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                              34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                              38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                              40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
              FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
54:13-54:18   403             56:4-12, 64:18, 64:20, 69:1-10 F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                  Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24            Page 223 of 227
                                                       PageID #: 12008




                                                               R (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8, 31:17-32:3,
                                                               33:23-34:1, 34:13-14, 34:17-
                                                               35:8, 35:10-16, 38:22-39:4,
                                                               39:6-9, 40:5-14, 40:16-21,
                                                               41:2-10, 42:4-6, 42:8-16,
                                                               48:11-12, 48:14, 64:18,
                                                               64:20, 69:1-10)
                                                               IM (26:3-11, 27:20-25, 28:23-
                                                               29:2, 29:4-8)
                                                               DUP (27:20-25)
                                                               P (28:23-29:2, 29:4-8, 31:17-
                                                               32:3, 33:23-34:1, 34:13-14,
                                                               35:10-16, 38:22-39:4, 39:6-
                             24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                             28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                             33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                             34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                             38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                             40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
             FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
54:19-55:3   403             56:4-12, 64:18, 64:20, 69:1-10 F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                   Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24            Page 224 of 227
                                                        PageID #: 12009




                                                                R (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8, 31:17-32:3,
                                                                33:23-34:1, 34:13-14, 34:17-
                                                                35:8, 35:10-16, 38:22-39:4,
                                                                39:6-9, 40:5-14, 40:16-21,
                                                                41:2-10, 42:4-6, 42:8-16,
                                                                48:11-12, 48:14, 64:18,
                                                                64:20, 69:1-10)
                                                                IM (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8)
                                                                DUP (27:20-25)
                                                                P (28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                35:10-16, 38:22-39:4, 39:6-
                              24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                              28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                              33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                              34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                              38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                              40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
              FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
55:11-55:21   403             56:4-12, 64:18, 64:20, 69:1-10 F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                   Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24            Page 225 of 227
                                                        PageID #: 12010




                                                                R (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8, 31:17-32:3,
                                                                33:23-34:1, 34:13-14, 34:17-
                                                                35:8, 35:10-16, 38:22-39:4,
                                                                39:6-9, 40:5-14, 40:16-21,
                                                                41:2-10, 42:4-6, 42:8-16,
                                                                48:11-12, 48:14, 64:18,
                                                                64:20, 69:1-10)
                                                                IM (26:3-11, 27:20-25, 28:23-
                                                                29:2, 29:4-8)
                                                                DUP (27:20-25)
                                                                P (28:23-29:2, 29:4-8, 31:17-
                                                                32:3, 33:23-34:1, 34:13-14,
                                                                35:10-16, 38:22-39:4, 39:6-
                              24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                              28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                              33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                              34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                              38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                              40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
              FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
55:23-55:25   403             56:4-12, 64:18, 64:20, 69:1-10 F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                 Case 2:23-cv-00059-JRG-RSP          Document 215-6 Filed 10/04/24            Page 226 of 227
                                                      PageID #: 12011




                                                              R (26:3-11, 27:20-25, 28:23-
                                                              29:2, 29:4-8, 31:17-32:3,
                                                              33:23-34:1, 34:13-14, 34:17-
                                                              35:8, 35:10-16, 38:22-39:4,
                                                              39:6-9, 40:5-14, 40:16-21,
                                                              41:2-10, 42:4-6, 42:8-16,
                                                              48:11-12, 48:14, 64:18,
                                                              64:20, 69:1-10)
                                                              IM (26:3-11, 27:20-25, 28:23-
                                                              29:2, 29:4-8)
                                                              DUP (27:20-25)
                                                              P (28:23-29:2, 29:4-8, 31:17-
                                                              32:3, 33:23-34:1, 34:13-14,
                                                              35:10-16, 38:22-39:4, 39:6-
                            24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                            28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                            33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                            34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                            38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                            40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
            FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
56:1-56:3   403             56:4-12, 64:18, 64:20, 69:1-10 F (38:22-39:4, 39:6-9, 64:18) 53:3-6
                 Case 2:23-cv-00059-JRG-RSP           Document 215-6 Filed 10/04/24              Page 227 of 227
                                                       PageID #: 12012




                                                              R (26:3-11, 27:20-25, 28:23-
                                                              29:2, 29:4-8, 31:17-32:3,
                                                              33:23-34:1, 34:13-14, 34:17-
                                                              35:8, 35:10-16, 38:22-39:4,
                                                              39:6-9, 40:5-14, 40:16-21,
                                                              41:2-10, 42:4-6, 42:8-16,
                                                              48:11-12, 48:14, 64:18,
                                                              64:20, 69:1-10)
                                                              IM (26:3-11, 27:20-25, 28:23-
                                                              29:2, 29:4-8)
                                                              DUP (27:20-25)
                                                              P (28:23-29:2, 29:4-8, 31:17-
                                                              32:3, 33:23-34:1, 34:13-14,
                                                              35:10-16, 38:22-39:4, 39:6-
                            24:21-23, 26:3-11, 27:20-25,      9, 40:5-14, 40:16-21, 41:2-
                            28:23-29:2, 29:4-8, 31:17-32:3, 10, 42:4-6, 42:8-16, 48:11-
                            33:2-8, 33:18-20, 33:23-34:1,     12, 48:14, 64:18, 69:1-10)
                            34:13-14, 34:17-35:8, 35:10-16, O (33:23-34:1, 34:13-14,
                            38:22-39:4, 39:6-9, 39:24-40:3, 35:10-16, 38:22-39:4, 39:6-
                            40:5-14, 40:16-21, 41:2-10, 42:4- 9, 40:5-14, 40:16-21, 41:2-
            FRE 106, 402,   6, 42:8-16, 48:11-12, 48:14,      10, 42:4-6, 42:18-16)
57:2-58:5   403, 802        58:6-9, 64:18, 64:20, 69:1-10     F (38:22-39:4, 39:6-9, 64:18) 53:3-6
